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                    Exhibit A
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                                                                     10100 Santa Monica Blvd.
                                                                     13th Floor
                                                                     Los Angeles, CA 90067




Amyris Inc.                                                          August 31, 2023
Amyris                                                               Invoice 134061
Doris Choi
                                                                     Client 03703.00004
5885 Hollis Street ste. 100
Emeryville, CA 94608


RE: Postpetition



            STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/2023

                FEES                                                $1,275,515.75
                EXPENSES                                              $10,533.41
                TOTAL CURRENT CHARGES                               $1,286,049.16

                TOTAL BALANCE DUE                                   $1,286,049.16
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Summary of Services by Professional
ID       Name                          Title                        Rate    Hours               Amount
AJK      Kornfeld, Alan J.             Partner                1,675.00       11.80        $19,765.00
DG       Grassgreen, Debra I.          Partner                1,550.00      115.40       $178,870.00
DG       Grassgreen, Debra I.          Partner                  775.00        4.00         $3,100.00
DJB      Barton, David J.              Partner                1,645.00        2.30         $3,783.50
HCK      Kevane, Henry C.              Partner                1,550.00       94.30       $146,165.00
JEO      O'Neill, James E.             Partner                1,275.00      135.50       $172,762.50
JHR      Rosell, Jason H.              Partner                  995.00      134.30       $133,628.50
MBL      Litvak, Maxim B.              Partner                1,445.00       36.60        $52,887.00
MSP      Pagay, Malhar S.              Partner                1,295.00       10.70        $13,856.50
RMP      Pachulski, Richard M.         Partner                1,895.00      111.30       $210,913.50
RMP      Pachulski, Richard M.         Partner                  947.50        5.30         $5,021.75
SWG      Golden, Steven W.             Partner                  895.00      126.80       $113,486.00
GFB      Brandt, Gina F.               Counsel                1,050.00        0.60              $630.00
GNB      Brown, Gillian N.             Counsel                  975.00       13.40        $13,065.00
JE       Elkin, Judith                 Counsel                1,450.00       34.30        $49,735.00
JJK      Kim, Jonathan J.              Counsel                1,175.00       26.70        $31,372.50
RJG      Gruber, Richard J.            Counsel                1,525.00       23.80        $36,295.00
RMS      Saunders, Robert M.           Counsel                1,095.00        8.90         $9,745.50
TCF      Flanagan, Tavi C.             Counsel                1,075.00        3.50         $3,762.50
VAN      Newmark, Victoria A.          Counsel                1,175.00       13.50        $15,862.50
ECO      Corma, Edward A.              Associate                725.00       43.60        $31,610.00
BDD      Dassa, Beth D.                Paralegal                545.00        0.20              $109.00
CAK      Knotts, Cheryl A.             Paralegal                495.00        0.50              $247.50
IDD      Densmore, Ian D.              Paralegal                545.00        6.60         $3,597.00
PJJ      Jeffries, Patricia J.         Paralegal                545.00       40.80        $22,236.00
LAF      Forrester, Leslie A.          Library                  595.00        2.70         $1,606.50
ARP      Paul, Andrea R.               Case Management          425.00        3.10         $1,317.50
                                       Assistant
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Summary of Services by Professional
ID       Name                         Title                        Rate    Hours               Amount
CJB      Bouzoukis, Charles J.        Case Management          425.00        0.20              $85.00
                                      Assistant

                                                             1,010.70                 $1,275,515.75
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Summary of Services by Task Code
Task Code       Description                                                    Hours                      Amount
AA              Asset Analysis and Recovery                                    17.60                $22,324.00
AD              Asset Disposition                                              61.70                $73,972.50
BL              Bankruptcy Litigation                                          35.60                $40,599.00
BO              Business Operations                                            32.70                $36,630.50
CA              Case Administration                                            66.40                $78,097.00
CG              Corporate Governance                                           33.90                $51,960.50
CO              Claims Administration and Objections                            4.70                 $4,309.00
CPO             Other Professional Compensation                                31.20                $34,920.50
EB              Employee Benefits/Pensions and KEIP/KERP                       26.10                $34,353.50
EC              Contract and Lease Matters                                    206.30               $264,603.50
FD              First/Second Day Matters                                      123.80               $134,918.50
FF              Financial Filings                                               7.40                 $7,677.00
FN              Financing/Cash Collateral/Cash Management                     116.80               $174,338.00
GC              General Creditors' Committee                                   12.80                $15,977.00
HE              Hearings                                                       23.30                $33,001.00
II              Insurance Issues                                                3.30                 $3,603.50
LN              Litigation (Non-Bankruptcy)                                     4.50                 $4,562.50
MC              Meetings of and Communications with Creditors                   3.00                 $3,022.00
NT              Non-Working Travel                                               9.30                $8,121.75
PD              Plan and Disclosure Statement                                 105.70               $154,356.00
RP              PSZJ Retention                                                  7.50                 $8,988.50
RPO             Other Professional Retention                                   71.80                $80,168.50
SL              Stay Litigation                                                 5.30                 $5,011.50
                                                                             1,010.70            $1,275,515.75
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Summary of Expenses
Description                                                                                     Amount
Air Fare                                                                                   $1,800.00
Attorney Service                                                                                $304.20
Auto Travel Expense                                                                             $664.23
Bloomberg                                                                                       $170.80
Conference Call                                                                                   $3.67
Delivery/Courier Service                                                                         $30.00
Court Fees                                                                                 $5,339.00
Hotel Expense                                                                                   $430.00
Lexis/Nexis- Legal Research                                                                     $195.16
Litigation Support Vendors                                                                      $391.00
Pacer - Court Research                                                                           $37.20
Reproduction Expense - @0.10 per page                                                           $641.80
Transcript                                                                                      $526.35
                                                                                          $10,533.41
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                                                                                 Hours       Rate           Amount

Asset Analysis and Recovery
08/14/2023 HCK       AA      Memos to / from M. Goldstein, et al. re IP and        0.20   1,550.00          $310.00
                             antitrust matters.

08/14/2023 HCK       AA      Review / edit draft of AMRS IP presentation           1.70   1,550.00     $2,635.00
                             and revised version from D. Choi and review
                             commercial license agreements.
08/14/2023 HCK       AA      Numerous memos to / from D. Choi and D.               0.60   1,550.00          $930.00
                             Grassgreen re IP analysis.
08/14/2023 HCK       AA      Conference call with D. Choi, K. Novotny, A.          2.50   1,550.00     $3,875.00
                             Shyjan and PSZJ team re IP / strategy deck for
                             discussion purposes.

08/14/2023 JHR       AA      Analyze IP deck                                       0.60    995.00           $597.00
08/14/2023 JHR       AA      Conference call with client re: IP presentation       1.50    995.00      $1,492.50
08/14/2023 JHR       AA      Analyze various IP issues                             1.30    995.00      $1,293.50
08/14/2023 RMP       AA      Attend and prepare for IP analysis.                   1.10   1,895.00     $2,084.50
08/15/2023 JHR       AA      Call with C. Hadfield re: CBC strategy                0.40    995.00           $398.00
08/15/2023 JHR       AA      Conference call with PwC re: CBC and CB4U             0.60    995.00           $597.00
08/15/2023 JHR       AA      Conference call with potential counsel re:            0.50    995.00           $497.50
                             antitrust claims

08/17/2023 JHR       AA      Call with D. Choi re: asset analysis                  0.60    995.00           $597.00
08/21/2023 HCK       AA      Memos to / from M. Cooper, et al. re IP               0.20   1,550.00          $310.00
                             discussion concerning patent treatment.

08/21/2023 HCK       AA      Conference call with M. Cooper, K. Novotny            0.30   1,550.00          $465.00
                             and D. Choi re IP discussion.
08/21/2023 JHR       AA      Conference call with client and Goodwin re:           0.40    995.00           $398.00
                             IP
08/22/2023 HCK       AA      Memos to / from D. Choi and D. Grassgreen             0.10   1,550.00          $155.00
                             re IP presentation.
08/22/2023 JHR       AA      Attend IP presentation (partial)                      0.90    995.00           $895.50
08/25/2023 HCK       AA      Review Intellectual Property presentation             0.80   1,550.00     $1,240.00
                             from D. Choi, K. Novotny and A. Shyjan.
08/25/2023 JHR       AA      Analyze DSM-Firmenich IP letter.                      0.40    995.00           $398.00
08/30/2023 JHR       AA      Call with S. Golden re: JVN IP issues.                0.90    995.00           $895.50
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                                                                               Hours       Rate           Amount
08/30/2023 JHR       AA      Review S. Golden analysis of JVN IP issues.         0.30    995.00           $298.50
08/30/2023 JHR       AA      Call with H. Kevane re DSM IP letter.               0.20    995.00           $199.00
08/30/2023 RMP       AA      Review e-mails and agreements re disputed           0.40   1,895.00          $758.00
                             marks.

08/30/2023 SWG       AA      Call with J. Rosell re: IP issues with sale of      0.90    895.00           $805.50
                             brand

08/31/2023 JHR       AA      Review Onda IP issue.                               0.20    995.00           $199.00
                                                                                17.60               $22,324.00

Asset Disposition
08/10/2023 SWG       AD      Call with L. Beers re: bid procedures.              0.70    895.00           $626.50
08/10/2023 SWG       AD      Begin drafting Bid Procedures.                      4.00    895.00      $3,580.00
08/10/2023 SWG       AD      Continue research regarding certain sale            2.50    895.00      $2,237.50
                             issues.

08/11/2023 MBL       AD      Review draft bid procedures.                        0.20   1,445.00          $289.00
08/11/2023 RJG       AD      Review and respond to draft Bid Procedures.         1.00   1,525.00     $1,525.00
08/11/2023 RJG       AD      Exchange messages with Steven W. Golden             0.20   1,525.00          $305.00
                             regarding Bid Procedures.

08/11/2023 RMP       AD      Review first draft of bid procedures.               0.30   1,895.00          $568.50
08/11/2023 SWG       AD      Continue drafting bid procedures                    2.50    895.00      $2,237.50
08/12/2023 RJG       AD      Message to Steven W. Golden regarding form          0.20   1,525.00          $305.00
                             of Asset Purchase Agreement for sale process.
08/12/2023 RJG       AD      Start work on form of Asset Purchase                1.00   1,525.00     $1,525.00
                             Agreement for Sale process.
08/14/2023 DG        AD      Emails to and from A. Nicas re: data room           0.10   1,550.00          $155.00
                             access for brand sales
08/14/2023 MBL       AD      Emails with H. Kevane re Lavvan issues.             0.20   1,445.00          $289.00
08/14/2023 MBL       AD      Emails with team re form APA and sale issues.       0.20   1,445.00          $289.00
08/14/2023 MBL       AD      Review and comment on draft bid procedures;         0.60   1,445.00          $867.00
                             emails with team re same.
08/14/2023 RJG       AD      More work on form of APA for sale process.          0.90   1,525.00     $1,372.50
08/14/2023 RMP       AD      Review draft Bid Procedures.                        0.40   1,895.00          $758.00
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                                                                               Hours       Rate           Amount
08/14/2023 SWG       AD      Continue drafting and editing Bid Procedures        2.20    895.00      $1,969.00
                             and Bid Procedures Motion

08/15/2023 MBL       AD      Review revised bid procedures; emails with          0.30   1,445.00          $433.50
                             team re same.

08/15/2023 MBL       AD      Emails with team re APA issues.                     0.20   1,445.00          $289.00
08/15/2023 RJG       AD      Messages to Steven W. Golden and team               0.30   1,525.00          $457.50
                             regarding TSA issues in potential sales.

08/15/2023 RJG       AD      Message to P. Gund regarding confidentiality        0.20   1,525.00          $305.00
                             agreement for sale process.

08/15/2023 RJG       AD      Get more background on assets subject to sale       0.40   1,525.00          $610.00
                             process.
08/15/2023 RJG       AD      Work on form of Asset Purchase Agreement            0.90   1,525.00     $1,372.50
                             for sale process.
08/15/2023 RMP       AD      Review bid procedures motion.                       0.20   1,895.00          $379.00
08/15/2023 SWG       AD      Update and circulate draft bid procedures.          0.70    895.00           $626.50
08/16/2023 ECO       AD      Telephone conference with Steven Golden re          0.20    725.00           $145.00
                             information for de minimis asset sale motion.
08/16/2023 JEO       AD      Review precedent for de minimis sale motions        0.80   1,275.00     $1,020.00
                             (.4) and emails with PWC and PSZJ teams re
                             same (.4)

08/16/2023 MBL       AD      Emails with team re sale issues.                    0.20   1,445.00          $289.00
08/16/2023 MBL       AD      Review relevant contracts for sale process;         0.50   1,445.00          $722.50
                             emails with team re same.

08/16/2023 RJG       AD      Work on form of Asset Purchase Agreement            0.80   1,525.00     $1,220.00
                             for Sale Process.

08/16/2023 SWG       AD      Draft and send email re: de minimis asset sale      0.20    895.00           $179.00
                             motion.

08/16/2023 SWG       AD      Call with E. Corma re: de minimis asset             0.20    895.00           $179.00
                             motion
08/17/2023 MBL       AD      Call with Intrepid and bondholder advisors re       0.90   1,445.00     $1,300.50
                             sale status (0.8); update emails with team re
                             same (0.1).
08/17/2023 MBL       AD      Review customer contracts re sale issues (0.7);     0.80   1,445.00     $1,156.00
                             emails with team re same (0.1).

08/17/2023 RJG       AD      Work on sale issues.                                0.90   1,525.00     $1,372.50
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                                                                                 Hours      Rate           Amount
08/17/2023 SWG       AD      Participate in sale call with bondholder group       0.80    895.00           $716.00
08/18/2023 MBL       AD      Emails with R. Gruber and Intrepid re NDA            0.10   1,445.00          $144.50
                             revisions.

08/18/2023 RJG       AD      Assist Intrepid team with confidentiality            1.00   1,525.00     $1,525.00
                             agreements.

08/18/2023 SWG       AD      Review and comment on NDA                            0.20    895.00           $179.00
08/18/2023 SWG       AD      Call with counsel to potential purchaser.            0.20    895.00           $179.00
08/19/2023 ECO       AD      Preparation of motion re procedures for sale of      1.20    725.00           $870.00
                             de minimis assets.

08/20/2023 DG        AD      Review Intrepid comments to bid procedures           0.30   1,550.00          $465.00
                             and email to S. Golden re: same

08/20/2023 ECO       AD      Continue preparation of de minimis assets            0.90    725.00           $652.50
                             motion; incorporate information re procedures
                             for sale of non-operating brands.
08/20/2023 ECO       AD      Prepare e-mail to Steven Golden re motions           0.10    725.00            $72.50
                             for lease rejection (second omnibus) and de
                             minimis asset sale procedures.

08/20/2023 JHR       AD      Call with S. Golden re: bid procedures               0.20    995.00           $199.00
08/20/2023 JHR       AD      Analyze draft bid procedures                         0.80    995.00           $796.00
08/20/2023 MBL       AD      Review Intrepid comments to bid procedures.          0.20   1,445.00          $289.00
08/21/2023 JHR       AD      Analyze Intrepid revisions to bid procedures         0.30    995.00           $298.50
08/21/2023 PJJ       AD      Revise de minimis asset sale procedures              2.00    545.00      $1,090.00
                             motion.
08/21/2023 RMP       AD      Review de minimis asset sale motion.                 0.20   1,895.00          $379.00
08/21/2023 RMP       AD      Review bid procedures motion and e-mails re          0.40   1,895.00          $758.00
                             same.
08/21/2023 SWG       AD      Review and edit de minimis asset/non-                2.30    895.00      $2,058.50
                             operating brand sale procedures motion
08/21/2023 SWG       AD      Edit bid procedures per comments received            0.20    895.00           $179.00
08/21/2023 SWG       AD      Review and comment on proposed sale                  0.20    895.00           $179.00
                             process letter
08/21/2023 SWG       AD      Call with counsel to potential asset bidder.         0.20    895.00           $179.00
08/23/2023 RJG       AD      Participate in team call regarding sale process.     0.70   1,525.00     $1,067.50
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Amyris Inc.                                                                            Invoice 134061
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                                                                               Hours      Rate           Amount
08/23/2023 RJG       AD      Review and respond to mark-up of proposed          0.40   1,525.00          $610.00
                             confidentiality agreement.

08/23/2023 SWG       AD      Participate in weekly sale process check-in        0.70    895.00           $626.50
                             call.

08/24/2023 JEO       AD      Review and finalize de minimis asset sale          0.90   1,275.00     $1,147.50
                             motion

08/24/2023 PJJ       AD      Prepare de minimis asset procedures for filing     0.50    545.00           $272.50
                             (.3); file (.2).

08/28/2023 MBL       AD      Emails with team regarding consumer brands         0.10   1,445.00          $144.50
                             APAs.
08/28/2023 RJG       AD      Exchange messages with Steven W. Golden            0.20   1,525.00          $305.00
                             regarding form of Asset Purchase Agreement
                             for sale of non-operating brands.
08/28/2023 RJG       AD      Exchange messages with Debra I. Grassgreen         0.20   1,525.00          $305.00
                             regarding employee overlay on Asset Purchase
                             Agreement for sale of brands with operating
                             assets.
08/28/2023 RJG       AD      Prepare draft of form Asset Purchase               4.20   1,525.00     $6,405.00
                             Agreement for non-operating brand
                             transaction.
08/28/2023 SWG       AD      Call with counsel to potential acquirer of         0.30    895.00           $268.50
                             ONDA
08/29/2023 JHR       AD      Attend sale update call with Intrepid.             0.60    995.00           $597.00
08/29/2023 MBL       AD      Review and comment on form of consumer             1.00   1,445.00     $1,445.00
                             brands APA (0.8); emails with team regarding
                             same (0.2).
08/29/2023 RJG       AD      Revise and circulate internally draft form of      0.50   1,525.00          $762.50
                             Asset Purchase Agreement for sale process.

08/29/2023 RJG       AD      Message to A. Alveranga regarding sale             0.20   1,525.00          $305.00
                             process.

08/29/2023 RJG       AD      Prepare for and participate in team call           0.60   1,525.00          $915.00
                             regarding sale process.

08/29/2023 RJG       AD      Revise and recirculate draft form of Asset         2.10   1,525.00     $3,202.50
                             Purchase Agreement for bidders on non-
                             operating assets.
08/29/2023 RJG       AD      Exchange messages with Steven W. Golden            0.20   1,525.00          $305.00
                             regarding de minimis sale motion.
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Amyris Inc.                                                                              Invoice 134061
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                                                                                 Hours      Rate           Amount
08/29/2023 SWG       AD      Participate in weekly sale process check in call     0.60    895.00           $537.00
08/29/2023 SWG       AD      Participate in call re: intellectual property        0.90    895.00           $805.50
                             questions in sale processes

08/30/2023 RJG       AD      Address comments to form of Asset Purchase           1.40   1,525.00     $2,135.00
                             Agreement and re-circulate several times
                             internally.
08/30/2023 RJG       AD      Send draft of Asset Purchase Agreement for           0.20   1,525.00          $305.00
                             non-operating brands to Intrepid team.
08/30/2023 SWG       AD      Review and comment on documents re:                  0.70    895.00           $626.50
                             disposition of IP assets
08/30/2023 SWG       AD      Discussion re: IP issues with sale                   0.30    895.00           $268.50
08/30/2023 SWG       AD      Review and revise form of non-operating              1.10    895.00           $984.50
                             brand APA
08/30/2023 SWG       AD      Draft and send comprehensive email summary           0.90    895.00           $805.50
                             of IP-related sale matter to PSZJ team and P.
                             Gund

08/30/2023 SWG       AD      Call with P. Gund re: sale matters                   0.30    895.00           $268.50
08/31/2023 MBL       AD      Review Intrepid comments to form consumer            0.20   1,445.00          $289.00
                             brands APA.
08/31/2023 RJG       AD      Work on draft of Asset Purchase Agreement            3.60   1,525.00     $5,490.00
                             for operating assets.
08/31/2023 RJG       AD      Revise Asset Purchase Agreement for non-             0.40   1,525.00          $610.00
                             operating brands and send to client for review.
                                                                                 61.70               $73,972.50

Bankruptcy Litigation
08/11/2023 RMP       BL      Meeting with F. Reiss, Stern and Fidler re           1.10   1,895.00     $2,084.50
                             investigation.
08/11/2023 TCF       BL      Review and analysis of litigation and                0.40   1,075.00          $430.00
                             investigation issues.
08/12/2023 AJK       BL      Call with R. Pachulski and D. Grassgreen re          1.00   1,675.00     $1,675.00
                             potential litigation.
08/12/2023 JHR       BL      Call with A. Kornfeld re: scope of                   0.30    995.00           $298.50
                             investigation
08/12/2023 JHR       BL      Conference call with PSZJ re: scope of               0.80    995.00           $796.00
                             investigation
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Amyris Inc.                                                                            Invoice 134061
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                                                                               Hours      Rate           Amount
08/14/2023 AJK       BL      Call with D. Stern and team re investigation.      0.70   1,675.00     $1,172.50
08/14/2023 GNB       BL      Telephone conference with Alan J. Kornfeld         0.10    975.00            $97.50
                             regarding anticipated litigation.

08/14/2023 GNB       BL      Telephone conference with Tavi C. Flanagan         0.10    975.00            $97.50
                             regarding potential bankruptcy litigation
                             issues.
08/14/2023 GNB       BL      Telephone conference with Steven W. Golden         0.20    975.00           $195.00
                             regarding case background and review of
                             debtor documents for potential production to
                             Committee.
08/14/2023 RMP       BL      Review DSM issues.                                 0.20   1,895.00          $379.00
08/14/2023 SWG       BL      Call with G. Brown re: litigation matters          0.30    895.00           $268.50
08/14/2023 TCF       BL      Telephone conference with A. Kornfeld              0.20   1,075.00          $215.00
                             regarding litigation and investigation issues.
08/14/2023 TCF       BL      Telephone conference with G. Brown                 0.10   1,075.00          $107.50
                             regarding litigation and investigation issues;
                             data room.

08/14/2023 TCF       BL      Review and analysis of litigation and              0.80   1,075.00          $860.00
                             investigation issues.

08/15/2023 AJK       BL      Call with Oksana Wright re document                0.40   1,675.00          $670.00
                             production and preservation issues.

08/15/2023 DG        BL      Review litigation hold letter and A. Kornfeld      0.10   1,550.00          $155.00
                             communication re: same
08/15/2023 GNB       BL      Review emails from Debra I. Grassgreen,            0.10    975.00            $97.50
                             Steven W. Golden, and John Storz regarding
                             document review in anticipation of litigation.
08/15/2023 GNB       BL      Begin privilege review of Amyris, Inc.’s           0.50    975.00           $487.50
                             internal documents for potential production to
                             bondholders and/or Official Committee of
                             Unsecured Creditors.
08/15/2023 GNB       BL      Telephone conference with Steven W. Golden         0.20    975.00           $195.00
                             regarding privilege review of Amyris, Inc.
                             internal documents for potential production.
08/15/2023 JHR       BL      Initial call with bondholders (partial)            0.50    995.00           $497.50
08/15/2023 MBL       BL      Emails with team and client re document            0.40   1,445.00          $578.00
                             production to unsecureds (0.2); call with S.
                             Golden re same (0.2).
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                                                                                 Hours      Rate           Amount
08/15/2023 SWG       BL      Attend to setup of virtual data room.                1.90    895.00      $1,700.50
08/16/2023 AJK       BL      Attention to KL discovery contract.                  0.20   1,675.00          $335.00
08/16/2023 GNB       BL      Telephone conference with Steven W. Golden           0.10    975.00            $97.50
                             regarding datarooms and discovery
                             confidentiality.
08/16/2023 GNB       BL      Telephone conference with Sherry Tan, Andy           0.40    975.00           $390.00
                             Shyjan, Amy Sun, and Steven W. Golden
                             regarding confidentiality of documents
                             relating to intellectual property.
08/16/2023 GNB       BL      Email with Doris Choi regarding privilege            0.10    975.00            $97.50
                             review of Amyris, Inc. internal documents;
                             Review email from Alan J. Kornfeld regarding
                             KTBS question about access to datasites.
08/16/2023 RMP       BL      Prepare for and participate on DSM                   0.90   1,895.00     $1,705.50
                             conference call.
08/16/2023 RMP       BL      Telephone conference with Oksana re Lavvan           0.30   1,895.00          $568.50
                             issues.
08/16/2023 SWG       BL      Continue to assemble information for virtual         2.80    895.00      $2,506.00
                             data rooms
08/16/2023 SWG       BL      Pre-call (.1) with G. Brown and call (.5) re: IP     0.60    895.00           $537.00
                             agreements
08/18/2023 RMP       BL      Telephone conference with Goldstein re               0.30   1,895.00          $568.50
                             bondholder issues.
08/18/2023 TCF       BL      Telephone conference with A. Kornfeld re             0.10   1,075.00          $107.50
                             litigation investigation issues.
08/19/2023 RMP       BL      Telephone conference with Merola re Ad Hoc           0.30   1,895.00          $568.50
                             issues.
08/21/2023 DG        BL      Call with O. Wright and Science Team along           1.10   1,550.00     $1,705.00
                             with D. Choi and R. Pachulski re: Lavvan
                             litigation strategy (.6); review license
                             agreement, subordination agreement (.4);
                             email to H. Kevane re: same (.1)
08/22/2023 PJJ       BL      Begin draft Agenda for September 14th                0.30    545.00           $163.50
                             hearing.
08/23/2023 GNB       BL      Email with Steven W. Golden regarding                0.10    975.00            $97.50
                             privilege review on corporate minutes and
                             associated documents.
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                                                                              Hours      Rate           Amount
08/25/2023 GNB       BL      Review debtor documents for privilege before      0.20    975.00           $195.00
                             making available to bondholders.

08/27/2023 GNB       BL      Review and redact debtor documents for            2.10    975.00      $2,047.50
                             privilege before making available to
                             bondholders.
08/28/2023 DG        BL      Call with Gibson re: Lavvan case history and      1.00   1,550.00     $1,550.00
                             issues.
08/28/2023 GNB       BL      Review debtor documents for privilege before      5.20    975.00      $5,070.00
                             making available to bondholders.
08/28/2023 GNB       BL      Email with Sherry Tan and with Steven W.          0.20    975.00           $195.00
                             Golden regarding review of debtor corporate
                             documents.

08/29/2023 GNB       BL      Review debtor documents for privilege before      3.30    975.00      $3,217.50
                             making available to bondholders.

08/30/2023 GNB       BL      Email with Carolyn Diaz regarding Fenwick         0.40    975.00           $390.00
                             virtual dataroom; Review emails from Steven
                             W. Golden and from Jana Lay at Fenwick
                             regarding same.

08/30/2023 GNB       BL      Telephone conference with Steven W. Golden        0.10    975.00            $97.50
                             regarding documents from debtor and status of
                             case.
08/30/2023 MBL       BL      Emails with team regarding DSM issues.            0.10   1,445.00          $144.50
08/30/2023 SWG       BL      Call with G. Brown re: document production        0.40    895.00           $358.00
08/31/2023 AJK       BL      Call with Debtor professionals re litigation      0.40   1,675.00          $670.00
                             strategy.
08/31/2023 RMP       BL      Review Lavvan objection and telephone             0.40   1,895.00          $758.00
                             conference with D. Grassgreen re same.
08/31/2023 SWG       BL      Attend to assembly of documents for informal      3.80    895.00      $3,401.00
                             production to Committee et al.

                                                                              35.60               $40,599.00

Business Operations
08/09/2023 JE        BO      Participate in meeting with PSZJ, Company,        1.10   1,450.00     $1,595.00
                             PWC, Goodwin and CR3 teams regarding
                             intercompany operations.
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                                                                                 Hours      Rate           Amount
08/10/2023 DG        BO      Call with D. Choi and H. Kieftenbeld re:             0.70   1,550.00     $1,085.00
                             Realsweet consents for cash management note
                             for AFP (.4); prepare talking points (.3)
08/10/2023 DG        BO      Review and respond to emails from M.                 0.40   1,550.00          $620.00
                             Goldstein re: next phase and meeting (.1); call
                             with R. Pachulski re: same (.3)
08/10/2023 RMP       BO      Review Amyris press and communication                0.40   1,895.00          $758.00
                             issues.

08/10/2023 SWG       BO      Draft and send email re: operational matter to       0.10    895.00            $89.50
                             client

08/10/2023 SWG       BO      Participate in call with vendor operations team      0.70    895.00           $626.50
                             re: filing.

08/11/2023 JHR       BO      Follow-up call with client re: next steps on         0.50    995.00           $497.50
                             operational matters

08/11/2023 JHR       BO      Conference call with brand leaders re: vendor        1.00    995.00           $995.00
                             strategy
08/11/2023 SWG       BO      Call with PwC and Company re: critical               0.80    895.00           $716.00
                             vendor discussions.
08/11/2023 SWG       BO      Participate in call with critical vendor.            0.90    895.00           $805.50
08/11/2023 SWG       BO      Participate in numerous calls with internal          1.30    895.00      $1,163.50
                             Company teams re: operational matters.
08/12/2023 JHR       BO      Call with S. Golden re: critical vendor issues       0.20    995.00           $199.00
08/14/2023 DG        BO      Review draft of roles and responsibilities (.1);     0.50   1,550.00          $775.00
                             call with R. Pachulski re: same (.2); provide
                             comments to S. Fleming by email (.1) and call
                             with Fleming re: same (.1)
08/14/2023 RMP       BO      Review e-mails re Foris consultant and               0.70   1,895.00     $1,326.50
                             telephone conference with DC re same and
                             draft e-mail with Foris counsel re same.

08/14/2023 SWG       BO      Receive and respond to emails re: operations         0.30    895.00           $268.50
                             in bankruptcy

08/14/2023 SWG       BO      Participate in call re: operational issues.          0.50    895.00           $447.50
08/15/2023 SWG       BO      Review and respond to emails re: customer            0.20    895.00           $179.00
                             programs.

08/15/2023 SWG       BO      Call with UK team re: operational matters.           0.50    895.00           $447.50
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                                                                                   Hours      Rate           Amount
08/15/2023 SWG       BO      Follow-up call re UK operations and send               0.30    895.00           $268.50
                             email re: same

08/15/2023 SWG       BO      Participate in call re: critical vendors               0.20    895.00           $179.00
08/15/2023 SWG       BO      Call with counsel to shipper                           0.20    895.00           $179.00
08/15/2023 SWG       BO      Draft critical vendor agreement.                       0.20    895.00           $179.00
08/16/2023 DG        BO      Call with Goldstein re: review of 5 year plan          1.00   1,550.00     $1,550.00
                             (.7); call with D. Choi re: same (.3)

08/16/2023 SWG       BO      Participate in call re: JV issues                      0.50    895.00           $447.50
08/16/2023 SWG       BO      Draft critical vendor agreement.                       0.30    895.00           $268.50
08/16/2023 SWG       BO      Participate in call re: logistics                      0.50    895.00           $447.50
                             vendors/operations

08/16/2023 SWG       BO      Call with client re: critical vendor matters           0.30    895.00           $268.50
08/17/2023 PJJ       BO      Prepare CV Agreements for docusign.                    0.50    545.00           $272.50
08/17/2023 SWG       BO      Draft critical vendor agreement.                       0.20    895.00           $179.00
08/18/2023 PJJ       BO      Circulate executed CV agreements.                      0.20    545.00           $109.00
08/18/2023 RMP       BO      Prepare for and participate on bondholder              1.10   1,895.00     $2,084.50
                             conference call and follow-up with Fleming re
                             same.
08/18/2023 SWG       BO      Participate in call re: critical vendor                0.50    895.00           $447.50
08/18/2023 SWG       BO      Participate in call with bondholders re:               1.00    895.00           $895.00
                             business plan
08/18/2023 SWG       BO      Call with client re: logistics issues                  0.20    895.00           $179.00
08/19/2023 DG        BO      Call with Foris counsel, Foris advisors, PSZJ,         1.20   1,550.00     $1,860.00
                             PWC and P. Gund re: business plan modeling
08/19/2023 JHR       BO      Conference call with Foris re: business plan           1.20    995.00      $1,194.00
08/20/2023 DG        BO      Review BR restructuring presentation for               0.40   1,550.00          $620.00
                             Ingredion
08/20/2023 DG        BO      Call with D. Choi, S. Fleming and R.                   1.20   1,550.00     $1,860.00
                             Pachulski re: results of analysis of tech only
                             business plan and related presentation
08/21/2023 DG        BO      Call with Julia Tamer Langen re: prep for call         1.30   1,550.00     $2,015.00
                             with Ingredion counsel (.3); call with
                             Ingredion counsel and Brazil counsel re:
                             Brazil restructuring options for AFP (1)
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                                                                                 Hours      Rate           Amount
08/21/2023 JHR       BO      Analyze critical vendor issue for new entities       0.50    995.00           $497.50
08/21/2023 SWG       BO      Draft critical vendor agreement.                     0.30    895.00           $268.50
08/21/2023 SWG       BO      Call with potential critical vendor.                 0.50    895.00           $447.50
08/22/2023 JHR       BO      Analyze PwC business plan scenarios                  0.50    995.00           $497.50
08/22/2023 JHR       BO      Conference call with D. Grassgreen and S.            1.00    995.00           $995.00
                             Fleming re: business model

08/22/2023 JHR       BO      Attend working group strategy session                2.00    995.00      $1,990.00
08/22/2023 SWG       BO      Participate in call with client and PwC re:          0.40    895.00           $358.00
                             critical vendor matters

08/23/2023 SWG       BO      Participate in call re: logistics vendors            0.50    895.00           $447.50
08/23/2023 SWG       BO      Call with counsel to critical vendor                 0.20    895.00           $179.00
08/23/2023 SWG       BO      Participate in call with potential critical          0.50    895.00           $447.50
                             vendor

08/24/2023 SWG       BO      Draft critical vendor agreement                      0.10    895.00            $89.50
08/25/2023 SWG       BO      Call with D. Ihn re: critical vendor matters         0.20    895.00           $179.00
08/25/2023 SWG       BO      Exchange emails with client and D. Ihn re:           0.20    895.00           $179.00
                             critical vendor issue

08/28/2023 PJJ       BO      Prepare CV agreements for docusign.                  0.30    545.00           $163.50
08/28/2023 SWG       BO      Draft critical vendor agreement                      0.20    895.00           $179.00
08/28/2023 SWG       BO      Participate in call re: critical vendor/contract     0.60    895.00           $537.00
                             counterparty strategy
08/28/2023 SWG       BO      Call with counsel to potential critical vendor       0.20    895.00           $179.00
08/29/2023 PJJ       BO      Prepare CV agreement for electronic                  0.20    545.00           $109.00
                             signature.
08/29/2023 SWG       BO      Draft critical vendor agreement                      0.10    895.00            $89.50
08/29/2023 SWG       BO      Call with client re: critical vendor agreement       0.20    895.00           $179.00
08/30/2023 SWG       BO      Draft and send email to counsel to potential         0.20    895.00           $179.00
                             critical vendor
08/31/2023 PJJ       BO      Prepare CV agreement for e-signature.                0.30    545.00           $163.50
08/31/2023 SWG       BO      Draft critical vendor agreement                      0.20    895.00           $179.00
                                                                                 32.70               $36,630.50
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                                                                                Hours      Rate           Amount

Case Administration
08/09/2023 JJK       CA      Team call on case issues/pleadings/plan.            0.40   1,175.00          $470.00
08/09/2023 RMP       CA      Participate on conference call with F. Reiss re     0.90   1,895.00     $1,705.50
                             filing status.

08/09/2023 RMP       CA      Review bond analysis.                               0.20   1,895.00          $379.00
08/09/2023 TCF       CA      Review and analysis of case materials and           1.40   1,075.00     $1,505.00
                             issues.

08/09/2023 TCF       CA      Telephone conference with S. Golden                 0.10   1,075.00          $107.50
                             regarding case matters.

08/10/2023 DG        CA      Correspondence with A. Moreland and                 0.30   1,550.00          $465.00
                             S.Golden (and attachments) re: inbound
                             inquiries
08/10/2023 DG        CA      Correspond with J. Storz re: bondholder NDA         0.30   1,550.00          $465.00
                             requirements (.1); call with D. Choi re: same:
                             (.1); followup with Storz re: same (.1)

08/10/2023 PJJ       CA      Draft update critical dates memo, calendar          0.80    545.00           $436.00
                             entries and reminders, and circulate.

08/10/2023 RJG       CA      Work with Intrepid (Carl Comstock) on form          0.40   1,525.00          $610.00
                             of Confidentiality Agreement and negotiation
                             matrix.
08/10/2023 SWG       CA      Update entity "cheat sheet"                         0.30    895.00           $268.50
08/11/2023 ECO       CA      E-mails with Steven Golden/James O'Neill re         0.10    725.00            $72.50
                             postpetition tasks.
08/11/2023 IDD       CA      Coordinate production of 2002 service list          0.30    545.00           $163.50
08/11/2023 JE        CA      Correspondence with Mr. Golden regarding            0.20   1,450.00          $290.00
                             WIP.

08/11/2023 MBL       CA      Confer with J. Rosell re case issues.               0.10   1,445.00          $144.50
08/11/2023 PJJ       CA      Update case template.                               0.50    545.00           $272.50
08/11/2023 SWG       CA      Begin drafting postpetition WIP list.               0.90    895.00           $805.50
08/12/2023 JHR       CA      Correspondence re: workstreams                      0.30    995.00           $298.50
08/14/2023 AJK       CA      WIP call.                                           1.00   1,675.00     $1,675.00
08/14/2023 DG        CA      Review Work in Process list (.3); Team Call         1.30   1,550.00     $2,015.00
                             with PSZJ team re: Work in Process (1)
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                                                                                 Hours      Rate           Amount
08/14/2023 HCK       CA      All-hands conference call with D. Grassgreen,        1.00   1,550.00     $1,550.00
                             et al. re WIP tasks and deadlines.

08/14/2023 JE        CA      Participate in WIP call.                             1.00   1,450.00     $1,450.00
08/14/2023 JEO       CA      Participate in weekly WIP Call                       1.00   1,275.00     $1,275.00
08/14/2023 JHR       CA      Attend weekly PSZJ WIP call (partial)                0.50    995.00           $497.50
08/14/2023 JJK       CA      Team conference call on case issues/filings.         1.00   1,175.00     $1,175.00
08/14/2023 LAF       CA      Obtain transcript for J. Elkin.                      0.30    595.00           $178.50
08/14/2023 MBL       CA      Attend weekly update call with team re               1.00   1,445.00     $1,445.00
                             pending case issues.

08/14/2023 PJJ       CA      Update critical dates memo, calendar entries         0.20    545.00           $109.00
                             and reminders, and circulate.

08/14/2023 RMP       CA      Prepare for (.1) and participate on (1.0) WIP        1.10   1,895.00     $2,084.50
                             call.

08/14/2023 SWG       CA      Participate in weekly PSZJ WIP call.                 1.00    895.00           $895.00
08/14/2023 SWG       CA      Attend to case scheduling matters.                   0.30    895.00           $268.50
08/15/2023 DG        CA      Review and comment on draft document                 0.20   1,550.00          $310.00
                             setting out roles and responsibilities
08/15/2023 DG        CA      Review and revise Bondholder NDA (.1);               0.20   1,550.00          $310.00
                             confer with D. Choi re: same (.1)
08/15/2023 DG        CA      Kickoff call with Bondholder professionals,          1.10   1,550.00     $1,705.00
                             Foris professionals, CRO and PWC
08/15/2023 DG        CA      Finalize Bondholder NDA                              0.20   1,550.00          $310.00
08/15/2023 ECO       CA      Review docket/correspondence/notes on                0.20    725.00           $145.00
                             upcoming tasks and deadlines.
08/15/2023 ECO       CA      E-mails with James O'Neill and Brian                 0.20    725.00           $145.00
                             Huffman re questions on list of interested
                             parties.

08/15/2023 ECO       CA      Conference call with James O'Neill and Brian         0.30    725.00           $217.50
                             Huffman re discussion of interested parties
                             list/information needed.
08/15/2023 JEO       CA      Review critical dates and pending matters            0.70   1,275.00          $892.50
08/15/2023 RMP       CA      Prepare for and participate on bondholder            1.10   1,895.00     $2,084.50
                             conference call.
08/15/2023 SWG       CA      Touch base call with J. Rosell                       0.20    895.00           $179.00
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                                                                               Hours      Rate           Amount
08/15/2023 SWG       CA      Call with communications team.                     0.50    895.00           $447.50
08/16/2023 JHR       CA      Attend weekly professional WIP call                0.80    995.00           $796.00
08/16/2023 PJJ       CA      Update WIP, critical dates memo, calendar          0.30    545.00           $163.50
                             entries and reminders, and circulate.

08/16/2023 PJJ       CA      Pull declaration from NOL order and circulate.     0.20    545.00           $109.00
08/16/2023 PJJ       CA      Update critical dates memo, calendar entries       0.30    545.00           $163.50
                             and reminders, and circulate.

08/16/2023 RMP       CA      Prepare for (.2) and participate on (.8) WIP       1.00   1,895.00     $1,895.00
                             call.

08/16/2023 RMP       CA      Review responsibility matrix.                      0.10   1,895.00          $189.50
08/16/2023 SWG       CA      Participate in Debtor professionals WIP call       1.20    895.00      $1,074.00
08/16/2023 SWG       CA      Participate in WIP/case strategy call.             0.80    895.00           $716.00
08/17/2023 ECO       CA      Review docket/recent filings and upcoming          0.10    725.00            $72.50
                             deadlines/critical dates.

08/17/2023 IDD       CA      Review Critical Dates Memo                         0.20    545.00           $109.00
08/17/2023 IDD       CA      Request transcript of 1st day hearing on           0.10    545.00            $54.50
                             8/11/2023
08/17/2023 PJJ       CA      Update critical dates memo, calendar entries       0.10    545.00            $54.50
                             and reminders, and circulate.
08/17/2023 PJJ       CA      Revise WIP.                                        1.50    545.00           $817.50
08/18/2023 PJJ       CA      Work on revising/updating WIP.                     1.00    545.00           $545.00
08/18/2023 RMP       CA      Participate on weekly conference call with         0.90   1,895.00     $1,705.50
                             lenders and counsel.
08/18/2023 SWG       CA      Participate in weekly call with Lenders and        0.90    895.00           $805.50
                             counsel.
08/21/2023 DG        CA      Attend weekly PSZJ team work in process call       1.00   1,550.00     $1,550.00
08/21/2023 HCK       CA      All-hands conference call re WIP review and        1.00   1,550.00     $1,550.00
                             tasks / deadlines.
08/21/2023 JE        CA      Participate in WIP call.                           1.00   1,450.00     $1,450.00
08/21/2023 JEO       CA      Participate in WIP call with PSZJ team             1.00   1,275.00     $1,275.00
08/21/2023 JHR       CA      Attend weekly PSZJ WIP call                        1.00    995.00           $995.00
08/21/2023 JJK       CA      Team conference call on case issues.               1.00   1,175.00     $1,175.00
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                                                                                  Hours      Rate           Amount
08/21/2023 PJJ       CA      Attend WIP call.                                      1.00    545.00           $545.00
08/21/2023 PJJ       CA      Update WIP.                                           0.20    545.00           $109.00
08/21/2023 RMP       CA      Participate on WIP conference call.                   1.00   1,895.00     $1,895.00
08/21/2023 SWG       CA      Participate in PSZJ WIP call.                         1.00    895.00           $895.00
08/22/2023 DG        CA      Weekly PSZJ WIP Call.                                 1.00   1,550.00     $1,550.00
08/22/2023 PJJ       CA      Update critical dates memo, calendar entries          0.20    545.00           $109.00
                             and reminders, and circulate.

08/22/2023 RMP       CA      Participate on debtor WIP conference call.            0.80   1,895.00     $1,516.00
08/22/2023 SWG       CA      Participate in weekly WIP call with Debtor            0.80    895.00           $716.00
                             professionals.

08/23/2023 JEO       CA      Emails with court staff and PSZJ team                 0.60   1,275.00          $765.00
                             regarding omnibus hearing dates

08/23/2023 PJJ       CA      Update circulation groups for critical dates          0.40    545.00           $218.00
                             memo, calendar entries and reminders.

08/24/2023 SWG       CA      Call with J. O'Neill re: filings                      0.30    895.00           $268.50
08/25/2023 RMP       CA      Conference call with J. Adams and J. Carr re          0.70   1,895.00     $1,326.50
                             case issues.
08/25/2023 SWG       CA      Call with counsel to ad hoc noteholder group          0.20    895.00           $179.00
08/27/2023 ECO       CA      Review upcoming deadlines/hearing                     0.10    725.00            $72.50
                             information.
08/28/2023 ARP       CA      Manage data/files.                                    0.40    425.00           $170.00
08/28/2023 DG        CA      WIP Call.                                             0.70   1,550.00     $1,085.00
08/28/2023 ECO       CA      Review e-mails/notices re new hearing dates           0.20    725.00           $145.00
                             and deadlines/diary omnibus hearings.
08/28/2023 HCK       CA      All-hands conference call re WIP tasks and            0.70   1,550.00     $1,085.00
                             deadlines.
08/28/2023 JEO       CA      Participate in PSZJ weekly WIP call (partial)         0.50   1,275.00          $637.50
08/28/2023 JHR       CA      Analyze WIP list and first day issues.                0.30    995.00           $298.50
08/28/2023 JHR       CA      Attend PSZJ WIP call                                  0.70    995.00           $696.50
08/28/2023 JJK       CA      Team conference call on case issues.                  0.70   1,175.00          $822.50
08/28/2023 MSP       CA      Attend internal meeting regarding work-in-            0.70   1,295.00          $906.50
                             process, action items.
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                                                                               Hours      Rate           Amount
08/28/2023 PJJ       CA      Update critical dates memo, calendar entries       1.00    545.00           $545.00
                             and reminders, and circulate.

08/28/2023 PJJ       CA      Attend PSZJ WIP call.                              0.70    545.00           $381.50
08/28/2023 PJJ       CA      Update WIP.                                        0.40    545.00           $218.00
08/28/2023 PJJ       CA      Register parties for hearing.                      0.40    545.00           $218.00
08/28/2023 PJJ       CA      Circulate final orders to lenders.                 1.50    545.00           $817.50
08/28/2023 RMP       CA      Prepare for and participate on PSZJ WIP call.      0.70   1,895.00     $1,326.50
08/28/2023 SWG       CA      Participate in PSZJ WIP call                       0.70    895.00           $626.50
08/29/2023 DG        CA      Call with Doris Choi and R. Pachulski re:          1.00   1,550.00     $1,550.00
                             various case matters and workstreams.

08/29/2023 JHR       CA      Attend Debtor professional WIP call.               0.60    995.00           $597.00
08/29/2023 PJJ       CA      Update WIP, critical dates memo, calendar          0.50    545.00           $272.50
                             entries and reminders, and circulate.

08/29/2023 RMP       CA      Prepare for (.4) and participate on (.6)           1.00   1,895.00     $1,895.00
                             conference call with D. Grassgreen and DC re
                             case issues.
08/29/2023 RMP       CA      Prepare for and participate on Debtors' WIP        0.60   1,895.00     $1,137.00
                             conference call.
08/29/2023 SWG       CA      Update entity "cheat sheet"                        0.20    895.00           $179.00
08/29/2023 SWG       CA      Participate in Debtors' professional WIP call      0.60    895.00           $537.00
08/30/2023 JHR       CA      Call with D. Grassgreen re: case update            0.20    995.00           $199.00
08/30/2023 PJJ       CA      Update critical dates memo, calendar entries       0.20    545.00           $109.00
                             and reminders, and circulate.
08/30/2023 SWG       CA      Participate in weekly call with Debtor and DIP     1.20    895.00      $1,074.00
                             Lender professionals.
08/31/2023 DG        CA      Weekly call with counsel for Foris, CR3, J.        1.20   1,550.00     $1,860.00
                             Doerr and Ryan P. along with Debtor
                             professionals re: open items and case status.
08/31/2023 PJJ       CA      Update WIP.                                        0.40    545.00           $218.00
08/31/2023 PJJ       CA      Update critical dates memo, calendar entries       0.30    545.00           $163.50
                             and reminders, and circulate.
08/31/2023 SWG       CA      Participate in weekly update call with DIP         1.20    895.00      $1,074.00
                             Lenders
                                                                               66.40               $78,097.00
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Corporate Governance
08/12/2023 DG        CG      Board Meeting                                      1.10   1,550.00     $1,705.00
08/12/2023 RMP       CG      Various telephone conferences with D. Choi         1.20   1,895.00     $2,274.00
                             and S. Fleming re management structure
                             issues.

08/12/2023 RMP       CG      Prepare for (.2) and participate on board call     1.40   1,895.00     $2,653.00
                             (1.1) and follow-up calls (.1).

08/13/2023 RMP       CG      Telephone conferences (multiple) with M.           2.10   1,895.00     $3,979.50
                             Goldstein, D. Choi, D. Grassgreen and S.
                             Fleming re management and board issues.
08/13/2023 RMP       CG      Follow-up calls with M. Goldstein and D.           0.60   1,895.00     $1,137.00
                             Choi re management issues.
08/14/2023 DG        CG      Review and respond to email re: board              0.40   1,550.00          $620.00
                             resignation and disclosures required (.2);
                             review and respond to correspondence with D.
                             Choi re: board advisor (.2)
08/14/2023 JHR       CG      Call with R. Saunders re: CB4U and CBC             0.20    995.00           $199.00
                             governance issues
08/14/2023 RMP       CG      Prepare for and participate on search              1.40   1,895.00     $2,653.00
                             committee conference call and follow up with
                             D. Choi.
08/14/2023 RMP       CG      Review management roles and responsibilities       0.30   1,895.00          $568.50
                             and review e-mails re same.
08/14/2023 RMP       CG      Review board minutes.                              0.30   1,895.00          $568.50
08/14/2023 RMS       CG      Telephone conference with Jason H. Rosell          0.20   1,095.00          $219.00
                             regarding CB 4U
08/15/2023 JHR       CG      Analyze revised subsidiary resolutions             0.20    995.00           $199.00
08/15/2023 RMP       CG      Review minutes.                                    0.20   1,895.00          $379.00
08/15/2023 RMS       CG      Work on resolutions for CBC and CB 4U and          2.10   1,095.00     $2,299.50
                             related governance review
08/15/2023 SWG       CG      Review and comment on Board minutes.               0.20    895.00           $179.00
08/16/2023 RMP       CG      Prepare for and participate on search              1.10   1,895.00     $2,084.50
                             committee conference call and follow-up call
08/16/2023 RMS       CG      Work on governance matters (resolutions) for       0.60   1,095.00          $657.00
                             CBC and CB 4U
08/17/2023 DG        CG      Restructuring Committee Meeting.                   1.50   1,550.00     $2,325.00
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                                                                               Hours      Rate           Amount
08/17/2023 DJB       CG      Review board resolutions; provide comments;        1.50   1,645.00     $2,467.50
                             analysis of quorum requirements.

08/17/2023 RMP       CG      Prepare for and participate on restructuring       1.80   1,895.00     $3,411.00
                             committee conference call and review
                             materials re same.
08/17/2023 RMS       CG      Telephone conference with Jason H. Rosell          0.10   1,095.00          $109.50
                             regarding resolutions
08/17/2023 RMS       CG      Email to David Barton regarding governance         0.20   1,095.00          $219.00
                             question
08/17/2023 RMS       CG      Work on CBC filing preparation (resolutions)       1.00   1,095.00     $1,095.00
08/18/2023 JHR       CG      Revise CBC authorizing resolutions                 0.20    995.00           $199.00
08/18/2023 JHR       CG      Attend CBC board meeting                           0.60    995.00           $597.00
08/18/2023 JHR       CG      Correspondence re: authorizing resolutions for     0.20    995.00           $199.00
                             CBC
08/18/2023 JHR       CG      Revise CB4U resolutions                            0.20    995.00           $199.00
08/18/2023 RMS       CG      Attended CBC, Inc. Board meeting re                0.50   1,095.00          $547.50
                             bankruptcy, etc. resolutions
08/18/2023 RMS       CG      Work on resolutions for CBC                        0.60   1,095.00          $657.00
08/18/2023 RMS       CG      Telephone conference with Jason H. Rosell re       0.10   1,095.00          $109.50
                             CBC, Inc.
08/18/2023 RMS       CG      Second telephone conference with Jason H.          0.10   1,095.00          $109.50
                             Rosell re CBC, Inc.

08/20/2023 DJB       CG      Interoffice conference with R. Saunders re         0.20   1,645.00          $329.00
                             board issues.

08/20/2023 JHR       CG      Analyze revised CB4U resolutions and related       0.40    995.00           $398.00
                             correspondence with JV partner

08/20/2023 RMS       CG      Review of governance matters for CBC, Inc.         1.40   1,095.00     $1,533.00
08/20/2023 RMS       CG      Telephone conference with Jason H. Rosell re       0.10   1,095.00          $109.50
                             CBC, Inc. governance matters

08/21/2023 DJB       CG      Interoffice conference with R. Saunders re         0.60   1,645.00          $987.00
                             Clean Beauty filing (.2); Interoffice
                             conference with R. Saunders and J. Rosell re
                             same (.2); Consider LLC issues re Clean
                             Beauty (.2).
08/21/2023 JHR       CG      Call with R. Saunders re: CB4U resolutions         0.30    995.00           $298.50
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                                                                               Hours      Rate           Amount
08/21/2023 JHR       CG      Prepare corporate resolutions for additional       0.80    995.00           $796.00
                             parties

08/21/2023 JHR       CG      Attend CBC board meeting to authorize filing       0.10    995.00            $99.50
08/21/2023 JHR       CG      Conference call with R. Saunders and D.            0.20    995.00           $199.00
                             Barton re: corporate resolutions

08/21/2023 RMS       CG      Telephone conference with Jason H. Rosell re       0.20   1,095.00          $219.00
                             CB 4U Holdings

08/21/2023 RMS       CG      Conference call with David Barton and Jason        0.40   1,095.00          $438.00
                             H. Rosell re CB 4U Holdings

08/21/2023 RMS       CG      Research and drafted detailed email to David       0.70   1,095.00          $766.50
                             Barton regarding CB 4U Holdings
08/21/2023 RMS       CG      Attended CBC, Inc. Board meeting                   0.10   1,095.00          $109.50
08/28/2023 RMP       CG      Review RC and Board materials.                     1.10   1,895.00     $2,084.50
08/29/2023 DG        CG      Board Meeting.                                     1.00   1,550.00     $1,550.00
08/29/2023 DG        CG      Restructuring Committee Meeting.                   1.00   1,550.00     $1,550.00
08/29/2023 RMP       CG      Prepare for and participate on Board               1.40   1,895.00     $2,653.00
                             conference call.
08/29/2023 RMP       CG      Prepare for and participate on RC conference       1.40   1,895.00     $2,653.00
                             call.
08/30/2023 RMP       CG      Telephone conference with F. Reiss re board        0.30   1,895.00          $568.50
                             issues.
                                                                               33.90               $51,960.50

Claims Administration and Objections
08/14/2023 JHR       CO      Analyze potential antitrust claims                 1.40    995.00      $1,393.00
08/14/2023 SWG       CO      Begin drafting Claims Bar Date Motion              1.00    895.00           $895.00
08/15/2023 SWG       CO      Continue drafting bar date motion                  0.50    895.00           $447.50
08/16/2023 DG        CO      Call with L. Schweitzer and David Botter re:       0.50   1,550.00          $775.00
                             creditor inquiry
08/28/2023 ECO       CO      Review case law/revise draft bar date motion.      0.40    725.00           $290.00
08/28/2023 ECO       CO      E-mails with Steven Golden re revisions to bar     0.10    725.00            $72.50
                             date motion.
08/29/2023 PJJ       CO      Revise bar date motion.                            0.80    545.00           $436.00
                                                                                4.70                $4,309.00
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Other Professional Compensation
08/14/2023 DG        CPO     Call with J. Storz re: bondholder advisors and     0.60   1,550.00          $930.00
                             budget (.3); emails with S. Fleming, P. Gund,
                             R. Pachulski re: same (.1); emails with
                             Goodwin team re: same (.2)
08/21/2023 DG        CPO     Call with Michael Goldstein re: Ad Hoc             1.10   1,550.00     $1,705.00
                             Committee fees (.3); respond to emails from F.
                             Merola re: same (.1); call with Frank and M.
                             Goldstein re: same (.3); review MNCK
                             decision on same and review precedent for
                             motion (.3); emails to and from S. Golden and
                             J. O'Neill re: motion (.1)

08/21/2023 JEO       CPO     Review and circulate precedent for noteholder      0.80   1,275.00     $1,020.00
                             professionals payment

08/22/2023 DG        CPO     Multiple emails to and from S. Golden re: fee      0.30   1,550.00          $465.00
                             letter and motion to assume fee agreements
                             (.2); review attachments (.1).
08/22/2023 DG        CPO     Review fee letter from bondholder counsel          0.30   1,550.00          $465.00
                             (.2); emails with M. Goldstein and R.
                             Pachulski re: same (.1).

08/22/2023 LAF       CPO     Legal research re: Section 363(b) & ad hoc         1.60    595.00           $952.00
                             group fees.

08/22/2023 RMP       CPO     Review and analyze motion re Ad Hoc                0.30   1,895.00          $568.50
                             Bondholder fees.

08/22/2023 SWG       CPO     Begin drafting noteholder professional             6.80    895.00      $6,086.00
                             reimbursement motion
08/23/2023 DG        CPO     Review and comment on revised fee motion           0.50   1,550.00          $775.00
                             for bondholders (.3); review and comment on
                             fee letters (.2)
08/23/2023 JEO       CPO     Review draft of fee motion for bondholders         1.20   1,275.00     $1,530.00
                             (.6) and emails with PSZJ team re same (.6)

08/23/2023 PJJ       CPO     Prepare motion to shorten time regarding           0.80    545.00           $436.00
                             bondholder fee motion.

08/23/2023 SWG       CPO     Edit reimbursement agreement motion                0.70    895.00           $626.50
08/24/2023 IDD       CPO     Draft Notice of Motion to Enter Agreements         0.30    545.00           $163.50
                             with Ad Hoc Bondholder Professionals

08/24/2023 JEO       CPO     Review and finalize Interim Comp Motion            0.50   1,275.00          $637.50
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08/24/2023 SWG       CPO     Review comments to and edit Noteholder               0.90    895.00           $805.50
                             Reimbursement Motion and related pleadings

08/25/2023 AJK       CPO     Call with J. Rosell re fee motion.                   0.10   1,675.00          $167.50
08/25/2023 AJK       CPO     Review fee motion and related declaration.           0.60   1,675.00     $1,005.00
08/25/2023 AJK       CPO     E-mails re fee motion.                               0.30   1,675.00          $502.50
08/25/2023 DG        CPO     Review final fee letters and final motion to         0.30   1,550.00          $465.00
                             approve bondholder fees.

08/25/2023 JEO       CPO     Finalize and file bondholder fee motion              3.50   1,275.00     $4,462.50
08/25/2023 JEO       CPO     Call with UST John Schanne re Bond Holder            0.40   1,275.00          $510.00
                             Fee Motion

08/25/2023 JHR       CPO     Call with A. Kornfeld re: fee letter hearing.        0.20    995.00           $199.00
08/25/2023 PJJ       CPO     Revise motion for OST regarding bondholder           0.20    545.00           $109.00
                             fee motion.

08/25/2023 PJJ       CPO     Prepare bondholder motion for filing (.3); efile     0.50    545.00           $272.50
                             (.2)
08/25/2023 PJJ       CPO     Prepare motion for shortened time regarding          0.40    545.00           $218.00
                             bondholder motion for filing (.2); efile (.2).
08/25/2023 PJJ       CPO     Prepare for (.2) and file exhibits to bondholder     0.40    545.00           $218.00
                             motion (.2).
08/28/2023 JEO       CPO     Work on notice and agenda for hearing on             1.40   1,275.00     $1,785.00
                             bondholder motion
08/28/2023 JEO       CPO     Emails with PSZJ team re bondholder motion           0.60   1,275.00          $765.00
08/28/2023 JEO       CPO     Email with UST re bondholder motion                  0.20   1,275.00          $255.00
08/28/2023 JEO       CPO     Email with Jason Rosell re bondholder motion         0.20   1,275.00          $255.00
08/28/2023 LAF       CPO     Research re: briefing regarding fee                  0.80    595.00           $476.00
                             reimbursement
08/29/2023 AJK       CPO     Review noteholder fee motion.                        0.40   1,675.00          $670.00
08/29/2023 AJK       CPO     Prepare for hearing re noteholder fee motion.        0.60   1,675.00     $1,005.00
08/29/2023 AJK       CPO     E-mails to D. Grassgreen and S. Golden re            0.20   1,675.00          $335.00
                             noteholder fee motion.
08/29/2023 JEO       CPO     Finalize agenda canceling 8/30 hearing               0.60   1,275.00          $765.00
08/29/2023 JEO       CPO     Emails with PSZJ team re bond holder motion          0.60   1,275.00          $765.00
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                                                                               Hours      Rate           Amount
08/29/2023 JEO       CPO     Emails with PSZJ team re rescheduling 8/30         0.80   1,275.00     $1,020.00
                             hearing

08/29/2023 JEO       CPO     Emails with PSZJ team in preparation for           1.20   1,275.00     $1,530.00
                             hearing on bondholder motion

                                                                               31.20               $34,920.50

Employee Benefits/Pensions and KEIP/KERP
08/10/2023 DG        EB      Emails to and from F. Merola re: wages             0.10   1,550.00          $155.00
                             motion

08/10/2023 VAN       EB      Analysis regarding employee severance issues.      0.20   1,175.00          $235.00
08/11/2023 VAN       EB      Analysis regarding management severance            0.30   1,175.00          $352.50
                             issues.

08/14/2023 DG        EB      Review and respond to emails re: employee          0.10   1,550.00          $155.00
                             benefits
08/14/2023 DG        EB      Correspond with D. Choi re: Melo severance         0.10   1,550.00          $155.00
                             and review blog posts re: confidentiality
08/15/2023 DG        EB      Review email from Patricia East re: missed         0.20   1,550.00          $310.00
                             employee payments for those on leave of
                             absence (.1); respond thereto and review wage
                             order (.1)
08/16/2023 SWG       EB      Call with counsel to independent contractor        0.30    895.00           $268.50
                             provider
08/17/2023 DG        EB      Correspond with B. Huffman re: employee            0.10   1,550.00          $155.00
                             severance.
08/17/2023 JHR       EB      Conference call with client re: UK employee        0.70    995.00           $696.50
                             issues
08/19/2023 AJK       EB      Review draft declaration re KEIP/KERP.             0.50   1,675.00          $837.50
08/19/2023 AJK       EB      Call with PWC re KEIP/KERP issues.                 1.00   1,675.00     $1,675.00
08/19/2023 DG        EB      Review draft KEIP Presentation (.4); call with     1.50   1,550.00     $2,325.00
                             S. Fleming, A. Kornfeld, V. Newmark and P.
                             Gund re: KEIP Motion (1.1)

08/19/2023 VAN       EB      Phone conference with Steve Fleming, Debra         1.10   1,175.00     $1,292.50
                             Grassgreen, Philip Gund, and Alan Kornfeld
                             regarding KEIP/KERP.
08/21/2023 AJK       EB      Work on KEIP/KERP motion.                          0.80   1,675.00     $1,340.00
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08/21/2023 DG        EB      Review revised KEIP/KERP presentation (.4);        1.30   1,550.00     $2,015.00
                             call with A. Kornfeld, P. Gund; S. Fleming to
                             review same (.8); emails with V. Newmark re:
                             motion (.1)
08/21/2023 RMP       EB      Review KERP and KEIP analysis                      0.80   1,895.00     $1,516.00
                             presentation.
08/22/2023 AJK       EB      Review KEIP/KERP motion.                           0.60   1,675.00     $1,005.00
08/22/2023 DG        EB      Review and comment on KEIP/KERP Motion.            0.50   1,550.00          $775.00
08/22/2023 DG        EB      Emails with A. Nicas re: KEIP and KERP             0.10   1,550.00          $155.00
                             Plan.

08/22/2023 VAN       EB      Draft KEIP/KERP motion and supporting              3.60   1,175.00     $4,230.00
                             declaration.

08/23/2023 DG        EB      Call to review KEIP/KERP with M. Goldstein,        0.70   1,550.00     $1,085.00
                             A. Nicas, S. Fleming and P. Gund

08/23/2023 DG        EB      Review edits to KEIP/KERP motion from A.           0.50   1,550.00          $775.00
                             Nicas (.4); emails with V. Newmark re: same
                             (.1)
08/23/2023 VAN       EB      Draft/revise KEIP/KERP motion and                  3.00   1,175.00     $3,525.00
                             supporting declaration.
08/24/2023 ECO       EB      Review notice re motion to seal KEIP/KERP          0.10    725.00            $72.50
                             motion; emails with James O'Neill/Steven
                             Golden re comments.
08/24/2023 IDD       EB      Draft Notice of Motion to Seal Information         0.30    545.00           $163.50
                             Related to KEIP-KERP
08/24/2023 JEO       EB      Review and finalize KEIP/KERP Motion and           2.10   1,275.00     $2,677.50
                             related motion to seal
08/24/2023 SWG       EB      Edit motion to seal KEIP/KERP Motion               0.20    895.00           $179.00
08/24/2023 VAN       EB      Draft/revise KEIP/KERP pleadings.                  1.70   1,175.00     $1,997.50
08/25/2023 VAN       EB      Draft letter to KERP participants.                 1.50   1,175.00     $1,762.50
08/30/2023 VAN       EB      Draft letters to KEIP participants.                1.80   1,175.00     $2,115.00
08/30/2023 VAN       EB      Email correspondence with Steven Golden            0.30   1,175.00          $352.50
                             regarding worker's compensation claims.
                                                                               26.10               $34,353.50
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                                                                               Hours      Rate           Amount

Contract and Lease Matters
08/10/2023 HCK       EC      Memos to / from D. Choi and J. Rosell re           0.20   1,550.00          $310.00
                             DSM discussions.

08/10/2023 HCK       EC      Conference call with DSM and K. Novotny,           0.20   1,550.00          $310.00
                             D. Choi and J. Rosell re bankruptcy filing.

08/10/2023 HCK       EC      Telephone call with J. Rosell re DSM escrow        0.30   1,550.00          $465.00
                             and strain release.

08/10/2023 HCK       EC      Review files re DSM / Givaudan escrow              2.60   1,550.00     $4,030.00
                             agreements and release provisions and analyze
                             Project Accelerate.
08/10/2023 HCK       EC      Meeting with J. Rosell re DSM contracts and        0.70   1,550.00     $1,085.00
                             escrow agreements and commercial
                             discussions.

08/10/2023 HCK       EC      Further review / analyze DSM license, supply       1.20   1,550.00     $1,860.00
                             and drawing rights agreements.

08/10/2023 HCK       EC      Further research / analyze DSM / Givuadan /        1.10   1,550.00     $1,705.00
                             Firmenich interlocks and escrow agreements.
08/10/2023 HCK       EC      Memos to / from D. Grassgreen re DSM call          0.10   1,550.00          $155.00
                             update.
08/10/2023 HCK       EC      Conference call with D. Grassgreen, J. Rosell,     0.40   1,550.00          $620.00
                             D. Choi and K. Novotny re DSM discussions.
08/10/2023 HCK       EC      Follow-up with K. Novotny and J. Rosell re         0.30   1,550.00          $465.00
                             DSM collaboration funding.
08/10/2023 JHR       EC      Conference with H. Kevane re: escrow               0.70    995.00           $696.50
                             agreements
08/10/2023 JHR       EC      Research re: IP escrow agreements                  0.50    995.00           $497.50
08/10/2023 JHR       EC      Conference call with client re: Firmenich          0.40    995.00           $398.00
                             issues
08/10/2023 JHR       EC      Conference call with DSM and H. Kevane             0.30    995.00           $298.50
08/10/2023 JHR       EC      Call with H. Kevane re: DSM escrow                 0.40    995.00           $398.00
08/10/2023 RMP       EC      Telephone conferences with Goldstein, A.           0.40   1,895.00          $758.00
                             Nicas and D. Grassgreen re case issues.
08/11/2023 HCK       EC      Memos to / from J. Rosell and K. Novotny re        0.40   1,550.00          $620.00
                             DSM analysis.

08/11/2023 JEO       EC      Finalize contract rejection motion                 1.50   1,275.00     $1,912.50
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                                                                                Hours      Rate           Amount
08/11/2023 JHR       EC      Correspondence re: DSM-Firmenich                    0.30    995.00           $298.50
                             reservation of rights

08/11/2023 PJJ       EC      Revise lease rejection motion (.8); prepare for     1.10    545.00           $599.50
                             and file (.3).

08/11/2023 RMP       EC      Prepare for and participate on Foris update         1.10   1,895.00     $2,084.50
                             and strategy conference call.

08/11/2023 RMP       EC      Prepare for and participate on conference call      1.00   1,895.00     $1,895.00
                             with Foris professionals re next steps.

08/12/2023 HCK       EC      Memos to / from D. Choi re draft IP                 0.50   1,550.00          $775.00
                             presentation and review same.
08/12/2023 HCK       EC      Memos to / from J. Rosell and D. Grassgreen         0.60   1,550.00          $930.00
                             re DSM standstill language from J. Ktsanes.
08/12/2023 HCK       EC      Memos to / from J. Rosell and K. Novotny re         0.40   1,550.00          $620.00
                             DSM-Firmenich analysis and standstill.
08/12/2023 HCK       EC      Telephone call with J. Rosell re DSM-               0.20   1,550.00          $310.00
                             Firmenich issues.
08/12/2023 HCK       EC      Various memos to / from J. Rosell and K.            0.50   1,550.00          $775.00
                             Novotny re DSM-Firmenich consent to
                             assignment.

08/12/2023 HCK       EC      Further memos to / from J. Rosell and K.            0.30   1,550.00          $465.00
                             Novotny re DSM LDRA analysis.

08/12/2023 JHR       EC      Analyze Firmenich collaboration agreement           1.10    995.00      $1,094.50
                             and related documents

08/12/2023 JHR       EC      Analyze company analysis of Firmenich               0.30    995.00           $298.50
                             collaboration agreement
08/13/2023 ECO       EC      E-mails with Jason Rosell/Victoria Newmark          0.30    725.00           $217.50
                             re rejection of leases/next omnibus motion.
08/13/2023 JE        EC      Work on memo in IP issues.                          1.20   1,450.00     $1,740.00
08/14/2023 DG        EC      Conference call with Client representatives, H.     1.20   1,550.00     $1,860.00
                             Kevane and J. Rosell re: Givaudan contract
08/14/2023 DG        EC      Review Intellectual Property Presentation (.7);     2.20   1,550.00     $3,410.00
                             conference call with Client Representatives
                             and H. Kevane, J. Rosell re: IP presentation
                             (1.5)
08/14/2023 DG        EC      Correspond with D. Choi re: rejection strategy      0.30   1,550.00          $465.00
                             (.1); call with J. Rosell re: same (.2)
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                                                                                Hours      Rate           Amount
08/14/2023 HCK       EC      Follow-up with J. Ktsanes, et al. re DSM            0.40   1,550.00          $620.00
                             standstill and revised form and memos to /
                             from J. Rosell.
08/14/2023 HCK       EC      Confer with J. Rosell re DSM analysis.              0.20   1,550.00          $310.00
08/14/2023 HCK       EC      Memos to / from S. Golden re DSM research.          0.10   1,550.00          $155.00
08/14/2023 HCK       EC      Review amendment to DSM farnesene license           0.30   1,550.00          $465.00
                             from K. Novotny.
08/14/2023 HCK       EC      Further confer with J. Rosell re Givaudan           0.20   1,550.00          $310.00
                             preparation.
08/14/2023 HCK       EC      Memos to / from J. Rosell, et al. re D. Choi        0.20   1,550.00          $310.00
                             memo re DSM / Givaudan rejection analysis.
08/14/2023 HCK       EC      Further follow-up with K. Novotny re DSM /          0.40   1,550.00          $620.00
                             Givaudan analysis.
08/14/2023 JE        EC      Review new Delaware case on assumption or           0.80   1,450.00     $1,160.00
                             rejection of contracts in US chapter 11 debtors
                             under non-US law.

08/14/2023 JHR       EC      Conference call with client and PwC re:             1.20    995.00      $1,194.00
                             Givaudan negotiations
08/14/2023 JHR       EC      Analyze commercial contract issues                  2.30    995.00      $2,288.50
08/14/2023 RMP       EC      Review and respond to e-mails re counterparty       0.30   1,895.00          $568.50
                             negotiations.
08/14/2023 RMP       EC      Review and respond to e-mails re contract           0.30   1,895.00          $568.50
                             counterparty issues.
08/14/2023 SWG       EC      Review and comment on operational                   0.30    895.00           $268.50
                             executory contracts.
08/14/2023 SWG       EC      Draft and send letter to Klaviyo re:                0.30    895.00           $268.50
                             noncompliance with terms of contracts.
08/15/2023 DG        EC      Call with R. Pachulski and J. Rosell re:            0.40   1,550.00          $620.00
                             strategy for commercial contract negotiations
08/15/2023 DG        EC      Call with Patent counsel from Goodwin re:           0.50   1,550.00          $775.00
                             strategy for commercial contract negotiations
08/15/2023 DG        EC      Review and comments on draft talking points         0.90   1,550.00     $1,395.00
                             for Givaudan and DSM (multiple drafts) (.7);
                             review HCK analysis of DSM and Givaudan
                             options (.2)
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                                                                                Hours      Rate           Amount
08/15/2023 DG        EC      Call with counsel to Ingredion re: contract         0.90   1,550.00     $1,395.00
                             issues and Brazil restructuring (.7); summarize
                             same for Foris (.1); correspond with Fleming
                             re: same (.1)
08/15/2023 DG        EC      Call with counsel for Witherspoon (.2); email       0.40   1,550.00          $620.00
                             to Gund and Beers re: same (.1); respond to
                             counsel for Witherspoon (.1)
08/15/2023 HCK       EC      Confer with J. Rosell and D. Grassgreen re          0.10   1,550.00          $155.00
                             Givaudan approach.
08/15/2023 HCK       EC      Conference call with GP team and D.                 0.70   1,550.00     $1,085.00
                             Grassgreen / J. Rosell re patent analysis.
08/15/2023 HCK       EC      Memos to / from D. Choi and H. Kieftenbeld          0.50   1,550.00          $775.00
                             re Givaudan / DSM strategy analysis and write
                             up.

08/15/2023 HCK       EC      Further review memos from K. Novotny re             0.90   1,550.00     $1,395.00
                             Givaudan collaboration agreement and review
                             amended and restated version.
08/15/2023 HCK       EC      Memos to / from C. Johnson re Givaudan              1.40   1,550.00     $2,170.00
                             planning session and review numerous
                             background files.

08/15/2023 HCK       EC      Review / edit J. Rosell draft of commercial         1.80   1,550.00     $2,790.00
                             contract talking points.

08/15/2023 HCK       EC      Numerous memos to / from C. Johnson, J.             1.30   1,550.00     $2,015.00
                             Rosell, K. Novotny and H. Kieftenbeld re
                             DSM / Givaudan strategic negotiations and
                             drafts / edits to talking points.

08/15/2023 JHR       EC      Conference call with Goodwin re contract            0.70    995.00           $696.50
                             matters

08/15/2023 JHR       EC      Conference call with D. Grassgreen and R.           0.40    995.00           $398.00
                             Pachulski re: commercial contract strategy
08/15/2023 JHR       EC      Prepare analysis of Givaudan options                0.50    995.00           $497.50
08/15/2023 JHR       EC      Revise commercial contract negotiating points       0.90    995.00           $895.50
08/15/2023 RJG       EC      Join call with team regarding organizing            0.70   1,525.00     $1,067.50
                             contracts for sale process.
08/15/2023 RMP       EC      Prepare for and participate on commercial           0.50   1,895.00          $947.50
                             contract-related conference call.
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                                                                                 Hours      Rate           Amount
08/15/2023 RMP       EC      Telephone conference with D. Grassgreen re           0.30   1,895.00          $568.50
                             contract issues.

08/15/2023 RMP       EC      Additional review of e-mails relating to             0.40   1,895.00          $758.00
                             contract parties and review analysis.

08/15/2023 RMP       EC      Review e-mails re rejection of severance             0.20   1,895.00          $379.00
                             agreements.

08/15/2023 RMP       EC      Review various drafts of contract talking            0.50   1,895.00          $947.50
                             points and telephone conference with D.
                             Grassgreen re same.
08/15/2023 SWG       EC      Participate in kickoff call with contracts team.     0.80    895.00           $716.00
08/15/2023 SWG       EC      Begin contract review and assembly.                  1.90    895.00      $1,700.50
08/16/2023 DG        EC      Call with counsel for R. Witherspoon re:             0.50   1,550.00          $775.00
                             contract outstanding amounts and services to
                             be provided.

08/16/2023 DG        EC      Call with J. Weber, counsel to Givaudan re:          0.60   1,550.00          $930.00
                             intro and contract issues

08/16/2023 DG        EC      Review draft talking points for DSM and              1.10   1,550.00     $1,705.00
                             Givaudan meetings and provide comments
                             (.3); call with J. Rosell, H. Kevane and client
                             reps re: review of same (.8)

08/16/2023 DG        EC      Call with R. Pachulski, J. Rosell and counsel        0.60   1,550.00          $930.00
                             for DSM re: contract issues and critical vendor
                             status
08/16/2023 DG        EC      Review JVN/IPSY Agreement (.4) and                   0.50   1,550.00          $775.00
                             correspond with S. Golden re: same (.1)
08/16/2023 DG        EC      Review initial draft of Givaudan term sheet          0.40   1,550.00          $620.00
                             and provide comments
08/16/2023 HCK       EC      Review K. Novotny memo and comments re               0.60   1,550.00          $930.00
                             Givaudan key discussion points and term sheet
                             draft.
08/16/2023 HCK       EC      Telephone call with J. Rosell re preparation of      0.20   1,550.00          $310.00
                             Givaudan / DSM term sheets.
08/16/2023 HCK       EC      Prepare for call with Mr. Kieftenbeld et al. re      1.20   1,550.00     $1,860.00
                             working group discussions for Givaudan /
                             DSM and annotate drafts.

08/16/2023 HCK       EC      Follow-up with C. Johnson re his comments to         0.40   1,550.00          $620.00
                             Givaudan discussion points.
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                                                                               Hours      Rate           Amount
08/16/2023 HCK       EC      Telephone call with J. Rosell re commercial /      0.30   1,550.00          $465.00
                             strategic discussions.

08/16/2023 HCK       EC      Conference call with H. Kieftenbeld, S.            1.30   1,550.00     $2,015.00
                             Fleming, D. Choi. K. Novotny and C. Johnson
                             re Givaudan / DSM discussions.
08/16/2023 HCK       EC      Draft / revise treatment proposals for             1.70   1,550.00     $2,635.00
                             Givaudan discussions and proposed term sheet
                             and circulate to group.

08/16/2023 HCK       EC      Telephone call with C. Johnson re Givaudan         0.10   1,550.00          $155.00
                             collaboration projects.

08/16/2023 JHR       EC      Conference call with Givaudan                      0.60    995.00           $597.00
08/16/2023 JHR       EC      Call with H. Kevane re: settlement framework       0.30    995.00           $298.50
08/16/2023 JHR       EC      Conference call with client re: strategic          0.60    995.00           $597.00
                             options

08/16/2023 JHR       EC      Conference call with DSM                           0.90    995.00           $895.50
08/16/2023 JHR       EC      Conference call with PwC re: strategic options     1.20    995.00      $1,194.00
08/16/2023 JHR       EC      Draft Givaudan term sheet                          2.70    995.00      $2,686.50
08/16/2023 PJJ       EC      Prepare CV agreement for signature (.2);           0.50    545.00           $272.50
                             resend (.3).

08/16/2023 RMP       EC      Conference call with J. Rosell, D. Choi and D.     0.50   1,895.00          $947.50
                             Grassgreen re status and follow-up with D.
                             Grassgreen re same.
08/16/2023 RMP       EC      Prepare for and participate on conference call     1.10   1,895.00     $2,084.50
                             with Givaudan counsel and D. Grassgreen and
                             JR re contract issues and follow-up with D.
                             Grassgreen.
08/16/2023 RMP       EC      Telephone conference with Goldstein and            0.40   1,895.00          $758.00
                             Nicas re status of negotiations.
08/16/2023 SWG       EC      Research issues re: intersection of statutory      0.40    895.00           $358.00
                             lien rights and contract
08/17/2023 DG        EC      Correspond with K. Novotny and J. Rosell re:       0.30   1,550.00          $465.00
                             Givaudan Term sheet and related matters.

08/17/2023 DG        EC      Call with Ori Katz re: Witherspoon agreement       0.50   1,550.00          $775.00
                             (.3); review settlement offer (.1); correspond
                             with Phil Gund re: same (.1).
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                                                                                 Hours      Rate           Amount
08/17/2023 DG        EC      Emails to and from counsel for Givuadan re:          0.10   1,550.00          $155.00
                             meeting and questions about first day
                             declaration.
08/17/2023 HCK       EC      Review Givaudan supply agreement and                 0.80   1,550.00     $1,240.00
                             amendment from K. Novotny.
08/17/2023 HCK       EC      Further review K. Novotny comments to                0.40   1,550.00          $620.00
                             Givaudan treatment proposal.
08/17/2023 HCK       EC      Review J. Rosell draft of Givaudan term sheet        0.50   1,550.00          $775.00
                             and edit / revise same.
08/17/2023 HCK       EC      Memos to / from K. Novotny re Givaudan               0.20   1,550.00          $310.00
                             follow-up.
08/17/2023 HCK       EC      Meeting with J. Rosell re format / structure of      0.50   1,550.00          $775.00
                             contract treatment term sheet.
08/17/2023 HCK       EC      Memos to / from J. Rosell and D. Grassgreen          1.20   1,550.00     $1,860.00
                             re revised inserts to Givaudan contract
                             treatment proposal.
08/17/2023 HCK       EC      Further draft / edit inserts to Givaudan             0.70   1,550.00     $1,085.00
                             treatment term sheet.
08/17/2023 HCK       EC      Memos to / from J. Rosell et al. re supply           0.10   1,550.00          $155.00
                             pricing assumptions.
08/17/2023 HCK       EC      Further confer with J. Rosell (various) re edits     0.40   1,550.00          $620.00
                             to draft term sheet for contract treatment.
08/17/2023 HCK       EC      Review DSM supply agreement and                      1.10   1,550.00     $1,705.00
                             amendments from K. Novotny and confer with
                             J. Rosell re same.

08/17/2023 HCK       EC      Review C. Johnson memos re Givaudan                  0.50   1,550.00          $775.00
                             discussion for Mr. Kieftenbeld and talking
                             point attachments.
08/17/2023 HCK       EC      Meeting with J. Rosell re his conversation           0.40   1,550.00          $620.00
                             with D. Choi re license contract treatment
                             options.

08/17/2023 HCK       EC      Various follow-up with J. Rosell, C. Novotny         0.40   1,550.00          $620.00
                             et al. re DSM CMO agreements and strain
                             access.
08/17/2023 HCK       EC      Further edit / draft inserts to Givaudan term        0.30   1,550.00          $465.00
                             sheet.
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                                                                                  Hours      Rate           Amount
08/17/2023 JHR       EC      Conference with H. Kevane re: Givaudan term           0.50    995.00           $497.50
                             sheet

08/17/2023 JHR       EC      Revise Givaudan term sheet                            1.90    995.00      $1,890.50
08/17/2023 JHR       EC      Conference with D. Grassgreen re: strategic           0.40    995.00           $398.00
                             options

08/17/2023 PJJ       EC      Create tracking list of contract rejections.          0.50    545.00           $272.50
08/17/2023 RMP       EC      Review Givaudan information and e-mails and           0.50   1,895.00          $947.50
                             attachment re same.

08/18/2023 HCK       EC      Memos to / from A. Shyjan and D. Choi et al.          0.40   1,550.00          $620.00
                             re CMO strain access.

08/18/2023 HCK       EC      Memos to / from J. Rosell and D. Grassgreen           0.50   1,550.00          $775.00
                             re Givaudan term sheet and review edits.
08/18/2023 HCK       EC      Memos to / from J. Rosell et al. re initial daft      0.60   1,550.00          $930.00
                             of Givaudan term sheet.
08/18/2023 HCK       EC      Various follow-up re term sheet discussions           0.20   1,550.00          $310.00
                             for contract treatment options.
08/18/2023 JHR       EC      Revise Givaudan term sheet                            2.10    995.00      $2,089.50
08/18/2023 JHR       EC      Revise Givaudan term sheet and related                0.40    995.00           $398.00
                             correspondence with client
08/18/2023 RMP       EC      Review proposed Givaudan term sheet.                  0.20   1,895.00          $379.00
08/18/2023 SWG       EC      Review and comment on executory contract.             0.20    895.00           $179.00
08/18/2023 SWG       EC      Continue executory contract review                    2.90    895.00      $2,595.50
08/18/2023 SWG       EC      Call with contracts team re: contract/lease lists     0.50    895.00           $447.50
08/19/2023 DG        EC      Call with Ori Katz and P. Gund re:                    0.50   1,550.00          $775.00
                             Witherspoon contract
08/19/2023 DG        EC      Review email from J. Weber re: Givaudan               0.20   1,550.00          $310.00
                             confidentiality; emails with H. Kieftenbeld re:
                             same; emails with D. Choi and S. Tan re: same
                             and follow up email with H. Kieftenbeld re:
                             same

08/19/2023 DG        EC      Conference call with Amyris team; J. Rosell,          1.30   1,550.00     $2,015.00
                             S. Fleming and P. Gund (partial) re: Givaudan
                             term sheet
08/19/2023 ECO       EC      Prepare second omnibus lease rejection                1.40    725.00      $1,015.00
                             motion.
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                                                                                Hours      Rate           Amount
08/19/2023 JHR       EC      Conference call with client and PwC re:             1.40    995.00      $1,393.00
                             Givaudan term sheet

08/19/2023 JHR       EC      Revise Givaudan term sheet                          1.90    995.00      $1,890.50
08/19/2023 JHR       EC      Analyze spa management agreement and                0.30    995.00           $298.50
                             related correspondence

08/19/2023 JHR       EC      Analyze commercial contracts                        2.30    995.00      $2,288.50
08/20/2023 DG        EC      Review and respond to emails from J. Rosell,        0.20   1,550.00          $310.00
                             Corbin, Han, and Karen Novotny re: DSM
                             contract issues
08/20/2023 JHR       EC      Revise Givaudan term sheet                          0.30    995.00           $298.50
08/20/2023 JHR       EC      Correspondence re: DSM production                   0.30    995.00           $298.50
                             agreements
08/20/2023 RMP       EC      Review and respond to e-mails re counterparty       0.30   1,895.00          $568.50
                             negotiations.
08/20/2023 RMP       EC      Conference call with D. Choi and S. Fleming         1.30   1,895.00     $2,463.50
                             re counterparty issues.
08/20/2023 SWG       EC      Review executory contracts and unexpired            2.50    895.00      $2,237.50
                             leases.
08/21/2023 DG        EC      Call with J. Rosell re: Ingredion contract          0.10   1,550.00          $155.00
                             update (.1)

08/21/2023 DG        EC      Correspond from and to counsel for DSM re:          0.10   1,550.00          $155.00
                             status of term sheet

08/21/2023 DG        EC      Correspond with counsel for Givaudan re:            0.90   1,550.00     $1,395.00
                             term sheet (.1); call to review term sheet with
                             J. Rosell, H. Kevane and Goodwin team (.6);
                             review revised term sheet (.2)

08/21/2023 DG        EC      Correspond with H. Kevane re: Lavvan license        0.10   1,550.00          $155.00
                             issues

08/21/2023 HCK       EC      Review numerous accumulated memos re                0.30   1,550.00          $465.00
                             DSM CMO arrangements.

08/21/2023 HCK       EC      Review numerous accumulated memos re                0.60   1,550.00          $930.00
                             comments / edits to Givaudan term sheet from
                             K. Novotny / C. Johnson, et al.
08/21/2023 HCK       EC      Memos to / from K. Novotny, et al. re               0.20   1,550.00          $310.00
                             Givaudan collaboration agreements.
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                                                                                Hours      Rate           Amount
08/21/2023 HCK       EC      Review various redlines to Givaudan term            0.50   1,550.00          $775.00
                             sheet.

08/21/2023 HCK       EC      Numerous memos to / from M. Goldstein, et           0.40   1,550.00          $620.00
                             al. re Givaudan engagement re term sheet for
                             contract treatment options.
08/21/2023 HCK       EC      Prepare for call with GP (Foris) re proposed        0.40   1,550.00          $620.00
                             Givaudan term sheet.
08/21/2023 HCK       EC      Confer with J. Rosell re Givaudan term sheet.       0.20   1,550.00          $310.00
08/21/2023 HCK       EC      Outline treatment options for DSM contracts.        1.20   1,550.00     $1,860.00
08/21/2023 HCK       EC      Conference call with M. Goldstein, D.               0.50   1,550.00          $775.00
                             Grassgreen, J. Rosell and A. Nicas re
                             Givaudan draft.

08/21/2023 HCK       EC      Memos to J. Rosell re DSM contract treatment        0.80   1,550.00     $1,240.00
                             alternative.

08/21/2023 JHR       EC      Call with D. Grassgreen re: Ingredion               0.10    995.00            $99.50
08/21/2023 JHR       EC      Conference call with Goodwin re: Givaudan           0.50    995.00           $497.50
                             term sheet

08/21/2023 JHR       EC      Revise Givaudan term sheet                          0.30    995.00           $298.50
08/21/2023 JHR       EC      Draft DSM term sheet                                1.30    995.00      $1,293.50
08/21/2023 RMP       EC      Review e-mails and telephone conferences            0.40   1,895.00          $758.00
                             with D. Grassgreen re counterparty issues.
08/21/2023 RMP       EC      Telephone conference with Goldstein re              0.70   1,895.00     $1,326.50
                             executory contract and related issues.
08/21/2023 SWG       EC      Review and edit second omnibus rejection            0.40    895.00           $358.00
                             motion
08/21/2023 SWG       EC      Participate in call re: entry into postpetition     0.50    895.00           $447.50
                             contracts
08/21/2023 SWG       EC      Continue to review executory contracts and          1.20    895.00      $1,074.00
                             unexpired leases
08/22/2023 DG        EC      Review and comment on issues summary on             0.30   1,550.00          $465.00
                             DSM and Giviadan prepared by H. Kevane
                             and J. Rosell.

08/22/2023 DG        EC      Review emails from Corbin and Han re:               0.10   1,550.00          $155.00
                             Givuadan term sheet.
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                                                                              Hours      Rate           Amount
08/22/2023 DG        EC      Review DSM term sheet comments from               0.30   1,550.00          $465.00
                             Corbin.

08/22/2023 DG        EC      Call with Foris Representatives and Amyris in     0.10   1,550.00          $155.00
                             house legal re: IP presentation on commercial
                             contracts.
08/22/2023 ECO       EC      Review e-mails/correspondence from Steven         0.20    725.00           $145.00
                             Golden and company re issues regarding
                             BioMADE contract.

08/22/2023 ECO       EC      Review and analysis of BioMADE contract;          0.90    725.00           $652.50
                             prepare notes re issues relating to client
                             invoices.
08/22/2023 ECO       EC      Prepare e-mail to Steven Golden re notes on       0.10    725.00            $72.50
                             BioMADE contract.
08/22/2023 HCK       EC      Further memos to / from S. Golden and D.          0.70   1,550.00     $1,085.00
                             Grassgreen re Lavvan research.
08/22/2023 HCK       EC      Further review / analyze Lavvan agreements        1.20   1,550.00     $1,860.00
                             and RCLA / escrow release provisions.
08/22/2023 HCK       EC      Numerous follow-up memos to / from D.             0.60   1,550.00          $930.00
                             Grassgreen, et al. re Lavvan analysis.
08/22/2023 HCK       EC      Memos to / from J. Rosell and C. Johnson, K.      0.30   1,550.00          $465.00
                             Novotny re DSM draft term sheet.

08/22/2023 HCK       EC      Memos to / from H. Kieftenbeld, et al. re         0.20   1,550.00          $310.00
                             Givaudan discussions.

08/22/2023 HCK       EC      Continue to review / analyze Lavvan RCLA          0.80   1,550.00     $1,240.00
                             and security agreement.

08/22/2023 HCK       EC      Memos to D. Grassgreen re Lavvan issues and       0.20   1,550.00          $310.00
                             subordination.

08/22/2023 HCK       EC      Memos to / from J. Rosell re DSM / Givaudan       0.20   1,550.00          $310.00
                             positions and strategy.
08/22/2023 HCK       EC      Review J. Rosell draft of DSM term sheet.         0.30   1,550.00          $465.00
08/22/2023 HCK       EC      Review C. Johnson and K. Novotny edits to         0.20   1,550.00          $310.00
                             DSM term sheet.
08/22/2023 JE        EC      Correspondence with Mr. Kevane and Ms.            0.20   1,450.00          $290.00
                             Grassgreen regarding escrow agreement with
                             Lavvan and related litigation.
08/22/2023 JE        EC      Research issues relating to escrow triggers.      2.30   1,450.00     $3,335.00
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                                                                                Hours      Rate           Amount
08/22/2023 JHR       EC      Draft DSM term sheet                                1.40    995.00      $1,393.00
08/22/2023 JHR       EC      Revise DSM term sheet                               1.20    995.00      $1,194.00
08/22/2023 JHR       EC      Draft Givaudan and DSM issues list                  0.90    995.00           $895.50
08/22/2023 PJJ       EC      Update lease/contract rejection tracking chart.     0.30    545.00           $163.50
08/22/2023 SWG       EC      Participate in call with client and PwC re:         1.00    895.00           $895.00
                             assembly and rejection of executory contracts
                             and unexpired leases
08/22/2023 SWG       EC      Continue drafting second omnibus rejection          0.80    895.00           $716.00
                             motion.
08/22/2023 SWG       EC      Continued review of executory contracts.            2.70    895.00      $2,416.50
08/23/2023 HCK       EC      Review markups to J. Rosell draft of DSM            0.60   1,550.00          $930.00
                             term sheet (K. Novotny and C. Johnson edits).
08/23/2023 HCK       EC      Follow-up with D. Grassgreen, et al. re             0.40   1,550.00          $620.00
                             Lavvan analysis.
08/23/2023 HCK       EC      Review C. Johnson memo re Givaudan talking          0.20   1,550.00          $310.00
                             points.
08/23/2023 HCK       EC      Further review Lavvan RCLA and security             0.70   1,550.00     $1,085.00
                             documents.
08/23/2023 HCK       EC      Memos to / from D. Grassgreen re Lavvan             0.10   1,550.00          $155.00
                             subordination.
08/23/2023 SWG       EC      Continue comprehensive contract review              2.00    895.00      $1,790.00
08/24/2023 PJJ       EC      Prepare 2nd contract rejection motion for file      0.50    545.00           $272.50
                             (.3); file (.2).

08/24/2023 SWG       EC      Draft and send emails re: entry into new            0.30    895.00           $268.50
                             agreements

08/24/2023 SWG       EC      Continue comprehensive contract review.             2.00    895.00      $1,790.00
08/25/2023 DG        EC      Call with J. Rosell, R. Pachulski and S.            0.70   1,550.00     $1,085.00
                             Fleming re: Term Sheet review (DSM and
                             Givaudan) (partial).
08/25/2023 DG        EC      Call with R. Pachulski re: DSM (.3); review         0.40   1,550.00          $620.00
                             letter from Ktsanes and R. Pachulski email
                             attaching same (.1).

08/25/2023 HCK       EC      Memos to/from J. Rosell re updated                  0.40   1,550.00          $620.00
                             DSM/Givaudan term sheet.
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                                                                               Hours      Rate           Amount
08/25/2023 HCK       EC      Review accumulated memos to/from J. Rosell         1.10   1,550.00     $1,705.00
                             and K. Novotny re DSM/Givaudan term sheet
                             drafts and discussions.
08/25/2023 HCK       EC      Various follow up with J. Rosell and D. Choi       0.50   1,550.00          $775.00
                             re DSM/GIV Term Sheet update.
08/25/2023 JHR       EC      Revise term sheets.                                1.60    995.00      $1,592.00
08/25/2023 RMP       EC      Telephone conferences with D. Grassgreen           0.60   1,895.00     $1,137.00
                             and then with Ktsanes and review DSM
                             correspondence.

08/25/2023 RMP       EC      Review and analyze revised term sheets.            0.40   1,895.00          $758.00
08/25/2023 SWG       EC      Continue comprehensive review of executory         1.40    895.00      $1,253.00
                             contracts

08/27/2023 RMP       EC      Prepare for and participate on term sheet          0.80   1,895.00     $1,516.00
                             conference call with Goodwin.

08/28/2023 DG        EC      Call with Foris and Amyris teams (clients,         1.30   1,550.00     $2,015.00
                             advisors and counsel) re: commercial term
                             sheets.
08/28/2023 DG        EC      Call with P. Gund re: Witherspoon.                 0.30   1,550.00          $465.00
08/28/2023 DG        EC      Call with S. Fleming and R. Pachulski re:          0.70   1,550.00     $1,085.00
                             commercial contracts.
08/28/2023 HCK       EC      Memos to/from J. Rosell, C. Johnson and K.         0.60   1,550.00          $930.00
                             Novotny re revised term sheets for
                             DSM/Givaudan contract restructuring.
08/28/2023 HCK       EC      Review further edits/revisions to                  0.80   1,550.00     $1,240.00
                             DSM/Givaudan contract treatment term sheets
                             from J. Rosell.
08/28/2023 HCK       EC      Review 8/25 DSM letter re IP escrow release,       1.30   1,550.00     $2,015.00
                             other performance demands and review
                             underlying agreements.
08/28/2023 HCK       EC      Review further markups to DSM/Givaudan             0.20   1,550.00          $310.00
                             term sheet.
08/28/2023 JHR       EC      Analyze supply agreements.                         0.70    995.00           $696.50
08/28/2023 RMP       EC      Prepare for and participate on all-hands           1.30   1,895.00     $2,463.50
                             conference call re commercial term sheets.
08/28/2023 RMP       EC      Prepare for and participate on conference call     0.70   1,895.00     $1,326.50
                             with Fleming and D. Grassgreen re
                             commercial contracts.
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                                                                                 Hours      Rate           Amount
08/28/2023 RMP       EC      Review e-mails and telephone conferences re          0.60   1,895.00     $1,137.00
                             DSM and Givaudan issues.

08/28/2023 SWG       EC      Participate in call re: termination of executory     0.30    895.00           $268.50
                             contract

08/28/2023 SWG       EC      Continue comprehensive review of executory           7.70    895.00      $6,891.50
                             contracts

08/29/2023 DG        EC      Call with M. Goldstein and J. Rosell re:             0.70   1,550.00     $1,085.00
                             comments to talking points.

08/29/2023 DG        EC      Call with M. Goldstein re: contract issues.          0.80   1,550.00     $1,240.00
08/29/2023 HCK       EC      Memos to/from J. Rosell re further markups to        0.50   1,550.00          $775.00
                             DSM/GIV contract treatment term sheets.
08/29/2023 HCK       EC      Memos to/from J. Rosell and K. Novotny and           0.30   1,550.00          $465.00
                             C. Johnson re DSM/GIV edits.
08/29/2023 HCK       EC      Memos to/from J. Rosell, D. Choi and D.              0.70   1,550.00     $1,085.00
                             Grassgreen re DSM/GIV commercial contract
                             term sheets.
08/29/2023 HCK       EC      Draft outline of response to DSM 8/25 letter.        0.20   1,550.00          $310.00
08/29/2023 JHR       EC      Call with S. Fleming re: term sheets.                0.50    995.00           $497.50
08/29/2023 JHR       EC      Revise Givaudan term sheet.                          0.70    995.00           $696.50
08/29/2023 JHR       EC      Revise DSM term sheet and related                    1.20    995.00      $1,194.00
                             correspondence with client.

08/29/2023 JHR       EC      Call with D. Grassgreen re: term sheets.             0.50    995.00           $497.50
08/29/2023 JHR       EC      Call with DSM.                                       0.60    995.00           $597.00
08/29/2023 JHR       EC      Call with Goodwin re DSM.                            0.60    995.00           $597.00
08/29/2023 JHR       EC      Conference call with PSZJ and client re: term        0.80    995.00           $796.00
                             sheets.

08/29/2023 JHR       EC      Revise term sheets.                                  0.90    995.00           $895.50
08/29/2023 RMP       EC      Conference call with D. Grassgreen and MG            0.80   1,895.00     $1,516.00
                             re contract issues.

08/29/2023 RMP       EC      Telephone conference with team and                   0.80   1,895.00     $1,516.00
                             management re contract issues.

08/29/2023 SWG       EC      Continue comprehensive review of executory           5.00    895.00      $4,475.00
                             contracts
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                                                                                Hours      Rate           Amount
08/30/2023 HCK       EC      Memos to/from J. Rosell and M. Goldstein re         0.20   1,550.00          $310.00
                             DSM/GIV term sheets.

08/30/2023 HCK       EC      Various memos to/from D. Grassgreen et al. re       0.30   1,550.00          $465.00
                             commercial contract term sheets.

08/30/2023 HCK       EC      Draft/edit reply to DSM 8/25 letter re escrow       2.40   1,550.00     $3,720.00
                             delivery and other requests and circulate draft
                             to D. Grassgreen et al.
08/30/2023 HCK       EC      Telephone call with J. Rosell re DSM reply          0.20   1,550.00          $310.00
                             letter.
08/30/2023 HCK       EC      Memos to/from D. Grassgreen re comments to          0.20   1,550.00          $310.00
                             draft of DSM reply letter.
08/30/2023 HCK       EC      Memo to K. Novotny and D. Choi re draft             0.30   1,550.00          $465.00
                             DSM reply letter.
08/30/2023 HCK       EC      Telephone call with K. Novotny re DSM reply         0.30   1,550.00          $465.00
                             letter and escrowed strains.
08/30/2023 HCK       EC      Follow up with K. Novotny re DSM 8/25               0.40   1,550.00          $620.00
                             letter requests.

08/30/2023 HCK       EC      Memos to/from K. Novotny re DSM reply               0.30   1,550.00          $465.00
                             letter and edits re same.

08/30/2023 HCK       EC      Review K. Novotny memo re DSM reply                 0.40   1,550.00          $620.00
                             letter.

08/30/2023 HCK       EC      Telephone call with J. Rosell re K. Novotny         0.20   1,550.00          $310.00
                             comments to DSM reply letter.

08/30/2023 HCK       EC      Review J. Rosell memo with draft insert to          0.10   1,550.00          $155.00
                             DSM reply letter.
08/30/2023 JHR       EC      Correspondence with Goodwin re: term                0.20    995.00           $199.00
                             sheets.
08/30/2023 JHR       EC      Correspondence with client re: term sheets.         0.20    995.00           $199.00
08/30/2023 JHR       EC      Analyze term sheet issues.                          0.50    995.00           $497.50
08/30/2023 JHR       EC      Revise DSM term sheet and related                   0.30    995.00           $298.50
                             correspondence with Goodwin.
08/30/2023 JHR       EC      Revise term sheets and related correspondence       0.40    995.00           $398.00
                             with Goodwin.
08/30/2023 JHR       EC      Review H. Kevane draft reply to DSM.                0.30    995.00           $298.50
08/30/2023 JHR       EC      Draft insert for DSM letter                         0.50    995.00           $497.50
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                                                                                Hours      Rate           Amount
08/30/2023 RMP       EC      Review and respond to e-mails re Givaudan           0.30   1,895.00          $568.50
                             negotiations.

08/30/2023 RMP       EC      Review and respond to DSM term sheet                0.30   1,895.00          $568.50
                             revisions.

08/30/2023 RMP       EC      Review draft response to DSM letter and             0.40   1,895.00          $758.00
                             telephone conference with D. Grassgreen re
                             same.
08/30/2023 SWG       EC      Review manufacturing agreements                     0.50    895.00           $447.50
08/30/2023 SWG       EC      Call with A. Alvarenga re: contract assembly        0.30    895.00           $268.50
                             and review
08/30/2023 SWG       EC      Call with contracts team re: next steps             0.80    895.00           $716.00
08/30/2023 SWG       EC      Continue comprehensive review of executory          3.70    895.00      $3,311.50
                             contracts
08/31/2023 DG        EC      Review and comment on talking points for            1.30   1,550.00     $2,015.00
                             Givaudan and DSM calls (.5); conference call
                             with M. Goldstein, J. Rosell and A. Nicas re:
                             Givaudan call with J. Weber (.8).
08/31/2023 DG        EC      Review final term sheets (.3); correspond with      0.50   1,550.00          $775.00
                             DSM counsel re: term sheet (.1); correspond
                             with Givaudan counsel re: term sheet (.1).

08/31/2023 HCK       EC      Various follow up re commercial term sheets         0.30   1,550.00          $465.00
                             for GIV/DSM.
08/31/2023 HCK       EC      Memos to/from K. Novotny re comments to             0.30   1,550.00          $465.00
                             DSM reply letter.
08/31/2023 HCK       EC      Further review K. Novotny memos re                  0.40   1,550.00          $620.00
                             response to DSM letter.
08/31/2023 HCK       EC      Revise/edit text of DSM reply letter and            0.80   1,550.00     $1,240.00
                             circulate to K. Novotny, C. Johnson et al.
08/31/2023 HCK       EC      Conference call with D. Choi, A. Shyjan, K.         0.50   1,550.00          $775.00
                             Novotny and C. Johnson re revised DSM reply
                             letter.

08/31/2023 HCK       EC      Confer with J. Rosell re revised DSM reply          0.10   1,550.00          $155.00
                             letter and K. Novotny comments.

08/31/2023 HCK       EC      Confer with J. Rosell re DSM/GIV draft              0.20   1,550.00          $310.00
                             talking points.

08/31/2023 HCK       EC      Further revise/edit DSM reply letter and            0.50   1,550.00          $775.00
                             circulate to D. Choi, et al. for final review.
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                                                                                   Hours      Rate           Amount
08/31/2023 HCK       EC      Memos to/from DSM Counsel re term sheet                0.20   1,550.00          $310.00
                             and other open items.

08/31/2023 HCK       EC      Review J. Rosell draft to DSM talking points           0.20   1,550.00          $310.00
                             and edits to same.

08/31/2023 HCK       EC      Further revise/edit DSM reply letter.                  0.10   1,550.00          $155.00
08/31/2023 HCK       EC      Research re DSM-Firmenich merger structure.            0.60   1,550.00          $930.00
08/31/2023 HCK       EC      Memos to/from H. Keiftenbeld re DSM reply              0.20   1,550.00          $310.00
                             letter and follow up with D. Grassgreen.

08/31/2023 JHR       EC      Correspondence with client and Goodwin re              0.30    995.00           $298.50
                             term sheets.

08/31/2023 JHR       EC      Draft DSM talking points.                              1.30    995.00      $1,293.50
08/31/2023 JHR       EC      Draft Givaudan talking points.                         1.30    995.00      $1,293.50
08/31/2023 JHR       EC      Revise term sheets.                                    0.20    995.00           $199.00
08/31/2023 JHR       EC      Call with Goodwin re open issues.                      1.20    995.00      $1,194.00
08/31/2023 JHR       EC      Revise term sheets.                                    0.20    995.00           $199.00
08/31/2023 JHR       EC      Call with Goodwin re term sheet negotiations.          1.00    995.00           $995.00
08/31/2023 JHR       EC      Revise term sheets.                                    0.30    995.00           $298.50
08/31/2023 RMP       EC      Review and respond to e-mails re Givaudan              0.60   1,895.00     $1,137.00
                             and DSM talking points.
08/31/2023 SWG       EC      Continue comprehensive review of executory             1.00    895.00           $895.00
                             contracts
08/31/2023 SWG       EC      Participate in daily contracts check-in call           0.40    895.00           $358.00
                                                                                  206.30              $264,603.50

First/Second Day Matters
08/09/2023 DG        FD      Calls with counsel for Foris re first day filings.     2.00   1,550.00     $3,100.00
08/09/2023 JE        FD      Review correspondence and additional                   1.20   1,450.00     $1,740.00
                             analyses of intercompany transfer issues,
                             including revised cash management order.
08/09/2023 JHR       FD      Call with D. Grassgreen re: filing update              0.20    995.00           $199.00
08/09/2023 JHR       FD      Call with M. Litvak re: filing update                  0.20    995.00           $199.00
08/09/2023 JHR       FD      Revise first day motions for filing after              0.40    995.00           $398.00
                             commencing.
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                                                                                   Hours      Rate           Amount
08/09/2023 JHR       FD      Post-filing review of documents for filing.            2.10    995.00      $2,089.50
08/09/2023 JHR       FD      Conference with PSZJ and client re: first day          1.30    995.00      $1,293.50
                             presentation

08/09/2023 PJJ       FD      Update first day agenda and notice of hearing.         0.50    545.00           $272.50
08/09/2023 PJJ       FD      Prepare first day Orders.                              0.80    545.00           $436.00
08/10/2023 ARP       FD      Prepare First Day hearing binders.                     2.20    425.00           $935.00
08/10/2023 CAK       FD      Assist in preparation of 8/11/23 hearing               0.30    495.00           $148.50
08/10/2023 CJB       FD      Prepare hearing binders for hearing on                 0.20    425.00            $85.00
                             8/11/23.

08/10/2023 DG        FD      Review key first day motions in preparation            3.00   1,550.00     $4,650.00
                             for hearing and prepare hearing notes

08/10/2023 DG        FD      Call with Michael Goldstein re: filing status          3.00   1,550.00     $4,650.00
                             and next steps for hearing (.3); emails with A.
                             Nicas re: same (.2); review revised first day
                             presentation and summary of entities (.5);
                             provide comments on first day presentation
                             (.4); review further revised draft (.3); call with
                             S. Golden, J. O'Neill, R. Pachulski and J.
                             Rosell re: hearing prep (.7); further call with
                             S. Golden and R. Pachulski re: slides (.6)

08/10/2023 DG        FD      Correspond with D. Choi and J. Rosell re:              0.20   1,550.00          $310.00
                             NOL Motion
08/10/2023 DG        FD      Calls and several emails with J. O'Neill re:           0.50   1,550.00          $775.00
                             hearing time and court assignment (.2); call
                             with L. Jones re: hearing prep (.3)
08/10/2023 ECO       FD      E-mails with Jason Rosell re taxes                     0.30    725.00           $217.50
                             motion/proposed interim order.

08/10/2023 JEO       FD      Finalize first day motions                             4.00   1,275.00     $5,100.00
08/10/2023 JEO       FD      Emails with court to set up first day hearing          1.50   1,275.00     $1,912.50
08/10/2023 JEO       FD      Prepare documents for submission to court              3.50   1,275.00     $4,462.50
                             (1.1); finalize first day agenda(.9), Notice of
                             Motions and DIP Notice (1.5)
08/10/2023 JEO       FD      Prepare for first day hearing                          4.00   1,275.00     $5,100.00
08/10/2023 JHR       FD      First day hearing prep call                            0.60    995.00           $597.00
08/10/2023 JHR       FD      Prepare for first day hearing                          4.20    995.00      $4,179.00
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                                                                                   Hours      Rate           Amount
08/10/2023 JHR       FD      Analyze first day presentation                         1.20    995.00      $1,194.00
08/10/2023 PJJ       FD      Register parties for 1st day hearing.                  0.50    545.00           $272.50
08/10/2023 RMP       FD      Conference call with JO, RP, JR and DG.                0.70   1,895.00     $1,326.50
08/10/2023 RMP       FD      Telephone conference with DSM re first days.           0.60   1,895.00     $1,137.00
08/10/2023 RMP       FD      Telephone conference with Goldstein re first           0.40   1,895.00          $758.00
                             day hearing and related issues.

08/10/2023 RMP       FD      Telephone conference with Ktsanes re                   0.40   1,895.00          $758.00
                             termination and first day issues.

08/10/2023 SWG       FD      Edit first day hearing presentation                    0.20    895.00           $179.00
08/10/2023 SWG       FD      Participate in First Day Hearing prep call             1.30    895.00      $1,163.50
08/11/2023 AJK       FD      Review first day pleadings.                            1.20   1,675.00     $2,010.00
08/11/2023 CAK       FD      Assist in preparation of 8/11/23 hearing               0.20    495.00            $99.00
08/11/2023 DG        FD      Prepare for First Day Hearings (1.7); attend           3.60   1,550.00     $5,580.00
                             first day hearings (1.5); client followup call re:
                             first day hearing (.4)
08/11/2023 ECO       FD      E-mails with Jason Rosell re taxes interim             0.10    725.00            $72.50
                             order.
08/11/2023 ECO       FD      E-mails with Jason Rosell and James O'Neill            0.20    725.00           $145.00
                             re first day hearing/submission of revised
                             interim orders.

08/11/2023 ECO       FD      Prepare certification of counsel and redline re        0.40    725.00           $290.00
                             interim taxes order.

08/11/2023 ECO       FD      Prepare e-mail to Jason Rosell and James               0.10    725.00            $72.50
                             O'Neill forwarding revised taxes
                             order/redline/certification of counsel.
08/11/2023 ECO       FD      E-mails with James O'Neill re comments/edits           0.10    725.00            $72.50
                             to certification of counsel.
08/11/2023 ECO       FD      Review and revise certification of                     0.30    725.00           $217.50
                             counsel/coordinate filing and submission of
                             revised proposed order.
08/11/2023 ECO       FD      Followup e-mails with Jason Rosell and Eva             0.20    725.00           $145.00
                             Elmore re information for taxes motion.
08/11/2023 JEO       FD      Prepare for first day hearing                          2.00   1,275.00     $2,550.00
08/11/2023 JEO       FD      Finalize first day orders for submission to            3.50   1,275.00     $4,462.50
                             court.
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                                                                                  Hours      Rate           Amount
08/11/2023 JEO       FD      Emails to Stretto re service of rejection motion      0.50   1,275.00          $637.50
                             and first day orders.

08/11/2023 JEO       FD      Follow up on items after first day hearing            1.80   1,275.00     $2,295.00
08/11/2023 JHR       FD      Prepare for first day hearing                         0.50    995.00           $497.50
08/11/2023 JHR       FD      Conference call with B. Huffman re:                   0.20    995.00           $199.00
                             additional debtors

08/11/2023 JHR       FD      Analyze CBC supplemental filing and related           1.20    995.00      $1,194.00
                             issues

08/11/2023 MBL       FD      Call with J. Rosell re possible additional            0.30   1,445.00          $433.50
                             debtor filing.

08/11/2023 PJJ       FD      Prepare for and upload 1st day orders.                4.00    545.00      $2,180.00
08/11/2023 RMP       FD      Client debrief after hearing and telephone            0.70   1,895.00     $1,326.50
                             conference with D. Choi thereafter.
08/14/2023 ECO       FD      E-mails with James O'Neill re worldwide stay          0.10    725.00            $72.50
                             motion.
08/14/2023 ECO       FD      Prepare notice re entry of order on worldwide         0.40    725.00           $290.00
                             stay.
08/14/2023 ECO       FD      Prepare e-mail to James O'Neill re notice to          0.10    725.00            $72.50
                             creditors and other parties in interest regarding
                             worldwide stay/entry of order.

08/14/2023 ECO       FD      Followup e-mails with James O'Neill re final          0.50    725.00           $362.50
                             hearing notices/coordinate filing and service.

08/14/2023 ECO       FD      E-mails with James O'Neill re noticing/service        0.10    725.00            $72.50
                             of entered first day orders.

08/14/2023 ECO       FD      Review and revise draft first day order               0.30    725.00           $217.50
                             notices/coordinate service.

08/14/2023 ECO       FD      Followup e-mails with James O'Neill/update            0.10    725.00            $72.50
                             order notice.
08/14/2023 ECO       FD      Review notices of final hearing on first day          0.40    725.00           $290.00
                             motions.
08/14/2023 ECO       FD      E-mails with James O'Neill re finalizing final        0.10    725.00            $72.50
                             hearing notices for filing.
08/14/2023 IDD       FD      Draft Notice of Final Hearing on Utilities            0.40    545.00           $218.00
                             Motion
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                                                                                Hours      Rate           Amount
08/14/2023 IDD       FD      Draft Notice of Final Hearing on Cash               1.50    545.00           $817.50
                             Management Motion (.3); draft Notice of
                             Final Hearing on Common Stock Motion (.3);
                             draft Notice of Final Hearing on Wage Motion
                             (.3); draft Notice of Final Hearing on
                             Customer Programs Motion (.3); draft Notice
                             of Final Hearing on Critical Vendors Motion
                             (.3)
08/14/2023 IDD       FD      Draft Notice of Final Hearing on Insurance          0.30    545.00           $163.50
                             Motion
08/14/2023 IDD       FD      Draft Notice of Final Hearing on Tax Motion         0.30    545.00           $163.50
08/14/2023 JEO       FD      Work on NOL Notice                                  0.30   1,275.00          $382.50
08/14/2023 JEO       FD      Work on service issues for first day motions        2.50   1,275.00     $3,187.50
                             and orders
08/14/2023 JEO       FD      Review precedent for joint admin motion for         0.40   1,275.00          $510.00
                             subsequent debtors
08/15/2023 JEO       FD      Review service of first day motions/orders          0.60   1,275.00          $765.00
08/15/2023 JEO       FD      Call with PWC and PSZJ team regarding               0.50   1,275.00          $637.50
                             additional entities
08/15/2023 JHR       FD      Call with S. Golden re: customer programs           0.30    995.00           $298.50
                             motion

08/15/2023 PJJ       FD      Update Clean Beauty petition package.               0.30    545.00           $163.50
08/15/2023 SWG       FD      Discussion with PSZJ and PwC teams re:              0.50    895.00           $447.50
                             additional entity filings.

08/16/2023 JEO       FD      Review issues regarding new debtors to be           1.10   1,275.00     $1,402.50
                             filed

08/16/2023 JEO       FD      Review second day matters                           0.60   1,275.00          $765.00
08/16/2023 JEO       FD      Review status of pending matters                    0.60   1,275.00          $765.00
08/16/2023 JHR       FD      Conference call with PwC and client re:             0.50    995.00           $497.50
                             subsequent filings

08/16/2023 JHR       FD      Correspondence with PSZJ and PwC re:                0.30    995.00           $298.50
                             additional filing entities
08/16/2023 JHR       FD      Conference call with C. Hadfield re: additional     0.40    995.00           $398.00
                             filing entities
08/16/2023 JHR       FD      Call with counsel to Rose Inc. re: additional       0.60    995.00           $597.00
                             first day filing
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                                                                               Hours      Rate           Amount
08/16/2023 JHR       FD      Conference call with Tia Mowry re: additional      0.40    995.00           $398.00
                             filing entity

08/16/2023 JHR       FD      Analyze issues re: additional filing entities      0.90    995.00           $895.50
08/16/2023 JHR       FD      Call with CB4U re: additional entity filing        0.30    995.00           $298.50
08/16/2023 JHR       FD      Correspondence with Goodwin re: additional         0.20    995.00           $199.00
                             entity filings

08/16/2023 JHR       FD      Call with CB4U re: JV partner issues               0.40    995.00           $398.00
08/17/2023 ECO       FD      Conference call with Jason Rosell/James            0.50    725.00           $362.50
                             O'Neill/PwC re new filings/tasks needed.

08/17/2023 ECO       FD      E-mails with James O'Neill re service of first     0.40    725.00           $290.00
                             day notices/review notice re schedules
                             extension motion and provide comments.
08/17/2023 ECO       FD      E-mails with James O'Neill re information on       0.20    725.00           $145.00
                             additional debtor.
08/17/2023 ECO       FD      Preparation of motion re joint admininstration     1.70    725.00      $1,232.50
                             of new debtor case with original cases and
                             application of first day orders to new case.

08/17/2023 ECO       FD      Prepare proposed order and exhibit for motion      0.60    725.00           $435.00
                             re new debtor joint administration/application
                             of first day orders.
08/17/2023 ECO       FD      Prepare e-mail to James O'Neill forwarding         0.10    725.00            $72.50
                             motion re new debtor.
08/17/2023 IDD       FD      File Counsel's Presentation at First Day           0.20    545.00           $109.00
                             Hearing on the docket

08/17/2023 JEO       FD      Review status of first day matters/orders and      0.60   1,275.00          $765.00
                             review notice of motion to extend time to file
                             schedules.
08/17/2023 JHR       FD      Conference call with PSZJ and PwC re:              0.50    995.00           $497.50
                             additional entity filings
08/17/2023 JHR       FD      Correspondence with CBC and R. Saunders            0.30    995.00           $298.50
                             re: additional entity filing
08/17/2023 JHR       FD      Conference call with CB4U re: additional           0.80    995.00           $796.00
                             entity filing
08/17/2023 MBL       FD      Call with team and PwC re new debtor filing.       0.50   1,445.00          $722.50
08/17/2023 MBL       FD      Emails with lender counsel re new debtor           0.10   1,445.00          $144.50
                             filings.
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                                                                                Hours      Rate           Amount
08/17/2023 RMS       FD      Teams meeting (all hands) regarding filing          0.50   1,095.00          $547.50
                             preparation for CBC and CB 4U

08/18/2023 ECO       FD      E-mails with James O'Neill/Steven                   0.20    725.00           $145.00
                             Golden/Jason Rosell re updates on additional
                             debtor filings/critical vendor issues.
08/18/2023 ECO       FD      Review e-mail from James O'Neill and                0.10    725.00            $72.50
                             comments to joint administration motion for
                             new debtors.

08/18/2023 ECO       FD      Review and revise new debtor joint                  0.90    725.00           $652.50
                             administration motion; add information on
                             additional new debtor.
08/18/2023 ECO       FD      Prepare e-mail to James O'Neill forwarding          0.10    725.00            $72.50
                             updated motion re new debtors/joint
                             administration.

08/18/2023 JEO       FD      Review and revise joint administration motion       1.50   1,275.00     $1,912.50
                             for new debtors and circulate to PSZJ team

08/18/2023 JHR       FD      Follow-up call with C. Hadfield re: CBC filing      0.20    995.00           $199.00
08/18/2023 JHR       FD      Analyze draft CBC petition and related              0.30    995.00           $298.50
                             correspondence with board

08/18/2023 JHR       FD      Revise joint administration motion for CBC          1.30    995.00      $1,293.50
                             and CB4U
08/18/2023 PJJ       FD      Revise CBC petition package.                        0.20    545.00           $109.00
08/18/2023 PJJ       FD      Prepare final first day orders for circulation.     1.00    545.00           $545.00
08/18/2023 SWG       FD      Call with A. Nicas re: future case filings.         0.40    895.00           $358.00
08/19/2023 DG        FD      Review and respond to various emails and            0.50   1,550.00          $775.00
                             drafts of pleadings re: filings for round 2
                             debtors
08/19/2023 ECO       FD      E-mails with Jason Rosell/Steven Golden re          0.40    725.00           $290.00
                             discussion of new debtors/information needed
                             for filing/joint administration motion.
08/19/2023 ECO       FD      E-mails with Steven Golden re preparation of        0.10    725.00            $72.50
                             motions on contract/lease rejection and de
                             minimis asset procedures.
08/19/2023 ECO       FD      E-mails with Jason Rosell/Maxim                     0.30    725.00           $217.50
                             Litvak/James O'Neill re information for
                             supplemental joint admininstration motion.
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                                                                               Hours      Rate           Amount
08/19/2023 ECO       FD      Followup e-mails with Steven Golden and            0.20    725.00           $145.00
                             James O'Neill re updates for joint
                             administration motion/new debtor entities to
                             be added.
08/19/2023 JHR       FD      Call with S. Golden re: additional first day       0.30    995.00           $298.50
                             filings
08/19/2023 MBL       FD      Review and comment on draft joint admin            0.70   1,445.00     $1,011.50
                             motion re new debtors (0.3); emails with team
                             re same (0.1); propose insert for order (0.3).
08/19/2023 MBL       FD      Call with S. Golden re new debtor issue (0.1);     0.30   1,445.00          $433.50
                             review and comment on draft declaration in
                             suppose of new debtor motion (0.2).

08/19/2023 SWG       FD      Draft declaration in support of additional         1.20    895.00      $1,074.00
                             debtor joint administration

08/20/2023 ECO       FD      E-mails with Jason Rosell/Goodwin counsel re       0.20    725.00           $145.00
                             comments to new joint administration motion.

08/20/2023 JHR       FD      Revise supplemental first day declaration and      1.20    995.00      $1,194.00
                             related pleadings

08/20/2023 JHR       FD      Analyze Goodwin comments to joint                  0.40    995.00           $398.00
                             administration motion and revise cash
                             management diagram
08/20/2023 MBL       FD      Emails with team and lender counsel re new         0.20   1,445.00          $289.00
                             debtor filings; comments to new debtor
                             motion.

08/21/2023 ECO       FD      E-mails with Jason Rosell/Goodwin re               0.20    725.00           $145.00
                             discussion of new debtors/financing issues.
08/21/2023 ECO       FD      E-mails with Jason Rosell/PwC re joint             0.20    725.00           $145.00
                             administration motion and status of additional
                             debtor filings.
08/21/2023 ECO       FD      Review e-mails from Jason Rosell and Steven        0.20    725.00           $145.00
                             Golden re addition of new debtors/information
                             for motion.
08/21/2023 ECO       FD      Review and revise motion re joint                  1.60    725.00      $1,160.00
                             admininstration of new debtors and
                             application of first day orders per
                             PSZJ/Goodwin comments.
08/21/2023 ECO       FD      Prepare e-mail to Jason Rosell/Steven              0.10    725.00            $72.50
                             Golden/James O'Neill re updated draft of joint
                             administration motion.
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                                                                                 Hours      Rate           Amount
08/21/2023 ECO       FD      E-mails with James O'Neill/Jason Rosell/UST          0.20    725.00           $145.00
                             re updates on new debtors and debtor
                             interview.
08/21/2023 JEO       FD      Work on petitions and agenda/notice/motion           4.00   1,275.00     $5,100.00
                             for new debtors and finalize and file
08/21/2023 JEO       FD      Emails with UST regarding new cases to be            0.60   1,275.00          $765.00
                             filed
08/21/2023 JHR       FD      Revise supplemental joint administration             0.40    995.00           $398.00
                             motion
08/21/2023 JHR       FD      Revise first day pleadings for additional            1.30    995.00      $1,293.50
                             entities
08/21/2023 JHR       FD      Revise additional debtor petitions                   0.40    995.00           $398.00
08/21/2023 JHR       FD      Revise petitions for additional entities             0.30    995.00           $298.50
08/21/2023 JHR       FD      Prepare additional entity filings                    1.30    995.00      $1,293.50
08/21/2023 PJJ       FD      Draft CBC 4U follow up petition package.             0.80    545.00           $436.00
08/21/2023 PJJ       FD      Revise CBC petition package.                         0.20    545.00           $109.00
08/21/2023 PJJ       FD      Draft CB4U Holdings petition package.                0.80    545.00           $436.00
08/21/2023 PJJ       FD      Draft 1st day agenda for late filing debtors.        0.60    545.00           $327.00
08/21/2023 PJJ       FD      Revise new debtor petition packages.                 0.50    545.00           $272.50
08/21/2023 PJJ       FD      Prepare for and file 2nd set of debtor petitions     1.00    545.00           $545.00
                             and 1st day motions.
08/21/2023 RMP       FD      Review CBC and CB4U issues and conference            0.30   1,895.00          $568.50
                             with D. Grassgreen re same.
08/21/2023 SWG       FD      Update supplemental joint admin motion and           0.60    895.00           $537.00
                             declaration

08/22/2023 ARP       FD      Prepare hearing and virtual notebook for             0.50    425.00           $212.50
                             hearing on 8-23-23.

08/22/2023 JEO       FD      Prepare for first day hearing in new debtor          0.60   1,275.00          $765.00
                             case

08/22/2023 JEO       FD      Review items for first day hearing for               1.20   1,275.00     $1,530.00
                             additional debtors

08/22/2023 JEO       FD      Prepare for first day hearing for new debtors        1.60   1,275.00     $2,040.00
08/22/2023 PJJ       FD      Register parties for new debtors 1st day             0.20    545.00           $109.00
                             hearing.
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                                                                              Hours      Rate           Amount
08/23/2023 PJJ       FD      Upload 1st day joint administration order for     0.20    545.00           $109.00
                             newly filed debtors.

08/24/2023 ECO       FD      Review and reply to James O'Neill e-mail re       0.10    725.00            $72.50
                             second day hearings/notices.

08/24/2023 ECO       FD      Review e-mail/comments from James O'Neill         0.20    725.00           $145.00
                             re language for motions to be filed and make
                             conforming changes.
08/25/2023 PJJ       FD      Download and circulate 2nd day motions.           0.20    545.00           $109.00
08/28/2023 DG        FD      Call with Bondholder Committee regarding          0.50   1,550.00          $775.00
                             KEIP and Cash Management Questions.
08/28/2023 JEO       FD      Emails with Debra Grassgreen regarding            0.60   1,275.00          $765.00
                             timing and deadlines for second day matters
08/30/2023 ECO       FD      Review utilities info/e-mails with James          0.40    725.00           $290.00
                             O'Neill and Jason Rosell re
                             Spectrum/Charter/Cox inquiry.

08/30/2023 ECO       FD      Review utilities info/e-mails with James          0.30    725.00           $217.50
                             O'Neill and Jason Rosell re inquiry from Duke
                             Energy/Piedmont Natural Gas.
08/30/2023 JEO       FD      Review open issues for second day hearing         3.50   1,275.00     $4,462.50
                             and hearing preparation for same
                                                                             123.80              $134,918.50

Financial Filings
08/16/2023 JEO       FF      Review status of matters pending with UST re      0.60   1,275.00          $765.00
                             reporting

08/16/2023 JEO       FF      Call with PWC and clients re schedules and        0.50   1,275.00          $637.50
                             statements

08/17/2023 ECO       FF      E-mails with James O'Neill/Brian Huffmann         0.20    725.00           $145.00
                             re information requested for initial debtor
                             interview.
08/17/2023 ECO       FF      Review and analysis of documents supplied by      0.50    725.00           $362.50
                             company/PwC for initial debtor interview.
08/17/2023 ECO       FF      Prepare e-mail to James O'Neill re comments       0.10    725.00            $72.50
                             on documents for UST for initial interview.
08/17/2023 ECO       FF      Review e-mail from David Velasquez re             0.10    725.00            $72.50
                             documents for UST request ahead of initial
                             interview.
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                                                                                Hours      Rate           Amount
08/17/2023 ECO       FF      Review additional documents supplied for            0.30    725.00           $217.50
                             initial debtor interview.

08/17/2023 ECO       FF      Prepare e-mail to James O'Neill re new              0.10    725.00            $72.50
                             documents for debtor interview/comments to
                             same.
08/17/2023 IDD       FF      Draft Notice of Hearing on Motion to Extend         0.60    545.00           $327.00
                             Time to File Schedules (.3); file same with the
                             Court (.2); arrange for service of same (.1)

08/17/2023 JEO       FF      Review initial debtor interview materials and       0.80   1,275.00     $1,020.00
                             submit to United States Trustee

08/23/2023 ECO       FF      Review company materials/prepare for initial        0.20    725.00           $145.00
                             debtor interview.

08/23/2023 ECO       FF      Attend initial debtor interview.                    0.90    725.00           $652.50
08/25/2023 JEO       FF      Call with PWC and Sherry Tan re prep for            0.50   1,275.00          $637.50
                             schedules and statements

08/25/2023 JEO       FF      Review draft of 341 notice and coordiante           0.80   1,275.00     $1,020.00
                             filing and service of same
08/30/2023 JEO       FF      Email correspondence with UST office                0.30   1,275.00          $382.50
                             regarding reporting requirements
08/30/2023 JEO       FF      Review UST reporting requirements/questions         0.90   1,275.00     $1,147.50
                             and respond to inquiry from Brian Huffman
                                                                                 7.40                $7,677.00

Financing/Cash Collateral/Cash Management
08/09/2023 DG        FN      Review communications related documents;            6.10   1,550.00     $9,455.00
                             work on DIP motion, budgets and cash
                             management filing (6.1).

08/09/2023 JE        FN      Review comments of lenders' counsel to DIP          3.40   1,450.00     $4,930.00
                             Motion and revise and distribute red-line of
                             same.
08/09/2023 JE        FN      Correspondence with Mr. Golden regarding            0.50   1,450.00          $725.00
                             revisions to First Day Declaration and
                             conform DIP Motion to same.

08/09/2023 JE        FN      Work on Fleming Declaration in support of           1.80   1,450.00     $2,610.00
                             DIP Motion.
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                                                                               Hours      Rate           Amount
08/09/2023 JE        FN      Post filing review and revise DIP motion per       1.20   1,450.00     $1,740.00
                             comments of and discussions with Mr. Litvak
                             and Mr. Nicas.
08/09/2023 JE        FN      Review revisions to credit agreement and           0.40   1,450.00          $580.00
                             conform DIP Motion to same.
08/09/2023 JE        FN      Make final revisions to and distribute DIP         0.30   1,450.00          $435.00
                             Motion to DIP Lender's counsel for sign off.
08/09/2023 JE        FN      Review miscellaneous correspondence                0.50   1,450.00          $725.00
                             regarding signature pages, pledges, security
                             documents and other schedules to credit
                             agreement and needed for closing to escrow.
08/09/2023 JE        FN      Correspondence with Mr. Fleming regarding          0.10   1,450.00          $145.00
                             status of budget.
08/09/2023 JE        FN      Correspondence with Mr. O’Neill regarding          0.20   1,450.00          $290.00
                             filing for DIP motion.
08/09/2023 JE        FN      Review comments of lenders to Fleming              1.10   1,450.00     $1,595.00
                             declaration, discuss same with Mr. Fleming
                             and revise declaration.

08/09/2023 JE        FN      Revise Fleming Declaration with comments           0.30   1,450.00          $435.00
                             from Ms. Grassgreen and Mr. Litvak.
08/09/2023 JE        FN      Review filed documents and conform DIP             0.40   1,450.00          $580.00
                             pleadings.
08/09/2023 JE        FN      Correspondence with Ms. Grassgreen                 0.40   1,450.00          $580.00
                             regarding budget issues and DIP documents.
08/09/2023 JE        FN      Call with Ms. Grassgreen, Mr. Fleming and          0.50   1,450.00          $725.00
                             Mr. O’Neill to go through affiliate cash usage
                             and Fleming Declaration.

08/09/2023 JE        FN      Various correspondence with Goodwin team           1.80   1,450.00     $2,610.00
                             and revisions to Fleming Declaration.

08/09/2023 JHR       FN      Call with PSZJ re: cash management motion          0.50    995.00           $497.50
08/09/2023 MBL       FN      Review and comment on revised DIP motion;          0.80   1,445.00     $1,156.00
                             emails with team and lender counsel re same.

08/09/2023 MBL       FN      Emails with lender counsel and team re             0.90   1,445.00     $1,300.50
                             revisions to DIP credit agreement; review
                             same and coordinate execution.
08/09/2023 MBL       FN      Review and finalize DIP declaration;               0.20   1,445.00          $289.00
                             coordinate with L. Beers and team re same.
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                                                                               Hours      Rate           Amount
08/09/2023 MBL       FN      Review schedules to DIP security agreement         0.50   1,445.00          $722.50
                             and coordinate with client and lender counsel
                             re same.
08/09/2023 MBL       FN      Call with D. Grassgreen re DIP credit              0.60   1,445.00          $867.00
                             agreement (0.1); follow-up emails with lender
                             counsel and team re final financing documents
                             and DIP pleadings (0.5).
08/09/2023 RMP       FN      Prepare for and participate on conference call     1.40   1,895.00     $2,653.00
                             re various DIP issues and follow-up with D.
                             Grassgreen re same.
08/09/2023 RMP       FN      Review collateral analysis and DIP issues.         0.60   1,895.00     $1,137.00
08/09/2023 RMP       FN      Review UST DIP issues and responses thereto.       0.20   1,895.00          $379.00
08/09/2023 TCF       FN      Review and analysis of DIP issues.                 0.40   1,075.00          $430.00
08/10/2023 DG        FN      Finalize DIP Motion and Order including            0.80   1,550.00     $1,240.00
                             incorporating final changes and comments

08/10/2023 DG        FN      Confer with J. O'Neill re: final dip credit        0.50   1,550.00          $775.00
                             agreement (.2); call with M. Litvak re: final
                             changes and redline (.2); review summary of
                             changes (.1)
08/10/2023 DG        FN      Call with Counsel for DSM re: DIP Motion           1.30   1,550.00     $2,015.00
                             (.6); draft summary email re: same (.2); call
                             with K. Novotny and D. Choi re: same (.4);
                             followup email with counsel for DSM (.1)
08/10/2023 DG        FN      Review and respond to numerous emails with         0.60   1,550.00          $930.00
                             counsel for Lavvan re: DIP Order comments
                             (.2); correspond with counsel for Foris re:
                             same (.1); review order (.3)
08/10/2023 DG        FN      Correspond with counsel in Brazil re:              0.20   1,550.00          $310.00
                             financing requirements for Brazil guaranties
08/10/2023 DG        FN      Review draft of consent for AFP intercompany       0.40   1,550.00          $620.00
                             note and edit same (.3); email to Fenwick team
                             re: same (.1)
08/10/2023 DG        FN      Correspond with M. Litvak re: Lavvan               0.10   1,550.00          $155.00
                             comments to DIP
08/10/2023 HCK       FN      Memos to / from J. Rosell, et al. re Lavvan        0.20   1,550.00          $310.00
                             escrow dispute.
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                                                                              Hours      Rate           Amount
08/10/2023 HCK       FN      Memos to / from D. Grassgreen re DSM              0.30   1,550.00          $465.00
                             response re DIP financing and adequate
                             protection.
08/10/2023 JE        FN      Review revised budgets and miscellaneous          0.80   1,450.00     $1,160.00
                             correspondence regarding same.
08/10/2023 JE        FN      Various correspondence with Goodwin team          2.40   1,450.00     $3,480.00
                             and revisions to DIP Order.
08/10/2023 JE        FN      Review and revise DIP Motion to conform to        0.80   1,450.00     $1,160.00
                             revised credit agreement, order and Beers and
                             Fleming Declarations.

08/10/2023 JE        FN      Correspondence with Mr. Golden regarding          0.20   1,450.00          $290.00
                             DIP order provisions on sale approval and
                             contemplated sale procedures motion.
08/10/2023 JE        FN      Review correspondence with Ms. Grassgreen         0.30   1,450.00          $435.00
                             and Mr. Goldstein regarding certain language
                             in cash management motion regarding
                             Brazilian non-debtor subsidiaries.
08/10/2023 JE        FN      Various correspondence between PSZJ team          0.50   1,450.00          $725.00
                             regarding first day hearings and related
                             preparation.

08/10/2023 JE        FN      Various correspondence with PSZJ and              0.90   1,450.00     $1,305.00
                             Goodwin teams regarding issues raised by
                             United States Trustee to Interim DIP Order
                             and resolution of same.

08/10/2023 JE        FN      Revise Interim DIP Order to address United        0.40   1,450.00          $580.00
                             States Trustee issues that had not been
                             previously addressed and distribute to
                             Goodwin and PSZJ teams.

08/10/2023 JE        FN      Prepare memo to United States Trustee to          1.10   1,450.00     $1,595.00
                             address issues raised regarding Interim DIP
                             Order and circulate draft and finalize memo.
08/10/2023 JE        FN      Call with Mr. Schanne regarding United States     0.10   1,450.00          $145.00
                             Trustee comments on DIP Order.
08/10/2023 JE        FN      Correspondence with Mr. O’Neill regarding         0.10   1,450.00          $145.00
                             response to United States Trustee re DIP.
08/10/2023 JE        FN      Prepare red-line order for hearing with           0.20   1,450.00          $290.00
                             revisions to filed version.
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                                                                                 Hours      Rate           Amount
08/10/2023 JE        FN      Review Notice of filing DIP Credit Agreement         0.30   1,450.00          $435.00
                             and revised order, and discuss same with Mr.
                             O’Neill and Ms. Grassgreen.
08/10/2023 JE        FN      Call with Mr. Litvak regarding credit                0.10   1,450.00          $145.00
                             agreement and schedules, and filing of
                             agreement without all schedules.
08/10/2023 JE        FN      Review analysis of prepetition collateral rights     0.30   1,450.00          $435.00
                             of Foris lenders.

08/10/2023 JE        FN      Correspondence with Ms. Grassgreen and Mr.           0.20   1,450.00          $290.00
                             Litvak regarding Lavvan comments on DIP
                             Order.
08/10/2023 JHR       FN      Call with S. Golden re: surety bonds                 0.30    995.00           $298.50
08/10/2023 MBL       FN      Calls with team re hearing prep and DIP              0.50   1,445.00          $722.50
                             issues.
08/10/2023 MBL       FN      Emails with team and lender counsel re UST           0.30   1,445.00          $433.50
                             issues with DIP; revisions to DIP order.
08/10/2023 MBL       FN      Emails with team re hearing prep issues and          0.30   1,445.00          $433.50
                             status.
08/10/2023 MBL       FN      Prep for hearing on DIP motion; draft outline.       1.00   1,445.00     $1,445.00
08/10/2023 MBL       FN      Analyze prepetition security documents and           1.80   1,445.00     $2,601.00
                             UCC filings; emails with team re same.
08/10/2023 MBL       FN      Draft DIP advance request and officer cert           0.90   1,445.00     $1,300.50
                             (0.5); emails with lender counsel re same
                             (0.2); review and incorporate lender revisions
                             to advance request and cert (0.2).
08/10/2023 MBL       FN      Review final edits to DIP loan agreement.            0.10   1,445.00          $144.50
08/10/2023 MBL       FN      Review first day filings re DIP financing            0.30   1,445.00          $433.50
                             issues.
08/10/2023 MBL       FN      Call with Lavvan counsel re interim DIP order        0.80   1,445.00     $1,156.00
                             (0.3); emails with team, lender counsel, and
                             client re same (0.3); review UCC filing and
                             subordination agreement (0.2).
08/10/2023 MBL       FN      Emails with Lavvan counsel and team re DIP           0.30   1,445.00          $433.50
                             milestone issues.

08/10/2023 PJJ       FN      Prepare for and file Notice of DIP Hearing and       0.50    545.00           $272.50
                             Amended Interim DIP Order.
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                                                                               Hours      Rate           Amount
08/10/2023 RMP       FN      Review Lavvan security issues and telephone        0.60   1,895.00     $1,137.00
                             conference with D. Grassgreen and review and
                             respond to e-mails re same.
08/10/2023 RMP       FN      Review and respond to e-mails re outstanding       0.30   1,895.00          $568.50
                             DIP issues.
08/11/2023 JE        FN      Correspondence with Ms. Grassgreen, Mr.            0.30   1,450.00          $435.00
                             Silberglied and Mr. Goldstein regarding
                             Lavvan comments on DIP Order.

08/11/2023 JE        FN      Finalize file-ready Interim DIP Order and          0.50   1,450.00          $725.00
                             related documents for funding of Interim DIP.

08/11/2023 JE        FN      Review various notes and security documents        0.50   1,450.00          $725.00
                             needed for funding.

08/11/2023 JHR       FN      Call with M. Litvak re: non-debtor funding         0.30    995.00           $298.50
08/11/2023 MBL       FN      Emails with Lavvan counsel, lender counsel,        0.20   1,445.00          $289.00
                             and team re DIP issues.

08/11/2023 MBL       FN      Emails with team and client re interim DIP         0.30   1,445.00          $433.50
                             order after hearing.
08/11/2023 MBL       FN      Call with lender counsel and D. Grassgreen re      0.60   1,445.00          $867.00
                             interco note and related issues.
08/11/2023 MBL       FN      Review Lavvan contracts in connection with         0.20   1,445.00          $289.00
                             DIP.
08/11/2023 MBL       FN      Revise and update advance request re DIP           0.60   1,445.00          $867.00
                             loan (0.3); emails with lender counsel and
                             client re same (0.3).

08/11/2023 MBL       FN      Emails with Brazil counsel and D. Grassgreen       0.10   1,445.00          $144.50
                             re foreign debt and security issues.

08/11/2023 MBL       FN      Review form of interco note; coordinate same       0.20   1,445.00          $289.00
                             with client.

08/11/2023 SWG       FN      Call with counsel to JP Morgan Chase re: cash      0.30    895.00           $268.50
                             management.
08/12/2023 JHR       FN      Analyze intercompany note and related              0.50    995.00           $497.50
                             correspondence with client
08/12/2023 MBL       FN      Emails with client and lender counsel re           0.20   1,445.00          $289.00
                             interco note; review lender revisions to note.
08/12/2023 MBL       FN      Review comments from Brazil counsel re             0.20   1,445.00          $289.00
                             interco note; emails with lender counsel and
                             client re same.
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                                                                                Hours      Rate           Amount
08/14/2023 DG        FN      Correspond with M. Goldstein re: Barra              0.10   1,550.00          $155.00
                             Bonita financing

08/14/2023 DG        FN      Call with M. Litvak, PWC team and internal          0.50   1,550.00          $775.00
                             Amyris Accounting team re: accounting for
                             intercompany transactions.
08/14/2023 DG        FN      Review and analyze BR law firm summary of           0.20   1,550.00          $310.00
                             foreign security documents for Brazil
08/14/2023 ECO       FN      Prepare notice of final hearing on DIP              0.20    725.00           $145.00
                             financing motion.
08/14/2023 JE        FN      Correspondence with Mr. Nicas regarding             0.20   1,450.00          $290.00
                             final DIP Order.
08/14/2023 JE        FN      Review correspondence regarding funding of          0.20   1,450.00          $290.00
                             interim draw and related documents.
08/14/2023 JHR       FN      Analyze BMO call option termination                 0.40    995.00           $398.00
08/14/2023 MBL       FN      Coordinate with lender counsel and client re        0.20   1,445.00          $289.00
                             initial DIP funding and final DIP order.
08/14/2023 MBL       FN      Call with client and PwC re interco note            0.40   1,445.00          $578.00
                             issues.

08/14/2023 MBL       FN      Review DIP lender UCC financing statements          0.40   1,445.00          $578.00
                             (0.2); emails with client and lender counsel re
                             same (0.2).
08/15/2023 DG        FN      Review draft intercompany note (.4); email          0.50   1,550.00          $775.00
                             with counsel in Brazil re: same (.1)
08/15/2023 MBL       FN      Emails with lender counsel re UCC filings and       0.40   1,445.00          $578.00
                             executed advance request (0.2); draft second
                             advance request (0.2).

08/15/2023 MBL       FN      Follow-up with PwC re interco note.                 0.10   1,445.00          $144.50
08/15/2023 MBL       FN      Address lender inquiry re Leland, NC                0.20   1,445.00          $289.00
                             property; review documents from client.

08/16/2023 JE        FN      Review revised budget information and data          0.30   1,450.00          $435.00
                             about possible additional debtors.
08/16/2023 MBL       FN      Attention to lender DC UCC filings.                 0.10   1,445.00          $144.50
08/16/2023 MBL       FN      Review additional posted loan documents.            0.50   1,445.00          $722.50
08/16/2023 MBL       FN      Call with J. Rosell re additional debtor filing     0.40   1,445.00          $578.00
                             (0.1); emails with team and lender counsel re
                             same and review applicable budget (0.3).
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                                                                               Hours      Rate           Amount
08/17/2023 DG        FN      Review intercompany note (BR) and emails to        0.30   1,550.00          $465.00
                             D. Choi and Brazil counsel re: same.

08/17/2023 JHR       FN      Correspondence with Goodwin and CBC re:            0.30    995.00           $298.50
                             DIP loan

08/17/2023 MBL       FN      Emails with client and Brazil counsel re           0.30   1,445.00          $433.50
                             intercompany note; review same.

08/18/2023 MBL       FN      Review interco notes with Brazilian entities;      0.60   1,445.00          $867.00
                             emails with client and team re same.

08/18/2023 MBL       FN      Further emails with client and team re interco     0.40   1,445.00          $578.00
                             note issues; revise form of schedule thereto.
08/20/2023 JE        FN      Review correspondence between Mr. Golden           0.20   1,450.00          $290.00
                             and Mr. Nicas and correspondence with Mr.
                             Golden regarding final DIP Order.
08/21/2023 HCK       FN      Review Lavvan documents from M. Litvak             0.90   1,550.00     $1,395.00
                             and security agreement and collaboration
                             agreement.
08/21/2023 HCK       FN      Memos to / from D. Grassgreen re Lavvan            0.60   1,550.00          $930.00
                             analysis.
08/21/2023 MBL       FN      Emails with team and lender counsel re interco     0.30   1,445.00          $433.50
                             notes and new debtor loans.
08/21/2023 RMP       FN      Prepare for and participate on conference call     1.00   1,895.00     $1,895.00
                             re Lavvan issues with Amyris and D.
                             Grassgreen.

08/22/2023 DG        FN      Call with R. Silbergleid re: Lavvan claims.        0.30   1,550.00          $465.00
08/22/2023 DG        FN      Confer with O. Wright re: Lavvan claims and        0.20   1,550.00          $310.00
                             key documents.

08/22/2023 DG        FN      Review and analyze Lavvan security and             1.30   1,550.00     $2,015.00
                             subordianton documents (1.1); emails with A.
                             Nicas (.1); and H. Kevane (.1) re: same.
08/22/2023 DG        FN      Review and respond to emails from Diego at         0.20   1,550.00          $310.00
                             Veraihno re: intercompany loan documents
                             and liens.

08/22/2023 JHR       FN      Revise DIP order insert for new subsidiaries       0.40    995.00           $398.00
08/22/2023 MBL       FN      Emails with team and lender counsel re             0.20   1,445.00          $289.00
                             joinders and interco notes.

08/22/2023 RMP       FN      Review waterfall analysis and review and           0.50   1,895.00          $947.50
                             respond to e-mails re additional claims.
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                                                                                Hours      Rate           Amount
08/23/2023 JHR       FN      Correspondence with PayPal re: cash                 0.10    995.00            $99.50
                             management motion

08/23/2023 MBL       FN      Emails with client and team re DIP reporting        0.20   1,445.00          $289.00
                             issues and interco notes.

08/24/2023 MBL       FN      Emails with client regarding additional             0.40   1,445.00          $578.00
                             interco notes and DIP reporting obligations;
                             review DIP credit agreement.
08/24/2023 MBL       FN      Emails with team regarding Lavvan issues.           0.10   1,445.00          $144.50
08/25/2023 DG        FN      Review DSM proposed adequate protection             0.30   1,550.00          $465.00
                             stipulation.
08/26/2023 MBL       FN      Review proposed adequate protection                 0.50   1,445.00          $722.50
                             stipulation from DSM (0.4); emails with team
                             regarding same (0.1).

08/27/2023 MBL       FN      Emails with PwC and client regarding interco        0.10   1,445.00          $144.50
                             loan issues.

08/28/2023 DG        FN      Review security documents for Lavvan (.4);          0.50   1,550.00          $775.00
                             emails with H. Kevane re: same (.1).
08/28/2023 HCK       FN      Further review Lavvan BCLA/security                 0.60   1,550.00          $930.00
                             agreement based on discussions with D.
                             Grassgreen.
08/28/2023 HCK       FN      Review draft of DSM adequate protection             0.70   1,550.00     $1,085.00
                             stipulation from D. Grassgreen and interim
                             DIP order.
08/28/2023 HCK       FN      Memos to/from D. Grassgreen re Lauran               0.50   1,550.00          $775.00
                             security interest and subordination and analyze
                             agreement.
08/28/2023 HCK       FN      Memos to/from D. Grassgreen re scope of             0.40   1,550.00          $620.00
                             Lavvan collateral grant.

08/28/2023 HCK       FN      Conference call with O. Wright, M. Celio, D         1.00   1,550.00     $1,550.00
                             Choi, D. Grassgreen and R. Pachulski re
                             Lavvan litigation.
08/28/2023 MBL       FN      Revise second advance request under DIP             0.20   1,445.00          $289.00
                             facility (0.1); emails with team, lender
                             counsel, and PwC regarding same (0.1).

08/28/2023 MBL       FN      Emails with team and lender counsel                 0.20   1,445.00          $289.00
                             regarding Lavvan, DSM, and committee
                             issues.
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                                                                                   Hours      Rate           Amount
08/28/2023 RMP       FN      Conference call with Gibson, D. Grassgreen             1.30   1,895.00     $2,463.50
                             and client re Lavvan issues.

08/28/2023 RMP       FN      Review and respond to Lavvan-related e-                0.30   1,895.00          $568.50
                             mails.

08/28/2023 RMP       FN      Review adequate protection DSM issues and              0.60   1,895.00     $1,137.00
                             telephone conferences with D. Grassgreen re
                             same.
08/28/2023 RMP       FN      Review Amyris Lavvan statement re                      1.20   1,895.00     $2,274.00
                             arbitration.
08/29/2023 DG        FN      Call with counsel for DSM re: adequate                 0.50   1,550.00          $775.00
                             protection stipulation, letter re: contract issues
                             and claims.

08/29/2023 DG        FN      Call with Counsel for Foris re: DIP Loan and           1.70   1,550.00     $2,635.00
                             Adequate Protection Issues.

08/29/2023 HCK       FN      Memos to/from D. Grassgreen re Lavvan                  0.40   1,550.00          $620.00
                             analysis and junior lien.
08/29/2023 HCK       FN      Conference call with M. Goldstein, R.                  1.30   1,550.00     $2,015.00
                             Pachulski, D. Grassgreen, A. Nicas et al. re
                             Lavvan strategy.
08/29/2023 HCK       FN      Conference call with M. Goldstein, A. Nicas,           0.50   1,550.00          $775.00
                             D. Grassgreen and M. Litvak re DSM
                             adequate protection stipulation.
08/29/2023 HCK       FN      Confer with M. Litvak re Lavvan interim DIP            0.20   1,550.00          $310.00
                             order provisions.
08/29/2023 HCK       FN      Confer with M. Litvak re DSM adequate                  0.30   1,550.00          $465.00
                             protection stipulation.
08/29/2023 HCK       FN      Memos to/from D. Grassgreen re DSM draft               0.60   1,550.00          $930.00
                             of adequate protection stipulation and
                             revisions to same.

08/29/2023 HCK       FN      Review Lavvan statement of claims and                  1.20   1,550.00     $1,860.00
                             defenses from O. Wright.

08/29/2023 HCK       FN      Further confer with M. Litvak re DSM                   0.10   1,550.00          $155.00
                             adequate protection.

08/29/2023 HCK       FN      Memos to/from M. Litvak re DSM adequate                0.10   1,550.00          $155.00
                             protection stipulation.
08/29/2023 HCK       FN      Further review Lavvan security agreement and           0.70   1,550.00     $1,085.00
                             subordination agreement.
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                                                                                  Hours      Rate           Amount
08/29/2023 HCK       FN      Confer with M. Litvak re effect of Lavvan             0.20   1,550.00          $310.00
                             subordination agreement.

08/29/2023 HCK       FN      Conference call with DSM counsel (J. Ktsanes          0.50   1,550.00          $775.00
                             et al.) and D. Grassgreen, R. Pachulski et al. re
                             adequate protection stipulation, other matters.
08/29/2023 HCK       FN      Numerous follow up memos with D.                      0.80   1,550.00     $1,240.00
                             Grassgreen re DSM adequate protection and
                             8/25 letter reply.

08/29/2023 HCK       FN      Edit draft of DSM adequate protection                 0.10   1,550.00          $155.00
                             stipulation.

08/29/2023 JHR       FN      Analyze correspondence re: adequate                   1.00    995.00           $995.00
                             protection.

08/29/2023 MBL       FN      Emails with team, lender counsel, and PwC re          0.40   1,445.00          $578.00
                             second advance request and pending Brazilian
                             security documents and interco notes.
08/29/2023 MBL       FN      Call with lender counsel and team regarding           1.70   1,445.00     $2,456.50
                             Lavvan and DSM issues.
08/29/2023 MBL       FN      Conference with H. Kevane (0.2) and emails            0.80   1,445.00     $1,156.00
                             with team regarding DSM stipulation (0.2);
                             review same (0.4).
08/29/2023 MBL       FN      Review additional interco notes.                      0.20   1,445.00          $289.00
08/29/2023 MBL       FN      Call with DSM counsel and team regarding              0.50   1,445.00          $722.50
                             settlement status and adequate protection.
08/29/2023 RMP       FN      Conference call with Foris counsel re DIP and         1.70   1,895.00     $3,221.50
                             related issues.
08/29/2023 SWG       FN      Participate in call with counsel to DIP Lender        1.40    895.00      $1,253.00
                             re: various DIP issues
08/30/2023 HCK       FN      Review/edit DSM draft of adequate protection          0.80   1,550.00     $1,240.00
                             stipulation and prepare markup.
08/30/2023 HCK       FN      Various follow up with D. Grassgreen and M.           0.60   1,550.00          $930.00
                             Goldstein et al. re term sheet developments
                             and changes.

08/30/2023 HCK       FN      Draft, revise markup to DSM adequate                  1.20   1,550.00     $1,860.00
                             protection stipulation and circulate to D.
                             Grassgreen et al.
08/30/2023 HCK       FN      Memos to/from D. Grassgreen and M.                    0.10   1,550.00          $155.00
                             Goldstein re Foris update.
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                                                                                Hours      Rate           Amount
08/30/2023 HCK       FN      Conference call with Foris counsel and              1.00   1,550.00     $1,550.00
                             advisors re various case developments, tasks
                             and deadlines.
08/30/2023 HCK       FN      Review Lavvan subordination documents and           0.80   1,550.00     $1,240.00
                             draft letter from A. Nicas.
08/30/2023 HCK       FN      Memos to/from D. Grassgreen and O. Wright           0.20   1,550.00          $310.00
                             re Lavvan letter.
08/30/2023 HCK       FN      Memos to/from D. Grassgreen and D. Choi re          0.40   1,550.00          $620.00
                             comments to markup to DSM adequate
                             protection stipulation.

08/30/2023 HCK       FN      Memos to/from D. Grassgreen and O. Wright           0.30   1,550.00          $465.00
                             re Lavvan analysis and Foris demand.

08/30/2023 HCK       FN      Conference call with D. Grassgreen, M.              0.70   1,550.00     $1,085.00
                             Goldstein and A. Nicas re various matters
                             (Lavvan and final DIP hearing).
08/30/2023 JHR       FN      Analyze draft Lavvan subordination                  0.40    995.00           $398.00
                             agreement.
08/30/2023 MBL       FN      Review and comment on revised consumer              0.50   1,445.00          $722.50
                             brand APA (0.3); emails with team regarding
                             same (0.2).
08/30/2023 RMP       FN      Review Lavvan documents and                         0.60   1,895.00     $1,137.00
                             correspondence to Lavvan and e-mails re
                             same.
08/31/2023 DG        FN      Review Lavvan Objection to DIP Motion.              0.70   1,550.00     $1,085.00
08/31/2023 DG        FN      Call with M. Goldstein and A. Nicas re: prep        0.40   1,550.00          $620.00
                             for call with Lavvan counsel.
08/31/2023 DG        FN      Call with Committee Professionals and PWC           1.00   1,550.00     $1,550.00
                             re: DIP Budget.

08/31/2023 DG        FN      Call with Oksana Wright, Doris Choi and H.          0.40   1,550.00          $620.00
                             Kevane re: Lavvan security interest.

08/31/2023 DG        FN      Call with J. Kstanes re: adequate protection        0.50   1,550.00          $775.00
                             stipulation (.4); correspond with H. Kevane re:
                             same (.1); review revised stipulation including
                             comments from Fenwick (.3).

08/31/2023 DG        FN      Call with FTI, PWC, W&C and PSZJ re: DIP            1.00   1,550.00     $1,550.00
                             Model and Cash Management flow of funds.
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                                                                                Hours      Rate           Amount
08/31/2023 DG        FN      Call with M. Litvak and H. Kevane re: DIP           0.60   1,550.00          $930.00
                             Order (.3); call with Alex Nicas, M. Goldstein,
                             M. Litvak and H. Kevane re: language in DIP
                             Order (.3).
08/31/2023 HCK       FN      Numerous follow up with O. Wright, et al. re        0.30   1,550.00          $465.00
                             Lavvan subordination demand from Foris.
08/31/2023 HCK       FN      Follow up with A. Nicas and D. Grassgreen re        0.50   1,550.00          $775.00
                             final DIP order and Lavvan insert and review
                             redline.
08/31/2023 HCK       FN      Memos to/from A. Nicas and D. Grassgreen re         0.20   1,550.00          $310.00
                             Lavvan subordination demand.
08/31/2023 HCK       FN      Memos to/from D. Choi et al. re comments to         0.20   1,550.00          $310.00
                             DSM adequate protection stipulation.
08/31/2023 HCK       FN      Confer with M. Litvak and D. Grassgreen re          0.60   1,550.00          $930.00
                             Lavvan subordination and DIP loan issues.
08/31/2023 HCK       FN      Conference call with M. Goldstein, A. Nicas,        0.40   1,550.00          $620.00
                             D. Grassgreen and M. Litvak re draft final DIP
                             order.

08/31/2023 HCK       FN      Memos to/from O. Wright and D. Grassgreen           0.40   1,550.00          $620.00
                             et al. re Lavvan subordination demand from
                             Foris.
08/31/2023 HCK       FN      Review D. Choi markup to DSM adequate               0.60   1,550.00          $930.00
                             protection stipulation and further revise/edit
                             draft.

08/31/2023 HCK       FN      Memos to/from D. Choi, et al. re revised            0.20   1,550.00          $310.00
                             version of DSM adequate protection
                             stipulation.
08/31/2023 HCK       FN      Review M. Goldstein letter re Lavvan                0.30   1,550.00          $465.00
                             subordination demand and attachments.
08/31/2023 HCK       FN      Follow up with D. Grassgreen re DSM                 0.30   1,550.00          $465.00
                             adequate protection stipulation and further
                             revise same.
08/31/2023 HCK       FN      Memos to/from M. Goldstein, et al. re markup        0.20   1,550.00          $310.00
                             to DSM adequate protection stipulation.
08/31/2023 HCK       FN      Conference call with D. Choi, O. Wright and         0.30   1,550.00          $465.00
                             D. Grassgreen re Lavvan demand from Foris.
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                                                                               Hours      Rate           Amount
08/31/2023 HCK       FN      Memos to/from D. Michaels and D. Choi re           0.30   1,550.00          $465.00
                             comments to DSM adequate protection
                             stipulation.
08/31/2023 HCK       FN      Review Lavvan filed DIP objection.                 0.20   1,550.00          $310.00
08/31/2023 HCK       FN      Discuss Lavvan DIP objection with M. Litvak.       0.10   1,550.00          $155.00
08/31/2023 JEO       FN      Review Lavvan Objection to DIP Financing           2.00   1,275.00     $2,550.00
08/31/2023 JEO       FN      Review email correspondence from PayPal's          0.40   1,275.00          $510.00
                             counsel re changes to cash management order
08/31/2023 JHR       FN      Analyze Lavvan issues.                             0.90    995.00           $895.50
08/31/2023 MBL       FN      Confer with team regarding Lavvan and DIP          1.10   1,445.00     $1,589.50
                             order issues (0.6); call with lender counsel
                             regarding same (0.5).

08/31/2023 MBL       FN      Review and comment on revisions to DSM             0.30   1,445.00          $433.50
                             adequate protection stipulation.

08/31/2023 MBL       FN      Review correspondence with Lavvan and              0.30   1,445.00          $433.50
                             demand from Foris regarding same.

08/31/2023 MBL       FN      Call with committee professionals, PwC, and        0.50   1,445.00          $722.50
                             team regarding DIP and budget issues (in
                             part).
08/31/2023 MBL       FN      Review DIP objection filed by Lavvan (0.3);        0.50   1,445.00          $722.50
                             follow-up emails with team and lender counsel
                             regarding same (0.2).

08/31/2023 RMP       FN      Conference call with Foris, CR3 and PSZJ re        1.20   1,895.00     $2,274.00
                             weekly lender update.
08/31/2023 RMP       FN      Review and respond to e-mails re Lavvan DIP        0.60   1,895.00     $1,137.00
                             issues.
08/31/2023 RMP       FN      Review and respond to e-mails re DSM               0.30   1,895.00          $568.50
                             adequate protection issues.
08/31/2023 SWG       FN      Participate in DIP call with UCC professionals     0.80    895.00           $716.00
                                                                              116.80              $174,338.00

General Creditors' Committee
08/16/2023 JEO       GC      Call with creditors' counsel re committee          0.50   1,275.00          $637.50
                             issues
08/23/2023 JEO       GC      Emails with PSZJ team regarding status of          0.60   1,275.00          $765.00
                             committee formation
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                                                                                 Hours      Rate           Amount
08/25/2023 JEO       GC      Review issues related to creditors committee         0.80   1,275.00     $1,020.00
08/28/2023 DG        GC      Introductory call with Committee Counsel, S.         0.90   1,550.00     $1,395.00
                             Golden, R. Pachulski and J. Rosell.

08/28/2023 JHR       GC      Kickoff call with committee counsel.                 0.90    995.00           $895.50
08/28/2023 RMP       GC      Prepare for and participate on Committee             0.90   1,895.00     $1,705.50
                             introductory call.

08/28/2023 SWG       GC      Participate in kick-off call with Committee          0.90    895.00           $805.50
08/31/2023 AJK       GC      Call with Committee professionals.                   1.20   1,675.00     $2,010.00
08/31/2023 DG        GC      Introductory call with Committee                     1.20   1,550.00     $1,860.00
                             Professionals re: overall case issues and
                             workstreams.
08/31/2023 DG        GC      Pre-call with Debtor professionals in advance        0.50   1,550.00          $775.00
                             of committee call.
08/31/2023 JHR       GC      Attend committee precall.                            0.50    995.00           $497.50
08/31/2023 JHR       GC      Attend committee kickoff call.                       1.20    995.00      $1,194.00
08/31/2023 SWG       GC      Participate in pre-Committee call with Debtor        0.50    895.00           $447.50
                             team
08/31/2023 SWG       GC      Participate in call with Committee                   1.20    895.00      $1,074.00
                             professionals
08/31/2023 SWG       GC      Participate in post-Committee call with Debtor       0.50    895.00           $447.50
                             professionals
08/31/2023 SWG       GC      Call with UCC counsel re: confidentiality            0.50    895.00           $447.50
                                                                                 12.80               $15,977.00

Hearings
08/02/2023 JHR       HE      Attend 8/1 hearing (afternoon partial)               1.10    995.00      $1,094.50
08/09/2023 RMP       HE      Prepare for first day hearing.                       1.40   1,895.00     $2,653.00
08/09/2023 RMP       HE      Prepare for and participate on client                1.30   1,895.00     $2,463.50
                             conference cal re 8/11 hearing.

08/10/2023 RMP       HE      Prepare for first day hearings.                      3.20   1,895.00     $6,064.00
08/11/2023 JE        HE      Attend First Day hearings.                           1.50   1,450.00     $2,175.00
08/11/2023 JEO       HE      Attend and participate in first day hearing          1.50   1,275.00     $1,912.50
08/11/2023 JHR       HE      Attend first day hearing                             1.70    995.00      $1,691.50
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08/11/2023 MBL       HE      Prep for first day hearing on DIP motion.             0.50   1,445.00          $722.50
08/11/2023 MBL       HE      Attend first day hearing (via Zoom); handle           1.60   1,445.00     $2,312.00
                             DIP motion.

08/11/2023 RMP       HE      Prepare for and participate on first day              2.60   1,895.00     $4,927.00
                             hearings.

08/11/2023 SWG       HE      Prepare for first day hearing                         1.50    895.00      $1,342.50
08/11/2023 SWG       HE      Participate in first day hearing                      1.50    895.00      $1,342.50
08/22/2023 JHR       HE      Prepare for 8/23 hearing                              1.60    995.00      $1,592.00
08/23/2023 JEO       HE      Prepare for and attend first day hearing for          1.50   1,275.00     $1,912.50
                             Additional Debtors

08/23/2023 JHR       HE      Call with J. O'Neill re: 8/23 hearing                 0.30    995.00           $298.50
08/23/2023 JHR       HE      Prepare for and attending 8/23 hearing                0.50    995.00           $497.50
                                                                                  23.30               $33,001.00

Insurance Issues
08/09/2023 ECO       II      E-mails with Jason Rosell re first edits for          0.10    725.00            $72.50
                             filing comments to insurance motion.

08/09/2023 ECO       II      Prepare e-mail to Eva Elmore re question on           0.10    725.00            $72.50
                             insurance policies for first day motion.
08/11/2023 ECO       II      Review and revise proposed interim order re           0.10    725.00            $72.50
                             insurance and forward to Jason Rosell/James
                             O'Neill.
08/11/2023 ECO       II      E-mails with Jason Rosell/Sandra Moreno re            0.20    725.00           $145.00
                             insurance inquiries.
08/11/2023 IDD       II      File amended agenda for first day hearing on          0.30    545.00           $163.50
                             8/11/2023 (.2); arrange for service of same on
                             required parties (.1)
08/14/2023 ECO       II      E-mails with Jason Rosell/Alejandro Gusis re          0.20    725.00           $145.00
                             issues with insurance coverage at certain
                             locations.

08/21/2023 JEO       II      Email with client Alejandro Gusis regarding           0.50   1,275.00          $637.50
                             insurance issues

08/28/2023 JEO       II      Emails with Chubb re insurance requirements           0.80   1,275.00     $1,020.00
                             for UST
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                                                                                  Hours      Rate           Amount
08/30/2023 JEO       II      Review issues related to insurance certificates       1.00   1,275.00     $1,275.00
                             for UST office and call with Chubb re same

                                                                                   3.30                $3,603.50

Litigation (Non-Bankruptcy)
08/14/2023 BDD       LN      Emails to/call with S. Lee re Suggestion of           0.20    545.00           $109.00
                             Bankruptcy to be filed in state court (.10) and
                             email H. Phan re same (.10)
08/14/2023 DG        LN      Call with Oksanna Wright and R. Pachulski re:         0.60   1,550.00          $930.00
                             Lavvan arbitration (.5); email to ICC Tribunal
                             re: same (.1)

08/14/2023 DG        LN      Review and respond to emails from J. Rosell           0.20   1,550.00          $310.00
                             and D. Choi re: antitrust claims

08/14/2023 RMP       LN      Prepare for and participate on conference call        0.80   1,895.00     $1,516.00
                             re outstanding litigation and review e-mail re
                             litigation issues.
08/15/2023 AJK       LN      Attention to letter re litigation from KTBS.          0.20   1,675.00          $335.00
08/15/2023 PJJ       LN      Prepare litigation stay notices (2.0); coordinate     2.50    545.00      $1,362.50
                             filing with service provider (.5).
                                                                                   4.50                $4,562.50

Meetings of and Communications with Creditors
08/22/2023 JEO       MC      Review initial debtor interview materials             0.90   1,275.00     $1,147.50
08/23/2023 JEO       MC      Prepare for and attend initial debtor interview       1.00   1,275.00     $1,275.00
                             with UST.
08/23/2023 PJJ       MC      Draft notice of commencement and 341.                 1.00    545.00           $545.00
08/25/2023 PJJ       MC      Revise 341 notice.                                    0.10    545.00            $54.50
                                                                                   3.00                $3,022.00

Non-Working Travel
08/23/2023 DG        NT      Travel to meeting (billed at 1/2 rate)                2.00    775.00      $1,550.00
08/23/2023 RMP       NT      Travel to SF for meetings (billed at 1/2 rate)        2.40    947.50      $2,274.00
08/24/2023 DG        NT      Return from meeting (billed at 1/2 rate)              2.00    775.00      $1,550.00
08/24/2023 RMP       NT      Return from Amyris meetings (billed at 1/2            2.90    947.50      $2,747.75
                             rate)
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                                                                                9.30                $8,121.75

Plan and Disclosure Statement
08/11/2023 RMP       PD      Review Foris strategic questions and               0.70   1,895.00     $1,326.50
                             telephone conferences with S. Fleming and D.
                             Grassgreen re same.
08/14/2023 JJK       PD      Review/research plan issues                        3.00   1,175.00     $3,525.00
08/14/2023 SWG       PD      Begin drafting form of solicitation procedures     0.50    895.00           $447.50
                             motion.
08/15/2023 JJK       PD      Review plan issues; prepare plan draft.            2.80   1,175.00     $3,290.00
08/15/2023 RMP       PD      Review and respond to e-mails re Foris rep.        0.40   1,895.00          $758.00
08/16/2023 JHR       PD      Revise reply to supplemental disclosure            1.70    995.00      $1,691.50
                             statement objection
08/17/2023 JHR       PD      Conference call with Foris and PwC re:             1.00    995.00           $995.00
                             strategic options
08/17/2023 JJK       PD      Work on plan matters.                              2.00   1,175.00     $2,350.00
08/17/2023 RMP       PD      Telephone conference with Goldstein re 8/18        0.40   1,895.00          $758.00
                             Foris call.
08/17/2023 RMP       PD      Prepare for and participate on Foris'              1.00   1,895.00     $1,895.00
                             professionals conference call.
08/17/2023 RMP       PD      Telephone conferences with D. Choi and S.          1.30   1,895.00     $2,463.50
                             Fleming re preparation for Foris/Amyris
                             business call.
08/18/2023 JHR       PD      Conference call with Foris                         0.90    995.00           $895.50
08/18/2023 JJK       PD      Work on draft plan.                                2.80   1,175.00     $3,290.00
08/18/2023 JJK       PD      Review UCC comments on Plan Supplement             0.30   1,175.00          $352.50
                             docs.
08/19/2023 RMP       PD      Conference call with Goodwin, CR3, PSZJ            1.20   1,895.00     $2,274.00
                             and PWC re different plan alternatives.
08/20/2023 MSP       PD      Email exchange with R. Pachulski, D.               0.20   1,295.00          $259.00
                             Grassgreen, J. Kim regarding discussion of
                             Plan terms.

08/21/2023 HCK       PD      Confer with J. Rosell re restructuring plan        0.10   1,550.00          $155.00
                             discussion.

08/21/2023 JJK       PD      Work on draft plan and consider plan issues.       2.80   1,175.00     $3,290.00
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                                                                               Hours      Rate           Amount
08/21/2023 MSP       PD      Begin work on disclosure statement draft           4.10   1,295.00     $5,309.50
                             (4.00); email exchange with R. Pachulski, D.
                             Grassgreen, J. Kim, P. Jeffries regarding same
                             (.10).
08/21/2023 RMP       PD      Review and analyze different plan alternative      1.60   1,895.00     $3,032.00
                             presentation.
08/22/2023 DG        PD      Review and comment on waterfall analysis.          0.40   1,550.00          $620.00
08/22/2023 DG        PD      Review CR3 Business Plan questions.                0.30   1,550.00          $465.00
08/22/2023 DG        PD      Call with S. Fleming, CR3 Team, Amyris             1.30   1,550.00     $2,015.00
                             Finance, PSZJ and Goodwin re: Scenario
                             Analysis and prep for meetings.
08/22/2023 DG        PD      Call with M. Goldstein and R. Pachulski re:        0.50   1,550.00          $775.00
                             meeting to discuss plan analysis.
08/22/2023 DG        PD      Call with R. Pachulski, J. Rosell, S. Fleming      1.00   1,550.00     $1,550.00
                             re: Scenario Analysis for Foris.
08/22/2023 MSP       PD      Continue work on disclosure statement draft.       3.90   1,295.00     $5,050.50
08/22/2023 RMP       PD      Prepare for and participate on plan                0.80   1,895.00     $1,516.00
                             alternatives.
08/22/2023 RMP       PD      Conference call with D. Grassgreen, M.             1.30   1,895.00     $2,463.50
                             Goldstein and S. Fleming re general plan
                             analysis.

08/22/2023 RMP       PD      Review and consider M. Goldstein's questions       0.60   1,895.00     $1,137.00
                             to plan alternatives.
08/22/2023 RMP       PD      Review updated Disclosure Statement.               0.30   1,895.00          $568.50
08/22/2023 RMP       PD      All-hands conference call re review plan           1.90   1,895.00     $3,600.50
                             alternatives.
08/23/2023 DG        PD      Meetings in SF to review and work through          6.60   1,550.00    $10,230.00
                             materials for plan meeting
08/23/2023 JJK       PD      Work on draft plan and review plan issues;         2.00   1,175.00     $2,350.00
                             email plan issues to Pachculski, Grassgreen.
08/23/2023 MSP       PD      Email exchange with D. Grassgreen, J. Kim,         0.20   1,295.00          $259.00
                             et al. regarding Plan discussion.
08/23/2023 RMP       PD      Prepare for 8/24 meeting and attend pre-           6.10   1,895.00    $11,559.50
                             meeting with S. Fleming and D. Grassgreen
                             and then with M. Goldstein, A. Nicas, D.
                             Grassgreen and S. Fleming re 8/24 meeting.
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                                                                               Hours      Rate           Amount
08/23/2023 RMP       PD      Conference call re waterfall issues.               0.90   1,895.00     $1,705.50
08/24/2023 DG        PD      All day meetings with clients and Plan            12.00   1,550.00    $18,600.00
                             Sponsor including PWC, CR3 and other
                             advisors
08/24/2023 JHR       PD      Conference with Foris re: strategic options        4.00    995.00      $3,980.00
08/24/2023 MSP       PD      Email exchange with R. Pachulski, D.               0.60   1,295.00          $777.00
                             Grassgreen, J. Kim regarding Plan term
                             discussion.
08/24/2023 RMP       PD      Prepare for and attend Amyris/Foris strategy      12.00   1,895.00    $22,740.00
                             meetings.

08/25/2023 DG        PD      Plan discussion with M. Pagay, J. Kim, R.          0.10   1,550.00          $155.00
                             Pachulski and J. Rosell.

08/25/2023 JHR       PD      Conference call with client re: term sheets.       2.00    995.00      $1,990.00
08/25/2023 JHR       PD      Conference call re: term sheets with Deb and       0.70    995.00           $696.50
                             Rich.

08/25/2023 JHR       PD      Revise term sheets.                                1.40    995.00      $1,393.00
08/25/2023 JJK       PD      Work on plan and review plan issues (1.0);         2.90   1,175.00     $3,407.50
                             conference Pachulski, D. Grassgreen on plan
                             issues (1.0) work on plan (0.9).
08/25/2023 MSP       PD      Meeting with R. Pachulski, D. Grassgreen, J.       1.00   1,295.00     $1,295.00
                             Kim regarding Plan formulation.
08/25/2023 RMP       PD      Participate on team call re plan issues.           1.00   1,895.00     $1,895.00
08/25/2023 RMP       PD      Conference call with J. Rosell, D. Grassgreen      0.70   1,895.00     $1,326.50
                             and Fleming re term sheets re DSM and
                             Givaudan.
08/25/2023 RMP       PD      Telephone conference with M. Goldstein re          0.40   1,895.00          $758.00
                             case status.
08/26/2023 JHR       PD      Revise term sheets.                                0.80    995.00           $796.00
08/27/2023 JHR       PD      Correspondence with Goodwin re: term               0.20    995.00           $199.00
                             sheets.
08/27/2023 JHR       PD      Prepare for call with Goodwin re: term sheets.     0.20    995.00           $199.00
08/27/2023 JHR       PD      Call with Goodwin re: term sheets.                 0.80    995.00           $796.00
08/28/2023 JHR       PD      Revise term sheets.                                0.30    995.00           $298.50
08/28/2023 JHR       PD      Correspondence with labor commission.              0.30    995.00           $298.50
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                                                                              Hours      Rate           Amount
08/28/2023 JHR       PD      Analyze Goodwin questions re: term sheets.        0.30    995.00           $298.50
08/28/2023 JHR       PD      Call with S. Fleming re: term sheets.             0.10    995.00            $99.50
08/28/2023 JHR       PD      Conference call with Foris on term sheets.        1.70    995.00      $1,691.50
08/28/2023 JJK       PD      Review plan matters.                              1.00   1,175.00     $1,175.00
08/30/2023 JJK       PD      Work on plan and review plan issues.              1.90   1,175.00     $2,232.50
08/30/2023 RMP       PD      Review status of independent report timing        0.30   1,895.00          $568.50
                             and telephone conference with D. Grassgreen
                             re same.
08/31/2023 JJK       PD      Work on plan and review plan issues.              2.10   1,175.00     $2,467.50
                                                                             105.70              $154,356.00

PSZJ Retention
08/13/2023 ECO       RP      E-mails with James O'Neill and Steven             0.20    725.00           $145.00
                             Golden re retention applications and other
                             tasks going forward.
08/15/2023 JEO       RP      Review and update PSZJ retention application      0.80   1,275.00     $1,020.00
08/18/2023 JEO       RP      Drafting PSZJ retention application               1.30   1,275.00     $1,657.50
08/19/2023 GFB       RP      Review and analyze conflicts data; draft          0.60   1,050.00          $630.00
                             emails to Ira Kharasch, Richard Pachulski,
                             Laura Davis Jones, Gabe Glazer, and James
                             O'Neill regarding same.
08/20/2023 JEO       RP      Work on PSZJ retention                            2.00   1,275.00     $2,550.00
08/22/2023 JEO       RP      Review and update PSZJ retention application      1.30   1,275.00     $1,657.50
08/23/2023 ECO       RP      Review e-mail from Lynn Poss and comments         0.10    725.00            $72.50
                             to PSZJ retention application.

08/23/2023 ECO       RP      Review and revise PSZJ retention application      0.10    725.00            $72.50
                             and forward to James O'Neill.

08/24/2023 IDD       RP      Draft Notice of Application to Retain PSZJ        0.30    545.00           $163.50
08/24/2023 JEO       RP      Review and finalize PSZJ retention                0.80   1,275.00     $1,020.00
                             application

                                                                               7.50                $8,988.50
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                                                                                Hours      Rate           Amount

Other Professional Retention
08/13/2023 JEO       RPO     Email correspondence from C. Walden of Fish         0.40   1,275.00          $510.00
                             & Richardson regarding patent issues

08/13/2023 JEO       RPO     Review retention of professionals issues and        0.60   1,275.00          $765.00
                             timing

08/14/2023 JEO       RPO     Call with Fish & Richardson lawyers re              0.40   1,275.00          $510.00
                             ordinary course professionals status

08/14/2023 JEO       RPO     Review status of retention applications             0.90   1,275.00     $1,147.50
08/15/2023 JEO       RPO     Review and revise interested parties list for       2.40   1,275.00     $3,060.00
                             professional retentions

08/15/2023 JEO       RPO     Call with PWC regarding interested parties list     0.50   1,275.00          $637.50
08/15/2023 JEO       RPO     Review status of professional retention             1.10   1,275.00     $1,402.50
                             applications
08/16/2023 ECO       RPO     E-mails with James O'Neill and Brian                0.10    725.00            $72.50
                             Huffman re ordinary course professionals.
08/16/2023 JEO       RPO     Review professional retention issues for KTB        0.40   1,275.00          $510.00
08/16/2023 JEO       RPO     Initial drafting of Fenwick retention               0.60   1,275.00          $765.00
                             application
08/16/2023 JEO       RPO     Initial drafting of Stretto 327 retention           0.50   1,275.00          $637.50
                             application
08/16/2023 JEO       RPO     Email to client re OCPs                             0.20   1,275.00          $255.00
08/17/2023 AJK       RPO     Attention to e-mails re KTBS retention.             0.20   1,675.00          $335.00
08/17/2023 JEO       RPO     provide comments on Ankura retention                0.90   1,275.00     $1,147.50
                             agreement
08/17/2023 JEO       RPO     Continued drafting of professional retention        1.90   1,275.00     $2,422.50
                             applications
08/17/2023 RMP       RPO     Review KTBS employment application and              0.20   1,895.00          $379.00
                             telephone conference with D. Grassgreen re
                             same.

08/18/2023 AJK       RPO     Attention to KTBS retention issues.                 0.20   1,675.00          $335.00
08/18/2023 ECO       RPO     E-mails with James O'Neill and Brian                0.10    725.00            $72.50
                             Huffman re discussion on ordinary course
                             professionals.
08/18/2023 JEO       RPO     Review Klee Tuchin retention application and        1.90   1,275.00     $2,422.50
                             finalize for filing
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                                                                               Hours      Rate           Amount
08/18/2023 JEO       RPO     Review Klee Tuchin pro hacs and notice of          0.70   1,275.00          $892.50
                             appearance

08/18/2023 JEO       RPO     Review and update interested parties list          1.20   1,275.00     $1,530.00
08/18/2023 PJJ       RPO     Prepare for and file KTBS retention                0.40    545.00           $218.00
                             agreement.

08/18/2023 PJJ       RPO     Prepare for and file KTBS pro hac                  0.50    545.00           $272.50
                             applications.

08/18/2023 PJJ       RPO     Prepare for and file KTBS notice of                0.20    545.00           $109.00
                             appearance..

08/19/2023 ECO       RPO     E-mails with James O'Neill/PwC re                  0.20    725.00           $145.00
                             information for retention/conflicts review.
08/20/2023 ECO       RPO     Prepare retention application for Intrepid         1.30    725.00           $942.50
                             (investment banker to the Debtors).
08/20/2023 ECO       RPO     Prepare application to retain Ankura/appoint       1.10    725.00           $797.50
                             Philip Gund as Debors' CRO.
08/21/2023 ECO       RPO     E-mails with Eva Elmore/Sherry Tan re              0.10    725.00            $72.50
                             additional information on ordinary course
                             professionals.

08/21/2023 ECO       RPO     Conference call with James O'Neill and PwC         0.70    725.00           $507.50
                             re review of ordinary course
                             professionals/discussion of issues for motion.
08/21/2023 ECO       RPO     E-mails with James O'Neill and professionals       0.40    725.00           $290.00
                             re information for retention applications and
                             supporting declarations.

08/21/2023 ECO       RPO     Review and revise Intrepid investment banker       2.40    725.00      $1,740.00
                             retention application, proposed order, and
                             declaration in support.
08/21/2023 ECO       RPO     Review and revise retention application for        2.10    725.00      $1,522.50
                             Ankura/CRO with proposed order and Gund
                             declaration.

08/21/2023 ECO       RPO     Review Ankura engagement letter and make           0.80    725.00           $580.00
                             revisions to retention application.

08/21/2023 ECO       RPO     E-mails with James O'Neill re updates to           0.20    725.00           $145.00
                             CRO/investment banker retention
                             applications.
08/21/2023 JEO       RPO     Call with clients and PWC to discuss ordinary      0.50   1,275.00          $637.50
                             course professionals
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                                                                              Hours      Rate           Amount
08/21/2023 JEO       RPO     Review and update Fenwick retention               0.70   1,275.00          $892.50
                             application and forward to Fenwick for review

08/21/2023 JEO       RPO     Review and update Fenwick retention               0.70   1,275.00          $892.50
                             application

08/22/2023 ECO       RPO     E-mails with James O'Neill/Steven                 0.30    725.00           $217.50
                             Golden/PwC re preparation of motions/OCP
                             issues.
08/22/2023 ECO       RPO     E-mails with James O'Neill re ordinary course     0.50    725.00           $362.50
                             professionals/review and revise OCP motion.
08/22/2023 ECO       RPO     E-mails with James O'Neill/Steven                 0.20    725.00           $145.00
                             Golden/professionals re finalizing retention
                             applications.

08/22/2023 JEO       RPO     Review intrepid retention application and         1.00   1,275.00     $1,275.00
                             forward to Lori Beers

08/22/2023 JEO       RPO     Review Ankura retention application and           0.70   1,275.00          $892.50
                             forward to Phil Gund
08/22/2023 JEO       RPO     Review OCP Motion and update                      0.60   1,275.00          $765.00
08/22/2023 JEO       RPO     Review Fenwick retention application              0.50   1,275.00          $637.50
08/23/2023 ECO       RPO     E-mails with James O'Neill re OCP                 0.10    725.00            $72.50
                             update/revise motion.
08/23/2023 ECO       RPO     E-mails with James O'Neill re followup on         0.10    725.00            $72.50
                             ordinary course professionals.
08/23/2023 ECO       RPO     Review and revise OCP motion and proposed         0.40    725.00           $290.00
                             compensation procedures.
08/23/2023 ECO       RPO     Prepare e-mail to James O'Neill re updates to     0.10    725.00            $72.50
                             OCP motion.
08/23/2023 ECO       RPO     Review e-mails from James O'Neill/Intrepid        0.10    725.00            $72.50
                             and comments to retention application.
08/23/2023 ECO       RPO     Review and revise Intrepid retention              0.30    725.00           $217.50
                             application and forward to James O'Neill.
08/23/2023 ECO       RPO     Review e-mails from James O'Neill and PwC         0.10    725.00            $72.50
                             re OCP issues.

08/23/2023 ECO       RPO     Review information in motion on ordinary          0.40    725.00           $290.00
                             course professionals and prepare e-mail to
                             James O'Neill re comments on professionals
                             and proposed caps.
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                                                                              Hours      Rate           Amount
08/23/2023 ECO       RPO     E-mails with Steven Golden/James O'Neill re       0.20    725.00           $145.00
                             information/potential issues regarding OCPs.

08/23/2023 JEO       RPO     Call with Lynn Ross re Ankura retention           0.50   1,275.00          $637.50
08/23/2023 JEO       RPO     Emails with PWC re retention                      0.60   1,275.00          $765.00
08/23/2023 JEO       RPO     Emails with client regarding ordinary course      0.60   1,275.00          $765.00
                             professionals

08/23/2023 JEO       RPO     Review and comment on OCP motion                  0.70   1,275.00          $892.50
08/23/2023 JEO       RPO     Emails with professionals re OCP Motion           0.80   1,275.00     $1,020.00
08/23/2023 JEO       RPO     Review status of professional retention           0.70   1,275.00          $892.50
                             applications

08/23/2023 JEO       RPO     Review comments to Intrepid retention             0.60   1,275.00          $765.00
                             application

08/24/2023 ECO       RPO     E-mails with James O'Neill/review drafts re       0.30    725.00           $217.50
                             finalizing retention applications.
08/24/2023 ECO       RPO     E-mails with James O'Neill re additional          0.20    725.00           $145.00
                             ordinary course professionals/revise OCP
                             motion.
08/24/2023 ECO       RPO     E-mails with James O'Neill re Ankura CRO          0.40    725.00           $290.00
                             retention/review and revise application.
08/24/2023 ECO       RPO     E-mails with James O'Neill re retention of        0.20    725.00           $145.00
                             Intrepid as investment banker/review and
                             revise application.
08/24/2023 ECO       RPO     E-mails with James O'Neill re ordinary course     0.50    725.00           $362.50
                             professionals; review data on firms and make
                             changes to motion and exhibits.

08/24/2023 ECO       RPO     E-mails back and forth with Philip                0.50    725.00           $362.50
                             Gund/James O'Neill re comments on Ankura
                             retention; review and revise retention
                             application.
08/24/2023 ECO       RPO     Review additional notices for motions and         0.20    725.00           $145.00
                             retention applications to be filed.
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                                                                                 Hours      Rate           Amount
08/24/2023 IDD       RPO     Draft Notice of Application to Retain Fenwick        1.50    545.00           $817.50
                             & West (.3); draft Notice of Application to
                             Retain Ankura (.3); draft Notice of
                             Application to Retain Stretto (.3); draft Notice
                             of Application to Retain Intrepid (.3); draft
                             Notice of Motion to Retain Ordinary Course
                             Professionals (.3)

08/24/2023 JEO       RPO     Call with PWC team regarding professional            0.60   1,275.00          $765.00
                             retention

08/24/2023 JEO       RPO     Review status of professional retentions             3.80   1,275.00     $4,845.00
08/24/2023 JEO       RPO     Calls with PWC Counsel re retention                  1.30   1,275.00     $1,657.50
                             application
08/24/2023 JEO       RPO     Review and finalize Ankura retention                 1.10   1,275.00     $1,402.50
                             application
08/24/2023 JEO       RPO     Review and finalize Intrepid retention               0.90   1,275.00     $1,147.50
                             application
08/24/2023 JEO       RPO     Review and finalize OCP Motion                       1.10   1,275.00     $1,402.50
08/24/2023 JEO       RPO     Review and finalize Stretto 327 retention            0.50   1,275.00          $637.50
                             application
08/25/2023 JHR       RPO     Review Rule 2019 statement.                          0.20    995.00           $199.00
08/28/2023 DG        RPO     Review and respond to emails from J. Storz           0.10   1,550.00          $155.00
                             and M. Goldstein re: Intrepid application.
08/28/2023 ECO       RPO     E-mails with James O'Neill re Shearman &             0.10    725.00            $72.50
                             Sterling retention.
08/28/2023 JEO       RPO     Email with clients re OCP Motoin                     0.20   1,275.00          $255.00
08/28/2023 JEO       RPO     Review email from bondholder counsel                 0.60   1,275.00          $765.00
                             regarding Interpid retention
08/28/2023 JEO       RPO     Follow up with Interpid re retention question        0.20   1,275.00          $255.00
08/28/2023 JEO       RPO     Emails with Mark Porter regarding Fenwick            0.60   1,275.00          $765.00
                             Retention
08/29/2023 JEO       RPO     Work on PWC retention                                0.80   1,275.00     $1,020.00
08/29/2023 JEO       RPO     work on Intrepid retention                           0.80   1,275.00     $1,020.00
08/30/2023 ECO       RPO     E-mails with James O'Neill/review changes to         0.20    725.00           $145.00
                             PwC retention application and supporting
                             documents.
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Amyris Inc.                                                                             Invoice 134061
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                                                                                Hours      Rate           Amount
08/30/2023 ECO       RPO     Review e-mails from James O'Neill and Thalia        0.20    725.00           $145.00
                             Cody re PwC retention application.

08/30/2023 ECO       RPO     Review draft PwC retention application and          1.40    725.00      $1,015.00
                             make revisions/incorporate additional
                             information.
08/30/2023 ECO       RPO     Review e-mails/additional information from          0.20    725.00           $145.00
                             James O'Neill/PwC and incorporate into
                             retention application draft.

08/30/2023 ECO       RPO     Prepare e-mail to PwC/James O'Neill                 0.10    725.00            $72.50
                             circulating updated PwC retention application.

08/30/2023 JEO       RPO     drafting/revision/Finalize PWC retention            3.50   1,275.00     $4,462.50
                             application

08/30/2023 JEO       RPO     Review status of professional retentions and        1.50   1,275.00     $1,912.50
                             committee comments

08/30/2023 JEO       RPO     Review interested parties list for professional     0.80   1,275.00     $1,020.00
                             retentions
08/30/2023 PJJ       RPO     Prepare NOH on PwC and retention                    0.30    545.00           $163.50
                             application.
08/31/2023 ECO       RPO     E-mails with James O'Neill re Fenwick               0.50    725.00           $362.50
                             retention/review draft retention application
                             and provide comments.

08/31/2023 JEO       RPO     drafting/revision - work on Fenwick retention       2.00   1,275.00     $2,550.00
                             application

08/31/2023 JEO       RPO     Emails with Shearman regarding retention            0.90   1,275.00     $1,147.50
                             application

08/31/2023 JEO       RPO     Review and evaluate retention options for           3.00   1,275.00     $3,825.00
                             various professionals

08/31/2023 JEO       RPO     Review issues related to Intrepid retention         0.90   1,275.00     $1,147.50
08/31/2023 JEO       RPO     Review committee comments to various                0.80   1,275.00     $1,020.00
                             retention orders
08/31/2023 JEO       RPO     Follow up on issues re PWC Retention                1.00   1,275.00     $1,275.00
                                                                                71.80               $80,168.50

Stay Litigation
08/11/2023 ECO       SL      E-mails with Steven Golden re issues with           0.10    725.00            $72.50
                             landlords/automatic stay.
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                                                                                   Hours      Rate           Amount
08/11/2023 ECO       SL      Prepare draft letter to creditors re violations of     0.30    725.00           $217.50
                             section 365 relating to leases and executory
                             contracts.
08/11/2023 ECO       SL      Prepare draft letter to creditors re automatic         0.30    725.00           $217.50
                             stay violations.
08/11/2023 ECO       SL      Prepare e-mail to Steven Golden forwarding             0.10    725.00            $72.50
                             draft letters for 365 violators and 362
                             violators.

08/14/2023 DG        SL      Review Swap Notice of termination (.3) and             0.50   1,550.00          $775.00
                             review provisions re: exception from stay (.2)

08/14/2023 ECO       SL      E-mails with Steven Golden re issues with              0.10    725.00            $72.50
                             utility provider ACT.

08/14/2023 ECO       SL      Prepare letter to ACT re violations of the             0.40    725.00           $290.00
                             automatic stay and other Bankruptcy Code
                             provisions.
08/14/2023 ECO       SL      Prepare e-mail to Steven Golden re draft               0.10    725.00            $72.50
                             correspondence to ACT.
08/14/2023 ECO       SL      Followup e-mails with Steven Golden re                 0.30    725.00           $217.50
                             additional information on ACT issue/revise
                             letter and circulate.
08/15/2023 SWG       SL      Draft and send email re: stay violation to             0.20    895.00           $179.00
                             counsel to counterparty.
08/16/2023 SWG       SL      Draft and send letter to Bazaarvoice re:               0.20    895.00           $179.00
                             violation of 365
08/22/2023 ECO       SL      Review e-mails from Steven Golden and                  0.20    725.00           $145.00
                             Symbiome re unpaid invoices.
08/22/2023 ECO       SL      Prepare letter to Symbiome re automatic stay           0.30    725.00           $217.50
                             violation and forward to Steven Golden.
08/22/2023 PJJ       SL      Prepare notice of stay regarding Little Bear           0.50    545.00           $272.50
                             Studios.
08/23/2023 PJJ       SL      Draft stay notation letter to CA Dept. of              0.20    545.00           $109.00
                             Industrial Relations.
08/23/2023 PJJ       SL      Prepare notice of pendency regarding M.                0.40    545.00           $218.00
                             Johnson.
08/31/2023 DG        SL      Review Lavvan Motion for Relief from Stay.             0.80   1,550.00     $1,240.00
08/31/2023 HCK       SL      Review Lavvan motion for stay modification.            0.10   1,550.00          $155.00
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                                                                            Hours      Rate           Amount
08/31/2023 MBL       SL      Review Lavvan stay relief motion.               0.20   1,445.00          $289.00
                                                                             5.30                  $5,011.50

   TOTAL SERVICES FOR THIS MATTER:                                                         $1,275,515.75
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Amyris Inc.                                                                       Invoice 134061
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Expenses
08/10/2023 AT        AMERICAN EXPRESS-JHR SEPT. 2023 STMT. - Auto                   55.03
                     Travel Expense [E109] Uber

08/10/2023 AT        AMERICAN EXPRESS-JHR SEPT. 2023 STMT. - Auto                   62.41
                     Travel Expense [E109] Uber

08/10/2023 CC        AT&T Conference Call, JAM                                       3.67
08/10/2023 DC        3703.00003 Advita Charges for 08-10-23                          7.50
08/10/2023 LN        03703.00004 Lexis Charges for 08-10-23                         21.81
08/10/2023 LN        03703.00004 Lexis Charges for 08-10-23                         11.68
08/10/2023 LN        03703.00004 Lexis Charges for 08-10-23                         17.52
08/10/2023 RE2       ( 1 @0.10 PER PG)                                               0.10
08/10/2023 RE2       COPY ( 1 @0.10 PER PG)                                          0.10
08/10/2023 RE2       COPY ( 6 @0.10 PER PG)                                          0.60
08/10/2023 RE2       COPY ( 51 @0.10 PER PG)                                         5.10
08/10/2023 RE2       COPY ( 51 @0.10 PER PG)                                         5.10
08/10/2023 RE2       COPY ( 111 @0.10 PER PG)                                       11.10
08/10/2023 RE2       COPY ( 132 @0.10 PER PG)                                       13.20
08/10/2023 RE2       COPY ( 6 @0.10 PER PG)                                          0.60
08/10/2023 RE2       COPY ( 6 @0.10 PER PG)                                          0.60
08/10/2023 RE2       COPY ( 60 @0.10 PER PG)                                         6.00
08/10/2023 RE2       COPY ( 72 @0.10 PER PG)                                         7.20
08/10/2023 RE2       COPY ( 20 @0.10 PER PG)                                         2.00
08/10/2023 RE2       COPY ( 1 @0.10 PER PG)                                          0.10
08/10/2023 RE2       COPY ( 10 @0.10 PER PG)                                         1.00
08/10/2023 RE2       COPY ( 78 @0.10 PER PG)                                         7.80
08/10/2023 RE2       COPY ( 51 @0.10 PER PG)                                         5.10
08/10/2023 RE2       COPY ( 51 @0.10 PER PG)                                         5.10
08/10/2023 RE2       COPY ( 105 @0.10 PER PG)                                       10.50
08/10/2023 RE2       COPY ( 39 @0.10 PER PG)                                         3.90
08/10/2023 RE2       COPY ( 156 @0.10 PER PG)                                       15.60
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Amyris Inc.                                                                       Invoice 134061
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08/10/2023 RE2       COPY ( 96 @0.10 PER PG)                                         9.60
08/10/2023 RE2       COPY ( 135 @0.10 PER PG)                                       13.50
08/10/2023 RE2       COPY ( 318 @0.10 PER PG)                                       31.80
08/10/2023 RE2       COPY ( 15 @0.10 PER PG)                                         1.50
08/10/2023 RE2       COPY ( 24 @0.10 PER PG)                                         2.40
08/10/2023 RE2       COPY ( 20 @0.10 PER PG)                                         2.00
08/10/2023 RE2       COPY ( 15 @0.10 PER PG)                                         1.50
08/10/2023 RE2       COPY ( 20 @0.10 PER PG)                                         2.00
08/10/2023 RE2       COPY ( 12 @0.10 PER PG)                                         1.20
08/10/2023 RE2       COPY ( 1 @0.10 PER PG)                                          0.10
08/10/2023 RE2       COPY ( 51 @0.10 PER PG)                                         5.10
08/10/2023 RE2       COPY ( 51 @0.10 PER PG)                                         5.10
08/10/2023 RE2       COPY ( 54 @0.10 PER PG)                                         5.40
08/10/2023 RE2       COPY ( 288 @0.10 PER PG)                                       28.80
08/10/2023 RE2       COPY ( 72 @0.10 PER PG)                                         7.20
08/10/2023 RE2       COPY ( 105 @0.10 PER PG)                                       10.50
08/10/2023 RE2       COPY ( 141 @0.10 PER PG)                                       14.10
08/10/2023 RE2       COPY ( 15 @0.10 PER PG)                                         1.50
08/10/2023 RE2       COPY ( 6 @0.10 PER PG)                                          0.60
08/10/2023 RE2       COPY ( 163 @0.10 PER PG)                                       16.30
08/10/2023 RE2       COPY ( 163 @0.10 PER PG)                                       16.30
08/11/2023 DC        3703.00004 Advita Charges for 08-11-23                          7.50
08/11/2023 FF        Courts/USDC- DE, Filing Fee, LDJ                               50.00
08/11/2023 LN        03703.00004 Lexis Charges for 08-11-23                         21.81
08/11/2023 LN        03703.00004 Lexis Charges for 08-11-23                          5.84
08/11/2023 RE2       COPY ( 6 @0.10 PER PG)                                          0.60
08/11/2023 RE2       COPY ( 34 @0.10 PER PG)                                         3.40
08/11/2023 RE2       COPY ( 8 @0.10 PER PG)                                          0.80
08/11/2023 RE2       COPY ( 312 @0.10 PER PG)                                       31.20
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Amyris Inc.                                                                             Invoice 134061
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08/14/2023 AS        Attorney Service [E107]                                              75.00
                     NATIONWIDE LEGAL LLC-00000061914 LA2074
                     CUSTOMER LA2074.
08/14/2023 BB        03703.00004 Bloomberg Charges through 08-14-23                         0.20
08/14/2023 BB        03703.00004 Bloomberg Charges through 08-14-23                       10.00
08/14/2023 BB        03703.00004 Bloomberg Charges through 08-14-23                         0.20
08/14/2023 BB        03703.00004 Bloomberg Charges through 08-14-23                         0.20
08/14/2023 BB        03703.00004 Bloomberg Charges through 08-14-23                       10.00
08/14/2023 BB        03703.00004 Bloomberg Charges through 08-14-23                         6.00
08/14/2023 LN        03703.00003 Lexis Charges for 08-14-23                                 4.22
08/14/2023 RE2       COPY ( 100 @0.10 PER PG)                                             10.00
08/14/2023 RE2       COPY ( 94 @0.10 PER PG)                                                9.40
08/14/2023 RE2       COPY ( 534 @0.10 PER PG)                                             53.40
08/14/2023 RE2       COPY ( 70 @0.10 PER PG)                                                7.00
08/14/2023 RE2       COPY ( 86 @0.10 PER PG)                                                8.60
08/14/2023 RE2       COPY ( 116 @0.10 PER PG)                                             11.60
08/14/2023 RE2       COPY ( 126 @0.10 PER PG)                                             12.60
08/14/2023 RE2       COPY ( 274 @0.10 PER PG)                                             27.40
08/14/2023 RE2       COPY ( 122 @0.10 PER PG)                                             12.20
08/15/2023 AS        NATIONWIDE LEGAL LLC-00000061914 LA2074                              75.00
                     CUSTOMER LA2074 - Attorney Service [E107]
08/15/2023 AS        NATIONWIDE LEGAL LLC-00000061914 LA2074                              79.20
                     CUSTOMER LA2074 - Attorney Service [E107]
08/15/2023 FF        Courts/USDC-DE, Filing Fee, LDJ                                      75.00
08/16/2023 LN        03703.00004 Lexis Charges for 08-16-23                               21.81
08/17/2023 AF        Air Fare [E110]                                                    1,800.00
                     AMERICAN EXPRESS-DIG SEPT. 2023 STMT- United
                     Airlines Full Refundable coach - SF- NJ for hearing (9/18 -
                     9/23)
08/17/2023 OS        Litigation Support Vendors                                          155.00
                     SPECIALIZED LEGAL SERVICES, INC.-P204018
                     ACCT. PACHULSKI.

08/17/2023 OS        Litigation Support Vendors                                          236.00
                     SPECIALIZED LEGAL SERVICES, INC.-P204019.
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Amyris Inc.                                                                             Invoice 134061
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08/19/2023 LN        03703.00004 Lexis Charges for 08-19-23                               10.16
08/21/2023 LN        03703.00003 Lexis Charges for 08-21-23                               31.62
08/21/2023 LN        03703.00004 Lexis Charges for 08-21-23                               19.58
08/22/2023 AS        Attorney Service [E107]. Nationwide Legal Service, Inv.              75.00
                     63240, PJJ

08/22/2023 BB        03703.00004 Bloomberg Charges through 08-22-23                        2.00
08/22/2023 BB        03703.00004 Bloomberg Charges through 08-22-23                       10.00
08/22/2023 BB        03703.00004 Bloomberg Charges through 08-22-23                       10.00
08/22/2023 BB        03703.00004 Bloomberg Charges through 08-22-23                       10.00
08/22/2023 BB        03703.00004 Bloomberg Charges through 08-22-23                       10.00
08/22/2023 BB        03703.00004 Bloomberg Charges through 08-22-23                       10.00
08/22/2023 BB        03703.00004 Bloomberg Charges through 08-22-23                       10.00
08/22/2023 BB        03703.00004 Bloomberg Charges through 08-22-23                       10.00
08/22/2023 BB        03703.00004 Bloomberg Charges through 08-22-23                        6.00
08/22/2023 BB        03703.00004 Bloomberg Charges through 08-22-23                       10.00
08/22/2023 BB        03703.00004 Bloomberg Charges through 08-22-23                       10.00
08/22/2023 BB        03703.00004 Bloomberg Charges through 08-22-23                        9.00
08/22/2023 DC        3703.00001 Advita Charges for 08-22-23                                7.50
08/22/2023 LN        03703.00004 Lexis Charges for 08-22-23                               10.90
08/22/2023 RE2       COPY ( 17 @0.10 PER PG)                                               1.70
08/22/2023 RE2       COPY ( 18 @0.10 PER PG)                                               1.80
08/22/2023 RE2       COPY ( 18 @0.10 PER PG)                                               1.80
08/22/2023 RE2       COPY ( 115 @0.10 PER PG)                                             11.50
08/22/2023 RE2       COPY ( 17 @0.10 PER PG)                                               1.70
08/22/2023 RE2       COPY ( 17 @0.10 PER PG)                                               1.70
08/22/2023 RE2       COPY ( 115 @0.10 PER PG)                                             11.50
08/22/2023 RE2       COPY ( 115 @0.10 PER PG)                                             11.50
08/22/2023 RE2       COPY ( 115 @0.10 PER PG)                                             11.50
08/22/2023 RE2       COPY ( 115 @0.10 PER PG)                                             11.50
08/22/2023 RE2       COPY ( 14 @0.10 PER PG)                                               1.40
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08/22/2023 RE2       COPY ( 4 @0.10 PER PG)                                             0.40
08/22/2023 RE2       COPY ( 17 @0.10 PER PG)                                            1.70
08/22/2023 RE2       COPY ( 115 @0.10 PER PG)                                         11.50
08/22/2023 RE2       COPY ( 26 @0.10 PER PG)                                            2.60
08/22/2023 RE2       COPY ( 4 @0.10 PER PG)                                             0.40
08/22/2023 RE2       COPY ( 4 @0.10 PER PG)                                             0.40
08/22/2023 RE2       COPY ( 10 @0.10 PER PG)                                            1.00
08/22/2023 TR        Reliable, Inv. WL112249, LDJ                                    453.75
08/23/2023 AT        KLS Worldwide Transportation, Inv. 3008220, From                180.00
                     Residence to LAX, RMP

08/23/2023 AT        KLS Worldwide Transportation, Inv. 3008220, From SFO to St      223.49
                     Regis Hotel, RMP

08/23/2023 LN        03703.00003 Lexis Charges for 08-23-23                             0.90
08/23/2023 LN        03703.00003 Lexis Charges for 08-23-23                             4.52
08/24/2023 FF        Courts/USBC-DE, Filing Fee, LDJ                                5,214.00
08/24/2023 LN        03703.00004 Lexis Charges for 08-24-23                             0.60
08/25/2023 AT        AMERICAN EXPRESS-DIG SEPT. 2023 STMT - Auto                      32.50
                     Travel Expense [E109] Ace Parking

08/25/2023 AT        AMERICAN EXPRESS-JHR SEPT. 2023 STMT. - Auto                     13.45
                     Travel Expense [E109] Uber

08/25/2023 HT        AMERICAN EXPRESS-DIG SEPT. 2023 STMT - Hotel                    430.00
                     Expense [E110] St. Regis 1night
08/25/2023 RE2       COPY ( 8 @0.10 PER PG)                                             0.80
08/25/2023 RE2       COPY ( 118 @0.10 PER PG)                                         11.80
08/25/2023 RE2       COPY ( 78 @0.10 PER PG)                                            7.80
08/25/2023 RE2       COPY ( 76 @0.10 PER PG)                                            7.60
08/25/2023 RE2       COPY ( 128 @0.10 PER PG)                                         12.80
08/25/2023 RE2       COPY ( 30 @0.10 PER PG)                                            3.00
08/25/2023 RE2       COPY ( 114 @0.10 PER PG)                                         11.40
08/25/2023 TR        Reliable, Inv. WL112323, LDJ                                     72.60
08/28/2023 BB        03703.00003 Bloomberg Charges through 08-28-23                   37.20
08/28/2023 DC        3703.00001 Advita Charges for 08-28-23                             7.50
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08/28/2023 LN        03703.00003 Lexis Charges for 08-28-23                          9.79
08/28/2023 LN        03703.00003 Lexis Charges for 08-28-23                          2.40
08/28/2023 RE2       COPY ( 8 @0.10 PER PG)                                          0.80
08/28/2023 RE2       COPY ( 28 @0.10 PER PG)                                         2.80
08/28/2023 RE2       COPY ( 12 @0.10 PER PG)                                         1.20
08/28/2023 RE2       COPY ( 16 @0.10 PER PG)                                         1.60
08/28/2023 RE2       COPY ( 6 @0.10 PER PG)                                          0.60
08/28/2023 RE2       COPY ( 12 @0.10 PER PG)                                         1.20
08/28/2023 RE2       COPY ( 12 @0.10 PER PG)                                         1.20
08/28/2023 RE2       COPY ( 6 @0.10 PER PG)                                          0.60
08/28/2023 RE2       COPY ( 2 @0.10 PER PG)                                          0.20
08/28/2023 RE2       COPY ( 16 @0.10 PER PG)                                         1.60
08/28/2023 RE2       COPY ( 6 @0.10 PER PG)                                          0.60
08/28/2023 RE2       COPY ( 3 @0.10 PER PG)                                          0.30
08/28/2023 RE2       COPY ( 2 @0.10 PER PG)                                          0.20
08/28/2023 RE2       COPY ( 12 @0.10 PER PG)                                         1.20
08/28/2023 RE2       COPY ( 6 @0.10 PER PG)                                          0.60
08/28/2023 RE2       COPY ( 16 @0.10 PER PG)                                         1.60
08/28/2023 RE2       COPY ( 4 @0.10 PER PG)                                          0.40
08/28/2023 RE2       COPY ( 14 @0.10 PER PG)                                         1.40
08/28/2023 RE2       COPY ( 6 @0.10 PER PG)                                          0.60
08/28/2023 RE2       COPY ( 6 @0.10 PER PG)                                          0.60
08/28/2023 RE2       COPY ( 1 @0.10 PER PG)                                          0.10
08/28/2023 RE2       COPY ( 8 @0.10 PER PG)                                          0.80
08/28/2023 RE2       COPY ( 8 @0.10 PER PG)                                          0.80
08/28/2023 RE2       COPY ( 2 @0.10 PER PG)                                          0.20
08/29/2023 AT        AMERICAN EXPRESS-JHR SEPT. 2023 STMT. - Auto                   97.35
                     Travel Expense [E109] Uber

08/31/2023 RE2       COPY ( 142 @0.10 PER PG)                                       14.20
08/31/2023 RE2       COPY ( 1 @0.10 PER PG)                                          0.10
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Amyris Inc.                                                                         Invoice 134061
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08/31/2023 PAC       Pacer - Court Research                                           37.20

   Total Expenses for this Matter                                             $10,533.41
